     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 1 of 212




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


Samsung Electronics America, Inc.
85 Challenger Road
Ridgefield Park, NJ 07660

Samsung Telecommunications America LLC
1301 East Lookout Drive
Richardson, Texas 75082

Samsung Electronics Co., Ltd.
                                                Case:
Samsung Electronics Building
                                                Assigned To:
1320-10, Seocho 2-dong
                                                Assign Date:
Seocho-gu, Seoul 137-857
                                                Description: Miscellaneous
South Korea
                                                MISC. NO.
                                Petitioners,

                                                MOTION FOR ISSUANCE OF
       V°
                                                LETTER OF REQUEST
Ericsson Inc.
6300 Legacy Drive
Plano, Texas 75024

Telefonaktiebolaget LM Ericsson
Torshamsgatan 23, Kista
164 83 Stockholm Sweden
                                Respondents.

                MOTION OF SAMSUNG ELECTRONICS AMERICA, INC.,
                SAMSUNG TELECOMMUNICATIONS AMERICA LLC, AND
            SAMSUNG ELECTRONICS CO., LTD. FOR THE ISSUANCE OF A
      LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE


       Petitioners Samsung Electronics America, Inc., Samsung Telecommunications America

LLC, and Samsung Electronics Co., Ltd. (collectively "Samsung"), Respondents in Certain

Electronic Devices, Including Certain Wireless Communication Devices, Tablet Computers,

Media Players, and Televisions, and Components Thereof, Investigation No. 337-TA-862 before

the U.S. International Trade Commission ("ITC"), hereby move for the Court to issue, under its
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 2 of 212




seal and signature, the attached Letter of Requests on behalf of Samsung to obtain documents

and deposition testimony from the following foreign third party:

Flextronics International Ltd. ("Flextronics")
2 Changi South Lane
Singapore 486123

        Samsung moved in the ITC for the Administrative Law Judge to recommend that this

Court issue a letter of request on behalf of Samsung to obtain discovery fi'om Flextronics on

March 27, 2013.     Samsung seeks foreign discovery from Flextronics because Samsung

understands that Flextronics may be impacted by Ericsson's requested remedial order in this

Investigation. Respondents believe Flextronics possesses unique documents and information

concerning: global and domestic demand for articles, Flextronics' capacity to replace the volume

of articles subject to Ericsson's requested remedial order, and the particular business and

financial impact on Flextronics by Ericsson's requested remedial order.             Accordingly,

Flextronics is believed to be among the most knowledgeable about, and to have documents in its

possession, custody, and control concerning Samsung's defenses, including those based on the

public interest considerations enumerated in 19 U.S.C. §§ 1337(e)(1). Administrative Law Judge

David P. Shaw granted Flextronics's motion on April 5, 2013, recommending that the United

States Court for the District of Columbia issue the Letter of Request.

       For the reasons set forth more fully in the accompanying memorandum, Samsung

respectfully requests that the Court assign a Judge to this matter and expedite the issuance of the

attached Letter or Request to Flextronics.




                                                 2
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 3 of 212




                                 Reÿj6geplCr'V. folaia1111i


Dated: April 10, 2013
                                 FISH & RICHARDSON P.C.
                                 1425 K Street, N.W., 1 lth Floor
                                 Washington, D.C. 20005
                                 Telephone: (202) 783-5070
                                 Facsimile: (202) 783-2331

                                 Counsel for Petitioners
                                 Samsung Electronics America, Inc.,
                                 Samsung Telecommunications America LLC, and
                                 Samsung Electronics Co., Ltd.
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 4 of 212




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISCTRICT OF COLUMBIA


Samsung Electronics America, Inc.
85 Challenger Road
Ridgefield Park, NJ 07660

Samsung Telecommunications America LLC
1301 East Lookout Drive
Richardson, Texas 75082

Samsung Electronics Co., Ltd.
Samsung Electronics Building
1320-10, Seocho 2-dong
Seocho-gu, Seoul 137-857                       MISC. NO.
South Korea
                                               MOTION FOR ISSUANCE OF
                                Petitioners,   LETTER OF REQUEST

       V,



Ericsson Inc.
6300 Legacy Drive
Plano, Texas 75024

Telefonaktiebolaget LM Ericsson
Torshamsgatan 23, Kista
164 83 Stockholm Sweden
                                Respondents.

                      MEMORANDUM OF LAW IN SUPPORT OF
                      SAMSUNG ELECTRONICS AMERICA, INC.,
                SAMSUNG TELECOMMUNICATIONS AMERICA LLC, AND
    SAMSUNG ELECTRONICS CO., LTD.'S MOTION FOR THE ISSUANCE OF A
      LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE

       Petitioners Samsung Electronics America, Inc., Samsung Telecommunications America

LLC, and Samsung Electronics Co., Ltd. (collectively "Samsung"), Respondents in Certain

Electronic Devices, Including Certain Wireless Communication Devices, Tablet Computers,

Media Players; and Televisions, and Components Thereof, Investigation No. 337-TA-862 before

the U.S. International Trade Commission ("ITC"), hereby submit this memorandum in support of
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 5 of 212




its motion for this Court to issue, under its seal and signature, the attached Letter of Request to

the appropriate judicial authority of Singapore.

       On March 27, 2013, Samsung moved in the ITC for the administrative law judge to

recommend that this Court issue a letter of request on behalf of Samsung to obtain discovery

from Flextronics International Ltd. ("Flextronics") in Singapore. On April 5, Administrative

Law Judge David P. Shaw, based on his knowledge of this case, signed an order recommending

that the U.S. District Court for the District of Columbia issue the Letter of Request on behalf of

Samsung. (Exhibit 1).

       The Letter of Request, solicits assistance from Supreme Court of Singapore to obtain

fron'l Flextronics documents and information concerning: global and domestic demand for

articles, Flextronics' capacity to replace the volume of articles subject to Ericsson's requested

remedial order, and the particular business and financial impact on Flextronics by Ericsson's

requested remedial order. Samsung respectfully requests that the Court issue the attached Letter

of Request.

       The following documents are attached to this Memorandum:

       • Exhibit 1: Order No. 15: Granting Samsung's Motion Seeking Recormnendation to
          the District Court for the District of Columbia to Issue a Letter of Request
          (3/27/2013), signed by Administrative Law Judge David P. Shaw and Secretary to the
           Commission Lisa R. Barton.

       • Proposed Order

           o Attachment 1: Letter of Request by the District Court for the District of
              Columbia on behalf of Samsung.
               • Attachment A: Documents or Other Property to be Produced by Flextronics
                   International Ltd.

               • Attachment B: Topics for Deposition of Flextronics International Ltd.
               • Attachment C: Protective Order.

               • Attachment D: Ground Rules.

               • Attachment E: Complaint.


                                                   2
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 6 of 212




       In support of this Motion, Samsung respectfully states as follows:

I.   THE DISTRICT COURT HAS AUTHORITY TO ISSUE LETTERS OF
       REQUEST UNDER THE HAGUE CONVENTION.

       The Hague Convention provides that "[i]n civil or commercial matters a judicial authority

of a Contracting State may, in accordance with the provision of the law of that State, request the

competent authority of another Contracting State, by means of a Letter of Request, to obtain

evidence, or to perform some other judicial act." Hague Convention on the Taking of Evidence

Abroad in Civil or Commercial Matters, Art. 1, opened for signature, Mar. 18, 1970, 23 U.S.T.

2555 (hereinafter "Hague Convention"). Both the United States and Singapore are parties to the

Hague Convemion. The United States ratified the Hague Convention on August 8, 1972, and

Singapore ratified on October 27, 1978. See Hague Conf. on Private Int'l Law, Status Table:

Convention of 18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial

Matters, available at http://www.hcch.net/index en.php?act=conventions.status&cid=82 (last

visited March 27, 2013).

       The Hague Convention authorizes the District Court for the District of Columbia to issue

the Letter of Request. See Socidtÿ Nationale Industrielle Adrospatiale v. U.S. Dist. Court, 482

U.S. 522, 535 (1987) (stating that "a judicial authority in one contracting state 'may' forward a

letter of request to the competent authority in another contracting state for the purpose of

obtaining evidence"); 28 U.S.C. § 1781(b)(2) (permitting "the transmittal of a letter rogatory or

request directly from a tribunal in the United States to the foreign or international tribunal,

officer, or agency to whom it is addressed and its return in the same manner"). And under the

Hague Convention, evidence can be compelled pursuant to a Letter of Request transmitted

directly from a court in the United States to the Singapore Central Authority, the Supreme Court



                                                3
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 7 of 212




of    Singapore.           See      Singapore         Judicial   Assistance,        available      at

http://travel.state.gov/law/j udicial/judicial_663.html (last visited March 27, 2013).

       Although the Administrative Law Judge can directly issue letters of request, the

Singaporean Judicial Authorities are more likely to respond to a Letter of Request from a District

Court because the latter will be recognized as originating from a civil case rather than an

administrative case.       See U.S. Dep't of State, Preparation of Letters Rogatory,

http://travel.state.gov/law/judicial/judicial_683.html (last visited April 8, 2013). Accordingly,

Samsung requests that the Court issue the attached Letter of Request to the Singaporean Judicial

Authorities on behalf of Samsung. See Aerocrine AR v. Apieron Inc., 267 F.R.D. 105, 109-10

(D. Del. 2010) (granting motion to issue Letters of Request to Finland under the Hague

Convention); cf Miller v. Holzmann, No. 95-1231, 2006 WL 3093122 (D.D.C. Oct. 31, 2006)

(granting motion to issue Letters of Request to Germany under Hague Convention).

II.   FLEXTRONICS IS IN POSSESSION OF RELEVANT DOCUMENTS AND
       INFORMATION IN SINGAPORE.

       Respondents believe Flextronics possesses unique documents and information

concerning: global and domestic demand for articles, Flextronics' capacity to replace the volume

of articles subject to Ericsson's requested remedial order, and the particular business and

financial impact on Flextronics by Ericsson's requested remedial order.                  Accordingly,

Flextronics is believed to be among the most knowledgeable about, and to have documents in its

possession, custody, and control concerning Samsung's defenses, including those based on the

public interest considerations enumerated in 19 U.S.C. §§ 1337(e)(1).

III. THE LETTER OF REQUEST IS NECESSARY TO OBTAIN THE DOCUMENTS
       AND INFORMATION FROM SINGAPORE AND CONFORMS TO THE
       REQUIRED PROCEDURAL SAFEGUARDS.




                                                  4
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 8 of 212




        The attached Letter of Request should issue for several reasons. The document requests,

deposition topics, and written deposition questions are narrowly tailored to obtain relevant

information related to public interest considerations.       The requested information, or its

substantial equivalent, could not be obtained without undue hardship by alternate means because

the documents and knowledgeable witnesses are in Singapore, which is beyond the

Commission's subpoena powers] And the documents produced pursuant to the Letter of

Request would be subject to the Protective Order in this Investigation, attached to the Letter of

Request, thereby ensuring that the interests of Flextronics are adequately protected.

        Samsung recognizes that in accordance with Article 23 of the Hague Convention,

Singapore will not execute a Letter of Request issued for the purpose of obtaining pre-trial

discovery of documents where the Letter of Request requires a person:

               (a) to state what documents relevant to the proceedings to which
               the Letter of Request relates are, or have been, in his possession,
               custody or power; or
               (b) to produce any documents other than particular documents
               specified in the Letter of Request as being documents appearing to
               the requested court to be, or to be likely to be, in his possession,
               custody or power.

See        Flextronics'          Declaration          Reservations,           available           at

http.'/!www.hcch.net/index en.php?act=status.comment&csid=569&disp=resdn                (last visited

March 27, 2013).

        Consistent with this reservation, the Letter of Request does not require Flextronics to

indicate which relevant documents are or have been within its possession, custody, or power nor




1     Samsung is also requesting the identical information from Flextronics International USA
Inc., Flextronics International Ltd.'s U.S. subsidiary, through an application for subpoenas, and
if this U.S. subsidiary produces the requested information, Samsung will withdraw the Letter of
Request. Nevertheless, because of the uncertainty of whether Flextronics International USA Inc.
will produce the requested information, Samsung requests that the Letter of Request be issued.
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 9 of 212




does the Letter of Request require Flextronics to produce documents other than those specifically

requested. Further, the documents produced pursuant to the Letter of Request would be subject

to the Protective Order in this Investigation, attached to the Letter of Request, thereby ensuring

that the interests of Flextronics are adequately protected.

       Samsung is fully prepared to comply with the procedural requirements involved in

obtaining the requested documents and testimony from Flextronics through the Letter of

Request. The necessary steps to receive judicial assistance are:

       • Obtain a Letter of Request with the signature of a District Court judge and the seal of

           the District Court.

       • Include in the Letter of Request the identities of the parties, the nature of the

           proceedings, the discovery sought, any special procedures, the identity of the party

           that will bear any costs, and other information as recommended by the Hague

           Conventions. See Hague Convention, Model for Letters of Request recommended for

           use in applying the Hague Convention of 18 March 1970 on the Taking of Evidence

           Abroad in Civil or Commercial Matters, available at

           http:/www.hcch.net/upload/actform20e.pdf (last visited March 15, 2013).

       • Transmit the letter to the Central Authority for Singapore for enforcement in a

           Singapore court. The Singapore court will serve the requests on Flextronics.

       For the foregoing reasons, Samsung respectfully requests that the Court grant Samsung's

motion and issue of Samsung's Letter of Request to Supreme Court of Singapore.
    Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 10 of 212




                                Respectfully submitted,

                                FISH & RICHARDSON P.C.


Dated: April 10, 2013
                                            olai<nni
                                           HARDSON P.C.
                                1425 K Street, N.W., 1 lth Floor
                                Washington, D.C. 20005
                                Telephone: (202) 783-5070
                                Facsimile: (202) 783-2331

                                Counsel for Petitioners
                                Samsung Electronics America, Inc.,
                                Samsung Telecommunications America LLC, and
                                Samsung Electronics Co., Ltd.




                                    7
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 11 of 212

                                 CERTIFICATE OF SERVICE

        I hereby certify that true and correct copies of the foregoing document have been served
on this 10th day of April, 2013, on the following:


                                                     [--] Via First-Class Mail
The Honorable David P. Shaw
                                                     [ÿ] Via Hand-Delivery
Administrative Law Judge
U.S. International Trade Commission                  [--] Via Federal Express
500 E Street S.W.                                    [--] Via E-mail
Washington, D.C. 20436


                                                       ] Via First-Class Mail
Pyong Yoon, Esq.
                                                     [--] Via Hand-Delivery
Attorney-Advisor
U.S. International Trade Commission                  [--] Via Federal Express
500 E Street, S.W.                                   [ÿ Via E-mail
Washington, D.C. 20436
pyong, yoon@usitc, gov


                                                     [ÿ Via First-Class Mail
Lisa Kattan, Esq.
                                                     [-] Via Hand-Delivery
Investigative Attorney
Office of Unfair Import Investigations               [--] Via Federal Express
U.S. International Trade Commission                  [ÿ Via E-mail
500 E Street, S.W.
Washington, D.C. 20436
lisa. kattan@usitc, gov


                                                     [--] Via First-Class Mail
Mike McKool, Esq.
                                                     [-7 Via Hand-Delivery
Douglas A. Cawley, Esq.
Theodore Stevenson III, Esq.                         [--] Via Federal Express
McKool Smith, P.C.                                   [ÿ Via E-mail
300 Crescent Court, Suite 1500
Dallas, Texas 75201
ericsson_samsung_862@mckoolsmith, com


Benjamin Levi
McKool Smith, P.C.
1999 K Street, N.W., Suite 600
Washington, D.C. 20006
ericsson_samsung_862@mckoolsmith, com


Counsel for Complainants Ericsson Inc. and
Telefonaktiebolaget LM Ericsson




                                                            Patri        "/'ÿcÿ
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 12 of 212




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


Samsung Electronics America, Inc.
85 Challenger Road
Ridgefield Park, NJ 07660

Samsung Telecommunications America LLC
1301 East Lookout Drive
Richardson, Texas 75082

Samsung Electronics Co., Ltd.
                                                Case:
Samsung Electronics Building
                                                Assigned To:
1320-10, Seocho 2-dong
                                                Assign Date:
Seocho-gu, Seoul 137-857
                                                Description: Miscellaneous
South Korea
                                                MISC. NO. _________________
                                Petitioners,
                                                MOTION FOR ISSUANCE OF LETTER
       v.
                                                OF REQUEST
Ericsson Inc.
6300 Legacy Drive
Plano, Texas 75024

Telefonaktiebolaget LM Ericsson
Torshamsgatan 23, Kista
164 83 Stockholm Sweden
                              Respondents.


            [PROPOSED] ORDER FOR ISSUANCE OF LETTER OF REQUEST


       This matter having arisen upon motion by Petitioners Samsung Electronics America, Inc.,

Samsung Telecommunications America LLC, and Samsung Electronics Co., Ltd., Respondents

in Certain Electronic Devices, Including Certain Wireless Communication Devices, Tablet

Computers, Media Players, and Televisions, and Components Thereof, Investigation No. 337-

TA-862 before the U.S. International Trade Commission, for Letter of Request to procure
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 13 of 212




evidence from Flextronics International Ltd., and it appearing that this Letter of Request is

appropriate,


       IT IS ORDERED, that the Clerk of this Court shall issue the Letter of Request in the

form attached to this order.



Dated: April ___, 2013                    By: ______________________________
                                                 United States District Judge




                                             2
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 14 of 212




            EXHIBIT 1
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 15 of 212




              UNITED STATES INTERNATIONAL TRADE COMMISSION
                                        Washington, D.C.



 In the Matter of

 CERTAIN ELECTRONIC DEVICES,
 INCLUDING WIRELESS COMMUNICATION
                                                                  Inv. No. 337-TA-862
 DEVICES, TABLET COMPUTERS, MEDIA
 PLAYERS, AND TELEVISIONS, AND
 COMPONENTS THEREOF


                                          Order No. 15


       Respondents Samsung Electronics Co. Ltd.; Samsung Electronics America, Inc.; and

Samsung Telecommunications America LLC (collectively, "Samsung") filed a motion for

recommendation to the United States District Court for the District of Columbia to issue a Letter

of Request pursuant to the Hague Convention of 18 March 1970 on the Taking of Evidence

Abroad in Civil or Commercial Matters on behalf of Samsung to obtain documents and

deposition testimony from the following foreign third-party:

       Flextronics International Ltd.
       2 Changi South Lane
       Singapore 486123

Motion Docket No. 862-22. Samsung states that complainants Ericsson Inc. and Ericsson

Telefonaktiebogalet LM Ericsson, and the Commission Investigative Staff, do not oppose the

motion. Mot. at 2.


       Motion No. 862-22 is granted.
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 16 of 212




       Accordingly, it is respectfully recommended that the District Court issue respondents'

Letter of Request to the Supreme Court of Singapore.




                                                    David P. Shaw
                                                    Administrative Law Judge


Issued: April 2, 2013




                                               2
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 17 of 212




                           PUBLIC CERTIFICATE OF SERVICE


I, Lisa R. Barton, hereby certify that the attached ORDER NO. 15 has been served by hand upon
the Commission Investigative Attorney, Lisa Kattan, Esq., and the following parties as
indicated, on ÿ' g ÿ$




                                                  Lisa R. Barton, Acting Secretary
                                                  U.S. International Trade Commission
                                                  500 E Street SW, Room 112A
                                                  Washington, DC 20436




 Benjamin Levi, Esq.                                    ( ) Via Hand Delivery
 MCKOOL SMITH P.C.
 1999 K Street, NW, Suite 600                                  First ClassMail
                                                        I ÿia Ovemight     Mail
 Washington, DC 20006                                   ( ) Other:




 Michael J. McKeon, Esq.                                ( ) Via Hand Delivery
 FISH & RICHARDSON P.C.                                    )/V4"£ Overnight Mail
 1425 K Street, NW, 11th Floor                          I ÿ]"Via First Class Mail
 Washington, DC 20005                                   ( ) Other:
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 18 of 212

CERTAIN ELECTRONIC DEVICES, INCLUDING WIRELESS COMMUNICATION
DEVICES, TABLET COMPUTERS, MEDIA PLAYERS, AND TELEVISIONS, AND
COMPONENTS THEREOF
                                                                 INV. NO. 337-TA-862



                                  PUBLIC MAILING LIST



Angela Ruby                                       ( ) Via Hand Delivery
LEXIS-NEXIS                                       ( ) Via Overnight Mail
9443 Springboro Pike                              ( ÿia First Class Mail
Miamisburg, OH 45342                              ( ) Other:


Kenneth Clair                                     ( ) Via Hand Delivery
Thomson West                                      ( )/Viÿa Overnight Mail
1100 13th Street, NW, Suite 200                   ( ÿ" Via First Class Mail
Washington, DC 20005                              ( ) Other:




                                           2
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 19 of 212




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


Samsung Electronics America, Inc.
85 Challenger Road
Ridgefield Park, NJ 07660

Samsung Telecommunications America LLC
1301 East Lookout Drive
Richardson, Texas 75082
                                                Case:
Samsung Electronics Co., Ltd.                   Assigned To:
Samsung Electronics Building                    Assign Date:
1320-10, Seocho 2-dong                          Description: Miscellaneous
Seocho-gu, Seoul 137-857
South Korea                                     MISC. NO. _________________

                                Petitioners,    MOTION FOR ISSUANCE OF
                                                LETTER OF REQUEST
       v.

Nokia Corporation
Keilalahdentie 2-4
FI-02150 Espoo
Finland
                                Respondent.


            [PROPOSED] ORDER FOR ISSUANCE OF A LETTER ROGATORY


       This matter having arisen upon motion by Petitioners Samsung Electronics America, Inc.,

Samsung Telecommunications America LLC, and Samsung Electronics Co., Ltd., Respondents

in Certain Electronic Devices, Including Certain Wireless Communication Devices, Tablet

Computers, Media Players, and Televisions, and Components Thereof, Investigation No. 337-

TA-862 before the U.S. International Trade Commission, for a letter rogatory to procure

evidence from Flextronics International Ltd., and it appearing that this letter rogatory is

appropriate,
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 20 of 212




       IT IS ORDERED, that the Clerk of this Court shall issue the Letter Rogatory in the form

attached to this order.



Dated: April ___, 2013                     By: ______________________________
                                                  United States District Judge




                                              2
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 21 of 212




ATTACHMENT 1
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 22 of 212




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                  )
Ericsson Inc. and Telefonaktiebolaget LM          )
Ericsson,                                         )
                                                  )
              Plaintiffs (Complainants),          )
                                                  )
       v.                                         )      Civil Action No. Misc. ______
                                                  )
Samsung Electronics America, Inc., Samsung        )
Telecommunications America LLC, and               )
Samsung Electronics Co., Ltd.,                    )
                                                  )
              Defendants (Respondents).           )

     REQUEST FOR INTERNATIONAL ASSISTANCE—LETTER OF REQUEST

       The United States District Court for the District of Columbia respectfully requests

international judicial assistance to obtain evidence, under the Hague Convention of 18 March

1970 on the Taking of Evidence Abroad in Civil or Commercial Matters, to be used in an

administrative proceeding as approved by this Court in the above captioned matter.

       Based on the representations made by Respondents Samsung Electronics America, Inc.,

Samsung Telecommunications America LLC, and Samsung Electronics Co., Ltd. (collectively

“Samsung”), this Court believes that Flextronics International Ltd. (“Flextronics”) is in

possession of documents and has knowledge regarding material facts that are relevant for the

proper prosecution of the above-referenced administrative proceeding. This Court requests the

assistance described below:

1. Sender                                        Joseph V. Colaianni
                                                 FISH & RICHARDSON P.C.
                                                 1425 K Street, N.W., 11th Floor
                                                 Washington, D.C. 20005
                                                 Telephone: +1 202 783 5070
                                                 United States of America
2. Central Authority of the Requested State      Supreme Court of Singapore
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 23 of 212




                                                   1 Supreme Court Lane
                                                   Singapore 178879
3. Person to whom the executed request is to       Joseph V. Colaianni
be returned                                        FISH & RICHARDSON P.C.
                                                   1425 K Street, N.W., 11th Floor
                                                   Washington, D.C. 20005
                                                   Telephone: +1 202 783 5070
                                                   United States of America
4. Specification of the date by which the requesting authority requires receipt of the response to
the Letter of Request
Date                                               A response is requested by April 22, 2013, or
                                                   as soon as practicable.
Reason for urgency                                 Under Section 337 of the Tariff Act of 1930, as
                                                   amended, 19 U.S.C. § 1337, investigations in
                                                   the United States International Trade
                                                   Commission must be completed “at the earliest
                                                   practicable time.” The fact discovery cutoff
                                                   for this investigation has been set for April 26,
                                                   2013. Expedient treatment of this request will
                                                   allow the parties and the witnesses to arrange a
                                                   mutually agreeable date for testimony and
                                                   avoid disruption to the witnesses’ business or
                                                   personal plans.
In conformity with Article 3 of the Convention, the undersigned applicant has the honor to
submit the following request:
5. a. Requesting judicial authority                United States District Court Judge
     (Article 3, a)                                U.S. District Court for the District of Columbia
                                                   333 Constitution Ave., N.W.
                                                   Washington, DC 20001
                                                   United States of America
     b. To the competent authority of              Singapore
     (Article 3, a)
     c. Names of the case and any identifying      In the Matter of Certain Electronic Devices,
     number                                        Including Certain Wireless Communication
                                                   Devices, Tablet Computers, Media Players,
                                                   and Televisions, and Components Thereof,
                                                   Investigation No. 337-TA-862
Names and addresses of the parties and their representatives (including representatives in the
requested State) (Article 3, b)
6. a. Plaintiffs (Complainants)                    Ericsson Inc.
                                                   6300 Legacy Drive
                                                   Plano, Texas 75024
                                                   United States of America


                                                 2
  Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 24 of 212




                                     Telefonaktiebolaget LM Ericsson
                                     Torshamnsgatan 23, Kista
                                     Stockholm
                                     Sweden 164 83

                                     (collectively “Ericsson”)
Representatives                      Mike McKool
                                     Douglas A. Cawley
                                     Theodore Stevenson, III
                                     MCKOOL SMITH P.C.
                                     300 Crescent Court, Suite 1500
                                     Dallas, Texas 75201
                                     United States of America
                                     Attorneys for Ericsson

                                     Steven J. Pollinger
                                     MCKOOL SMITH P.C.
                                     300 W. 6th Street, Suite 1700
                                     Austin, Texas 78701
                                     United States of America
                                     Attorney for Ericsson

                                     Benjamin Levi
                                     MCKOOL SMITH P.C.
                                     1999 K Street, N.W. Suite 600
                                     Washington, D.C. 20006
                                     Attorney for Ericsson
b. Defendants (Respondents)          Samsung Electronics Co., Ltd.
                                     Samsung Main Building, 250
                                     Taepyung-ro 2-ka, Chung-ku
                                     Seoul 100-742
                                     Republic of Korea

                                     Samsung Telecommunications America, LLC
                                     1301 East Lookout Drive
                                     Richardson, Texas 75082
                                     United States of America

                                     Samsung Electronics America, Inc.
                                     85 Challenger Road
                                     Ridgefield Park, New Jersey 07660
                                     United States of America

                                     (collectively “Samsung”)
Representatives                      Ruffin B. Cordell


                                 3
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 25 of 212




                                                  Michael J. McKeon
                                                  Joseph V. Colaianni
                                                  Ahmed J. Davis
                                                  Ralph A. Phillips
                                                  Steven A. Bowers
                                                  FISH & RICHARDSON P.C.
                                                  1425 K Street, N.W., 11th Floor
                                                  Washington, D.C. 20005
                                                  United States of America
                                                  Attorneys for Samsung
    c. Other parties                              Lisa M. Kattan
                                                  Office of Unfair Import Investigations
                                                  U.S. International Trade Commission
                                                  500 E Street, S.W.
                                                  Washington, D.C. 20436
                                                  United States of America
7. Nature of the proceedings and summary of       This is a proceeding being conducted by the
the facts                                         United States International Trade Commission
                                                  (the “ITC”) under Section 337 of the Tariff Act
                                                  of 1930, as amended, 19 U.S.C. § 1337
                                                  (“Section 337”), based on a Complaint filed by
                                                  Ericsson on November 30, 2012. The
                                                  Complaint alleges that Samsung infringes U.S.
                                                  Patents Nos. 6,029,052; 6,058,359; 6,278,888;
                                                  6,301,556; 6,418,310; 6,445,917; 6,473,506;
                                                  6,519,223; 6,624,832; 6,772,215; and
                                                  8,169,992 (collectively, the “Asserted
                                                  Patents”). The accused Samsung products
                                                  include but are not limited to Samsung
                                                  smartphones.

                                                  The ITC instituted proceedings based on
                                                  Ericsson’s Complaint on January 8, 2013 with
                                                  publication of the Notice of Investigation in
                                                  the Federal Register. Upon institution, the
                                                  case was assigned to Administrative Law
                                                  Judge David P. Shaw to preside over pre-trial
                                                  matters, conduct a trial, and issue an initial
                                                  determination on the merits of the case. The
                                                  initial determination is subject to possible
                                                  review by the ITC with a right to appeal to the
                                                  United States Court of Appeals for the Federal
                                                  Circuit.

                                                  Flextronics is believed to have unique
                                                  documents and information concerning: global

                                              4
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 26 of 212




                                                       and domestic demand for articles, Flextronics’
                                                       capacity to replace the volume of articles
                                                       subject to Ericsson’s requested remedial order,
                                                       and the particular business and financial
                                                       impact on Flextronics by Ericsson’s requested
                                                       remedial order. Accordingly, Flextronics is
                                                       believed to be among the most knowledgeable
                                                       about, and to have documents in its possession,
                                                       custody, and control concerning Samsung’s
                                                       defenses, including those based on the public
                                                       interest considerations enumerated in 19
                                                       U.S.C. §§ 1337(e)(1).
8.   a. Evidence to be obtained or other               It is respectfully requested that a judicial
     judicial act to be performed (Article 3, d)       authority of Singapore order Flextronics
                                                       International Ltd. to produce copies of
                                                       documents and other property as described in
                                                       Attachment A. It is additionally requested that
                                                       a judicial authority of Singapore order
                                                       Flextronics International Ltd. to make
                                                       available a suitable representative to provide
                                                       testimony regarding the deposition topics set
                                                       forth in Attachment B.
     b. Purpose of the evidence or judicial act        The requested documents and deposition
     sought                                            testimony will provide important evidence
                                                       related to the public interest considerations in
                                                       the Investigation.
9. Identity and address of any person to be            Flextronics International Ltd.
examined (Article 3, e)                                2 Changi South Lane
                                                       Singapore 486123
10. Questions to be put to the persons to be           The topics of the deposition questions are set
examined or statement of the subject-matter            forth in Attachment B.
about which they are to be examined (Article
3, f)
11. Documents or other property to be                  The documents and other property to be
inspected (Article 3, g)                               inspected are set forth in Attachment A.
12. Any requirement that the evidence be given         It is respectfully requested that an examiner or
on oath or affirmation and any special form to         other appropriate judicial officer of Singapore
be used (Article 3, h)                                 direct that the witness be duly sworn in
                                                       accordance with the applicable procedures of
                                                       Singapore, and that the testimony be taken and
                                                       transcribed by a qualified court reporter and
                                                       videographer chosen by Samsung’s
                                                       representatives. It is further requested that the
                                                       transcription of the deposition be in the
                                                       English language.

                                                   5
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 27 of 212




                                             Additionally it is respectfully requested that
                                             each document described in Attachment A be
                                             produced along with all non-identical drafts
                                             thereof in their entirety, without abbreviation
                                             or redaction, as maintained in the ordinary
                                             course of business.
13. Special methods or procedure to be       With regard to the production of documents, in
followed (Articles 3, i and 9)               the event that any document called for by these
                                             requests is withheld in whole or in part on the
                                             basis of any applicable privilege, it is requested
                                             that Flextronics International Ltd. furnish a
                                             privilege log that identifies each document for
                                             which any privilege is claimed and that
                                             provides, with respect to each document, the
                                             following information:
                                             (a) the date the document was created and last
                                             modified;
                                             (b) the subject matter of the document;
                                             (c) the person(s) who prepared the document;
                                             (d) all persons to whom the document was
                                             distributed, shown, or explained;
                                             (e) the document’s present custodian; and
                                             (f) the nature of the privilege asserted.

                                             With regard to the deposition, it is requested
                                             that:
                                             (a) Flextronics International Ltd. be required to
                                             designate one or more officers, directors,
                                             managing agents, employees, or other
                                             person(s) to testify on behalf of Flextronics
                                             International Ltd.;
                                             (b) Flextronics International Ltd. be required to
                                             identify the person or persons who will testify
                                             pursuant to this Request and the matter or
                                             matters about which each person will testify;
                                             (c) the examination be conducted orally;
                                             (d) the parties’ representatives or their
                                             designees, attorneys, their interpreters, and a
                                             stenographer be permitted to be present during
                                             the examination;
                                             (e) there be excluded from the examination, if
                                             permitted under the law of Singapore, all
                                             persons other than the parties’ representatives
                                             or their designees, attorneys, their interpreters,
                                             and the stenographer, and any official of the

                                         6
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 28 of 212




                                                   court of Singapore required to be present
                                                   during such proceedings;
                                                   (f) the stenographer be permitted to record
                                                   verbatim the examination;
                                                   (g) the stenographer be permitted to record the
                                                   examinations by audiovisual means;
                                                   (h) the attorneys conducting the examinations
                                                   be permitted to ask questions regarding the
                                                   topics listed in Attachment B;
                                                   (i) ten and a half hours (10.5) be allotted for
                                                   the examination of each witness who requires a
                                                   translator, and seven (7) hours be allotted for
                                                   the examination of each English speaking
                                                   witness;
                                                   (j) the witnesses be examined as soon as
                                                   practicable; and
                                                   (k) the documents and property requested in
                                                   Attachment A be provided to Respondents no
                                                   later than five days before the deposition at a
                                                   convenient location to be mutually determined.
14. Request for notification of the time and       It is requested that the individuals identified
place for the execution of the Request and         below be furnished as soon as practicable with
identity and address of any person to be           a copy of the executed Letter of Request, and
notified (Article 7)                               be informed as soon as practicable of the time
                                                   and place for the examination of the witnesses.

                                                   Joseph V. Colaianni
                                                   FISH & RICHARDSON P.C.
                                                   1425 K Street, N.W., 11th Floor
                                                   Washington, D.C. 20005
                                                   Telephone: +1 202 783 5070
                                                   United States of America
                                                   Attorney for Samsung

                                                   Benjamin Levi
                                                   MCKOOL SMITH P.C.
                                                   1999 K Street, N.W. Suite 600
                                                   Washington, D.C. 20006
                                                   Attorney for Ericsson

                                                   Lisa M. Kattan
                                                   Office of Unfair Import Investigations
                                                   U.S. International Trade Commission
                                                   500 E Street, S.W., Suite 401
                                                   Washington, D.C. 20436
                                                   United States of America

                                               7
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 29 of 212




15. Request for attendance or participation of          None
judicial personnel of the requesting authority at
the execution of the Letter of Request (Article
8).
16. Specification of privilege or duty to refuse        The witness may refuse to give evidence only
to give evidence under the law of the State of          insofar as he or she has a privilege or duty to
origin (Article 11, b)                                  refuse to give evidence under the laws of the
                                                        United States or the laws of Singapore.
17. The fees and costs incurred which are               Samsung c/o
reimbursable under the second paragraph of              Joseph V. Colaianni
Article 14 or under Article 26 of the                   FISH & RICHARDSON P.C.
Convention will be borne by                             1425 K Street, N.W., 11th Floor
                                                        Washington, D.C. 20005
                                                        Telephone: +1 202 783 5070
                                                        United States of America
                                                        Attorney for Samsung
Date of Request                                         _______ of _____________________, 2013
Signature and Seal of the Requesting Authority



                                                        United States District Court Judge
                                                        U.S. District Court for the District of Columbia




                                                    8
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 30 of 212




Attachments:
Attachment A: Documents or Other Property to be Produced by Flextronics International Ltd.;
Attachment B: Topics for the Deposition of Flextronics International Ltd.;
Attachment C: Protective Order;
Attachment D: Ground Rules;
Attachment E: Complaint




                                              9
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 31 of 212




            ATTACHMENT A
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 32 of 212




                                         DEFINITIONS

       The following definitions shall apply throughout these requests, regardless of whether

upper or lower case letters are used:

       A.      “Ericsson” and “Complainant(s)” shall each mean and refer to Complainant

Ericsson Inc. and Telefonaktiebolaget LM Ericsson, individually and collectively, including

without limitation all of its corporate locations, and all predecessors, predecessors-in-interest,

subsidiaries, parents, and affiliates, and all past or present directors, officers, agents,

representatives, employees, consultants, attorneys, entities acting in joint venture, licensing

agreements, or partnership relationships with Ericsson and others acting on behalf of Ericsson.

       B.      “Flextronics,” “You,” and “Your” shall each mean and refer to Flextronics

International Ltd., individually and collectively, including without limitation all of its corporate

locations, and all predecessors, predecessors-in-interest, subsidiaries, parents, and affiliates, and

all past or present directors, officers, agents, representatives, employees, consultants, attorneys,

entities acting in joint venture, licensing agreements, or partnership relationships with

Flextronics International Ltd. and others acting on behalf of Flextronics International Ltd.

       C.      “Samsung” refers collectively to Respondents Samsung Electronics Co., Ltd.,

Samsung Electronics America, Inc., and Samsung Telecommunications America, LLC.

       D.      “The ’052 patent” means U.S. Patent No. 6,029,052.

       E.      “The ’359 patent” means U.S. Patent No. 6,058,359.

       F.      “The ’888 patent” means U.S. Patent No. 6,278,888.

       G.      “The ’556 patent” means U.S. Patent No. 6,301,556.

       H.      “The ’310 patent” means U.S. Patent No. 6,418,310.

       I.      “The ’917 patent” means U.S. Patent No. 6,445,917.

       J.      “The ’506 patent” means U.S. Patent No. 6,473,506.

       K.      “The ’223 patent” means U.S. Patent No. 6,519,223.

       L.      “The ’832 patent” means U.S. Patent No. 6,624,832.

       M.      “The ’215 patent” means U.S. Patent No. 6,772,215.
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 33 of 212




        N.      “The ’992 patent” means U.S. Patent No. 8,169,992.

        O.      “Patents-In-Suit” means the ’052 patent, the ’359 patent, the ’888 patent, the ’556

patent, the ’310 patent, the ’917 patent, the ’506 patent, the ’223 patent, the ’832 patent, the ’215

patent, and/or the ’992 patent.

        P.      “Complaint” shall mean the Complaint of Ericsson Inc. and Telefonaktiebolaget

LM Ericsson Under Section 337 of the Tariff Act of 1930, As Amended, filed November 30,

2012.

        Q.      “IEEE” means Institute of Electrical and Electronics Engineers.

        R.      “ETSI” means European Telecommunications Standards Institute.

        S.      “3GPP” means the 3rd Generation Partnership Project.

        T.      “LTE” means Long Term Evolution.

        U.      “GSM” means Global System for Mobile Communication.

        V.      “AMR-NB” means Adaptive Multi-Rate Narrowband.

        W.      “AMR-WB+” means Extended Adaptive Multi-Rate Wideband.

        X.      “GPRS” means General Packet Radio Service.

        Y.      “EDGE” means Enhanced Data Rates for GSM Evolution.

        Z.      “UMTS” means Universal Mobile Telecommunications System.

        AA.     “W-CDMA” means Wideband Code Division Multiple Access.

        BB.     “LTE Standards” refers to the LTE standards published by the 3GPP as the 36

series, all versions included and available at http://www.3gpp.org/ftp/Specs/html-info/36-

series.htm.

        CC.     “CODECs Standards” refers to the CODECs standards published by 3GPP as the

26   series,    46   series,   and   06   series,       all   versions   included   and   available   at

http://www.3gpp.org/ftp/Specs/html-info/26-series.htm;             http://www.3gpp.org/ftp/Specs/html-

info/46-series.htm; and http://www.3gpp.org/ftp/Specs/html-info/06-series.htm.

        DD.     “IPR” means Intellectual Property Rights, including patents and patent

applications.
                                                    3
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 34 of 212




       EE.     “Standard” means any technical standard created, authorized, controlled, and/or

developed privately or unilaterally by a corporation, consortium, regulatory body, government,

or standards setting organization, including but not limited to the IEEE, ETSI and/or 3GPP.

       FF.     “Accused Standards” refers to the GSM, AMR-NB, AMR-WB+, GPRS, EDGE,

W-CDMA, HSPA, LTE, and IEEE 802.11 Standards.

       GG.     “FRAND” means Fair, Reasonable, and Non-Discriminatory as recited in

standard setting organization Intellectual Property Rights documents, including IEEE, ETSI,

and/or 3GPP IPR documents.

       HH.     “RAND” means Reasonable and Non-Discriminatory as recited in standard

setting organization Intellectual Property Rights documents, including IEEE, ETSI, and/or 3GPP

IPR documents.

       II.     “Product” means a machine, manufacture, apparatus, device, instrument,

mechanism, appliance, assemblage of components/parts (either individually or collectively),

process, or method which are designed to function together electrically, mechanically,

chemically, or otherwise, to achieve a particular function or purpose, including those offered for

sale, sold, or under development.

       JJ.     “Ericsson Products” shall mean all products, whether manufactured or sold by

Ericsson that embody the subject matter of any of the Patents-In-Suit, either in structure or in

method of manufacturing, and all prototypes, derivatives, equivalents, and variations of such

products.

       KK.     The term “Mobile Device” means any portable electronic device, including but

not limited to, cell phone, smart phone, handheld computer, tablet, and PDA.

       LL.     The term “Component” refers to an integrated circuit or other part used in a

Mobile Device, including, without limitation, an application processor, baseband processor, Wi-

Fi (WLAN) module, radio module, Bluetooth module, audio codec, audio processor, voice

processor, power management unit (PMU), display panel, touch sensor, image sensor, and/or

camera module.
                                                4
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 35 of 212




       MM. “Present Investigation” shall mean Certain Electronic Devices, Including
Wireless Communication Devices, Tablet Computers, Media Players, and Televisions, and

Components Thereof, ITC Inv. No. 337-TA-862.

       NN.     “Person” shall mean any natural person or any business, proprietorship, firm,

partnership, corporation, association, organization, or other legal entity. The acts of a Person

shall include the acts of directors, officers, owners, members, employees, agents, attorneys or

other representatives acting on the Person’s behalf.

       OO.     “Document” shall be construed under the broadest possible construction under the

Federal Rules of Civil Procedure and shall include without limitation any written, recorded,

graphic, or other matter, whether sent or received or made or used internally, however produced

or reproduced and whatever the medium on which it was produced or reproduced (whether on

paper, cards, charts, file, or printouts; tapes, discs, belts, video tapes, audiotapes, tape recordings,

cassettes, or other types of voice recording or transcription; computer tapes, databases, e-mails;

pictures, photographs, slides, films, microfilms, motion pictures; or any other medium), and any

other tangible item or thing of readable, recorded, or visual material of whatever nature including

without limitation originals, drafts, and all non-identical copies of each document (which, by

reason of any variation, such as the presence or absence of hand-written notes or underlining,

represents a distinct version). By way of example, the term “document(s)” as used herein shall

include, without limitation:     correspondence; blueprints; memoranda; notes; diaries; letters;

telegraphs; telegrams; telexes; e-mails; metadata; minutes; agendas; contracts; reports; studies;

checks; statements; receipts; returns; summaries; pamphlets; circulars; press releases;

advertisements; books; inter-office and intra-office communications; handwritten or typewritten

notes; notations or summaries of telephone conversations, meetings, or conferences; bulletins;

computer printouts; databases; teletypes; telefax; invoices; worksheets; photographs; tape

recordings; and all other tangible items of readable, recorded, or visual material of any kind.




                                                   5
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 36 of 212




       PP.     “Relate to,” “Related to,” or “Relating to” shall mean in whole or in part

constituting, containing, embodying, reflecting, describing, analyzing, identifying, mentioning,

stating, referring directly or indirectly to, dealing with, or in any way pertaining to.

       QQ.     “Describe,” when used in relation to an act, event, instance, occasion, transaction,

conversation, or communication, shall mean (1) to state the date and place thereof; (2) to identify

the individual participants; (3) to summarize separately for each individual participant what he

said or did; and (4) to identify each document used or prepared in connection therewith or

making any reference thereto.

       RR.     The term “identify,” when used with respect to any natural person, means that the

following information shall be provided: the person’s full name; last known home address; last

known business address and telephone number; last known title or occupation; and last known

employer.

       SS.     The term “identify,” when used with respect to any legal entity, such as a

corporation, company, or person other than a natural person, means that the following

information shall be provided: the entity’s name; the place of incorporation or organization; the

principal place of business; and the nature of the business conducted by that legal entity.

       TT.     The term “identify,” when used with respect to a document, subject to the option

to produce records under 19 C.F.R. § 210.29(c), means to provide information sufficient to

locate that document, including but not limited to the following: the Bates range, the date

appearing on such document or, if no date appears thereon, the approximate date the document

was prepared; the identifying code number, file number, title, or label of such document; a

general description of such document (e.g., letter, memorandum, drawing); the title or heading;

the number of pages of which such document consists; the name of each person who signed or

authorized the document; the name of each addressee; the name of each person having

possession, custody, or control of such document; if the document existed at one time but does

not presently exist, the reason(s) why it no longer exists and the identity of the last person having


                                                   6
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 37 of 212




custody of it; and, if the document is in a foreign language, whether an English translation of the

document exists, whether partial or complete.




                                                7
          Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 38 of 212




                                           INSTRUCTIONS

          A.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine, or neuter gender as in each case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive.

          B.      These requests shall apply to all documents in your possession, custody, or

control at the present time or coming into your possession, custody, or control prior to the date of

the production. If you know of the existence, past or present, of any documents or things

requested below, but are unable to produce such documents or things because they are not

presently in your possession, custody, or control, you shall so state and shall identify such

documents or things, and the person who has possession, custody, or control of the documents or

things.

          C.      If no documents are responsive to a particular request, you are to state that no

responsive documents exist.

          D.      For any responsive documents or tangible things that have been lost, destroyed, or

withheld from production based on any ground, you shall provide a written statement setting

forth:

               (1) the identity of the document;

               (2) the nature of the document (e.g., letter, memorandum, chart);

               (3) the identity of the person(s) who received copies of the document;

               (4) the date of the document;

               (5) a brief description of the subject matter of the document; and

               (6) the circumstances of the loss or destruction of the document and any fact, statute,

rule or decision upon which you rely in withholding the document.




                                                    8
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 39 of 212




       E.       If you decline to produce any document or part thereof based on a claim of

privilege or any other claim, describe the nature and basis of your claim and the information

withheld in a manner sufficient:

             (1) to disclose the facts upon which you rely in asserting your claim;

             (2) to permit the grounds and reasons for withholding the information to be identified

unambiguously; and

             (3) to permit the information withheld to be identified unambiguously.

       F.       All documents requested are to be produced in the same file or other

organizational environment in which they are maintained. For example, a document that is part

of a file, docket, or other grouping, should be physically produced together with all other

documents from said file, docket or grouping, in the same order or manner of arrangement as the

original. Alternatively, as to each document and thing produced in response hereto, you shall

identify the request for production and where applicable, the interrogatory number, in response

to which the document or thing is being produced. Where a document or thing exists in hard

copy and electronic format, you shall produce both the hard and the electronic copy.

       G.       These requests seek all responsive documents in their original language and, if

such original language is not English, these requests also seek all English-language translations

that may exist for any such documents.

       H.       You shall keep and produce a record of the source of each document produced.

This shall include the name and location of the file where each document was located and the

name of the person, group, or department having possession, custody, or control of each

document.

       I.       Each document is to be produced along with all drafts, without abbreviation or

redaction.




                                                  9
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 40 of 212




                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1
         Documents sufficient to identify each Mobile Device sold in the United States for which

You have assembled or manufactured part or all of the Mobile Device from 2007 to present.



REQUEST FOR PRODUCTION NO. 2
         Documents sufficient to identify each Mobile Device (existing or planned) to be sold in

the United States for which you have plans to assemble or manufacture part or all of the Mobile

Device over the next five years.



REQUEST FOR PRODUCTION NO. 3:
         Documents sufficient to show Your current and projected capacity to assemble or

manufacture each Mobile Device You identified in response to Request for Production Nos. 1

and 2.



REQUEST FOR PRODUCTION NO. 4:
         Documents sufficient to show the actual production volume for each Mobile Device You

identified in response to Request for Production Nos. 1 and 2.



REQUEST FOR PRODUCTION NO. 5
         Documents sufficient to show the cost, time, and resources necessary to construct and

launch a new assembly or manufacturing process for each Mobile Device You identified in

response to Request for Production Nos. 1 and 2.




                                               10
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 41 of 212




REQUEST FOR PRODUCTION NO. 6
         Documents sufficient to describe any known or projected delays in assembling or

manufacturing each Mobile Device You identified in response to Request for Production Nos. 1

and 2, including an identification of any known or suspected causes, time of delay, and cost of

delay.



REQUEST FOR PRODUCTION NO. 7:
         Documents sufficient to show any constraints or limits to Your ability to construct or

launch a new assembly or manufacturing process for each Mobile Device You identified in

response to Request for Production Nos. 1 and 2.



REQUEST FOR PRODUCTION NO. 8:
         Documents sufficient to show any known or perceived limits on Your ability to increase

capacity to assemble or manufacture each Mobile Device You identified in response to Request

for Production Nos. 1 and 2.



REQUEST FOR PRODUCTION NO. 9:
         Documents sufficient to show the cost, time, and resources necessary to increase Your
capacity to assemble or manufacture for each Mobile Device You identified in response to

Request for Production Nos. 1 and 2.



REQUEST FOR PRODUCTION NO. 10:
         Documents sufficient to show all primary and alternate suppliers of Components for each

Mobile Device You identified in response to Request for Production Nos. 1 and 2.




                                               11
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 42 of 212




REQUEST FOR PRODUCTION NO. 11:
       Documents sufficient to show the price of each Component by You or on Your behalf for

each Mobile Device You identified in response to Request for Production Nos. 1 and 2.



REQUEST FOR PRODUCTION NO. 12:
       Documents sufficient to describe any pricing fluctuations of materials or other

Components that were greater than 30% over any 12 month for each Mobile Device You

identified in response to Request for Production Nos. 1 and 2.




                                               12
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 43 of 212




            ATTACHMENT B
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 44 of 212




                                         DEFINITIONS

       The following definitions shall apply throughout these examination topics, regardless of

whether upper or lower case letters are used:

       A.      “Ericsson” and “Complainant(s)” shall each mean and refer to Complainant

Ericsson Inc. and Telefonaktiebolaget LM Ericsson, individually and collectively, including

without limitation all of its corporate locations, and all predecessors, predecessors-in-interest,

subsidiaries, parents, and affiliates, and all past or present directors, officers, agents,

representatives, employees, consultants, attorneys, entities acting in joint venture, licensing

agreements, or partnership relationships with Ericsson and others acting on behalf of Ericsson.
       B.      “Flextronics,” “You,” and “Your” shall each mean and refer to Flextronics

International Ltd., individually and collectively, including without limitation all of its corporate

locations, and all predecessors, predecessors-in-interest, subsidiaries, parents, and affiliates, and

all past or present directors, officers, agents, representatives, employees, consultants, attorneys,

entities acting in joint venture, licensing agreements, or partnership relationships with

Flextronics International Ltd.and others acting on behalf of Flextronics International Ltd.

       C.      “Samsung” refers collectively to Respondents Samsung Electronics Co., Ltd.,

Samsung Electronics America, Inc., and Samsung Telecommunications America, LLC.

       D.      “The ’052 patent” means U.S. Patent No. 6,029,052.

       E.      “The ’359 patent” means U.S. Patent No. 6,058,359.

       F.      “The ’888 patent” means U.S. Patent No. 6,278,888.

       G.      “The ’556 patent” means U.S. Patent No. 6,301,556.

       H.      “The ’310 patent” means U.S. Patent No. 6,418,310.

       I.      “The ’917 patent” means U.S. Patent No. 6,445,917.

       J.      “The ’506 patent” means U.S. Patent No. 6,473,506.

       K.      “The ’223 patent” means U.S. Patent No. 6,519,223.

       L.      “The ’832 patent” means U.S. Patent No. 6,624,832.

       M.      “The ’215 patent” means U.S. Patent No. 6,772,215.
                                              1
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 45 of 212




        N.      “The ’992 patent” means U.S. Patent No. 8,169,992.

        O.      “Patents-In-Suit” means the ’052 patent, the ’359 patent, the ’888 patent, the ’556

patent, the ’310 patent, the ’917 patent, the ’506 patent, the ’223 patent, the ’832 patent, the ’215

patent, and/or the ’992 patent.

        P.      “Complaint” shall mean the Complaint of Ericsson Inc. and Telefonaktiebolaget

LM Ericsson Under Section 337 of the Tariff Act of 1930, As Amended, filed November 30,

2012.

        Q.      “IEEE” means Institute of Electrical and Electronics Engineers.

        R.      “ETSI” means European Telecommunications Standards Institute.

        S.      “3GPP” means the 3rd Generation Partnership Project.

        T.      “LTE” means Long Term Evolution.

        U.      “GSM” means Global System for Mobile Communication.

        V.      “AMR-NB” means Adaptive Multi-Rate Narrowband.

        W.      “AMR-WB+” means Extended Adaptive Multi-Rate Wideband.

        X.      “GPRS” means General Packet Radio Service.

        Y.      “EDGE” means Enhanced Data Rates for GSM Evolution.

        Z.      “UMTS” means Universal Mobile Telecommunications System.

        AA.     “W-CDMA” means Wideband Code Division Multiple Access.

        BB.     “LTE Standards” refers to the LTE standards published by the 3GPP as the 36

series, all versions included and available at http://www.3gpp.org/ftp/Specs/html-info/36-

series.htm.

        CC.     “CODECs Standards” refers to the CODECs standards published by 3GPP as the

26   series,    46   series,   and   06   series,       all   versions   included   and   available   at

http://www.3gpp.org/ftp/Specs/html-info/26-series.htm;             http://www.3gpp.org/ftp/Specs/html-

info/46-series.htm; and http://www.3gpp.org/ftp/Specs/html-info/06-series.htm.

        DD.     “IPR” means Intellectual Property Rights, including patents and patent

applications.
                                                    2
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 46 of 212




       EE.     “Standard” means any technical standard created, authorized, controlled, and/or

developed privately or unilaterally by a corporation, consortium, regulatory body, government,

or standards setting organization, including but not limited to the IEEE, ETSI and/or 3GPP.

       FF.     “Accused Standards” refers to the GSM, AMR-NB, AMR-WB+, GPRS, EDGE,

W-CDMA, HSPA, LTE, and IEEE 802.11 Standards.

       GG.     “FRAND” means Fair, Reasonable, and Non-Discriminatory as recited in

standard setting organization Intellectual Property Rights documents, including IEEE, ETSI,

and/or 3GPP IPR documents.

       HH.     “RAND” means Reasonable and Non-Discriminatory as recited in standard

setting organization Intellectual Property Rights documents, including IEEE, ETSI, and/or 3GPP

IPR documents.

       II.     “Product” means a machine, manufacture, apparatus, device, instrument,

mechanism, appliance, assemblage of components/parts (either individually or collectively),

process, or method which are designed to function together electrically, mechanically,

chemically, or otherwise, to achieve a particular function or purpose, including those offered for

sale, sold, or under development.

       JJ.     “Ericsson Products” shall mean all products, whether manufactured or sold by

Ericsson that embody the subject matter of any of the Patents-In-Suit, either in structure or in

method of manufacturing, and all prototypes, derivatives, equivalents, and variations of such

products.

       KK.     The term “Mobile Device” means any portable electronic device, including but

not limited to, cell phone, smart phone, handheld computer, tablet, and PDA.

       LL.     The term “Component” refers to an integrated circuit or other part used in a

Mobile Device, including, without limitation, an application processor, baseband processor, Wi-

Fi (WLAN) module, radio module, Bluetooth module, audio codec, audio processor, voice

processor, power management unit (PMU), display panel, touch sensor, image sensor, and/or

camera module.
                                                3
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 47 of 212




       MM. “Present Investigation” shall mean Certain Electronic Devices, Including Wireless

Communication Devices, Tablet Computers, Media Players, and Televisions, and Components

Thereof, ITC Inv. No. 337-TA-862.

       NN.     “Person” shall mean any natural person or any business, proprietorship, firm,

partnership, corporation, association, organization, or other legal entity. The acts of a Person

shall include the acts of directors, officers, owners, members, employees, agents, attorneys or

other representatives acting on the Person’s behalf.

       OO.     “Document” shall be construed under the broadest possible construction under the

Federal Rules of Civil Procedure and shall include without limitation any written, recorded,

graphic, or other matter, whether sent or received or made or used internally, however produced

or reproduced and whatever the medium on which it was produced or reproduced (whether on

paper, cards, charts, file, or printouts; tapes, discs, belts, video tapes, audiotapes, tape recordings,

cassettes, or other types of voice recording or transcription; computer tapes, databases, e-mails;

pictures, photographs, slides, films, microfilms, motion pictures; or any other medium), and any

other tangible item or thing of readable, recorded, or visual material of whatever nature including

without limitation originals, drafts, and all non-identical copies of each document (which, by

reason of any variation, such as the presence or absence of hand-written notes or underlining,

represents a distinct version). By way of example, the term “document(s)” as used herein shall

include, without limitation:     correspondence; blueprints; memoranda; notes; diaries; letters;

telegraphs; telegrams; telexes; e-mails; metadata; minutes; agendas; contracts; reports; studies;

checks; statements; receipts; returns; summaries; pamphlets; circulars; press releases;

advertisements; books; inter-office and intra-office communications; handwritten or typewritten

notes; notations or summaries of telephone conversations, meetings, or conferences; bulletins;

computer printouts; databases; teletypes; telefax; invoices; worksheets; photographs; tape

recordings; and all other tangible items of readable, recorded, or visual material of any kind.




                                                   4
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 48 of 212




       PP.     “Relate to,” “Related to,” or “Relating to” shall mean in whole or in part

constituting, containing, embodying, reflecting, describing, analyzing, identifying, mentioning,

stating, referring directly or indirectly to, dealing with, or in any way pertaining to.

       QQ.     “Describe,” when used in relation to an act, event, instance, occasion, transaction,

conversation, or communication, shall mean (1) to state the date and place thereof; (2) to identify

the individual participants; (3) to summarize separately for each individual participant what he

said or did; and (4) to identify each document used or prepared in connection therewith or

making any reference thereto.

       RR.     The term “identify,” when used with respect to any natural person, means that the

following information shall be provided: the person’s full name; last known home address; last

known business address and telephone number; last known title or occupation; and last known

employer.

       SS.     The term “identify,” when used with respect to any legal entity, such as a

corporation, company, or person other than a natural person, means that the following

information shall be provided: the entity’s name; the place of incorporation or organization; the

principal place of business; and the nature of the business conducted by that legal entity.

       TT.     The term “identify,” when used with respect to a document, subject to the option

to produce records under 19 C.F.R. § 210.29(c), means to provide information sufficient to

locate that document, including but not limited to the following: the Bates range, the date

appearing on such document or, if no date appears thereon, the approximate date the document

was prepared; the identifying code number, file number, title, or label of such document; a

general description of such document (e.g., letter, memorandum, drawing); the title or heading;

the number of pages of which such document consists; the name of each person who signed or

authorized the document; the name of each addressee; the name of each person having

possession, custody, or control of such document; if the document existed at one time but does

not presently exist, the reason(s) why it no longer exists and the identity of the last person having


                                                   5
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 49 of 212




custody of it; and, if the document is in a foreign language, whether an English translation of the

document exists, whether partial or complete.




                                                6
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 50 of 212




                                         INSTRUCTIONS

       A.      The singular form of a word should be interpreted in the plural as well. Any

pronoun shall be construed to refer to the masculine, feminine, or neuter gender as in each case is

most appropriate. The words “and” and “or” shall be construed conjunctively or disjunctively,

whichever makes the request most inclusive.

       B.      You shall make sure your designees are prepared to testify fully on the following

topics, after conducting a diligent and thorough investigation into all information within your

possession, custody, or control, and educate the designees with such information as needed. If

your designees cannot provide a full testimony on any topic, you should so advise us
immediately, specifying the portion of the topic the designees are unable to answer and

providing any information you have regarding the unanswered portion.

       C.      In the event you refuse to fully respond to a discovery request on the basis of a

claim of attorney-client privilege, you shall at least respond to that portion of the request that is

unobjectionable and specifically identify that portion of the request that is allegedly protected by

attorney-client privilege.

       D.      If any of the testimony sought concerns “confidential business information,” as

that term is defined in the Protective Order (Attachment C), such testimony should be offered

under the terms and provisions of the Protective Order.

       E.      In the event you refuse to fully respond to a discovery request because it is unduly

burdensome, you shall at least respond to that portion of the request that is unobjectionable and

specifically identify that portion of the request that is allegedly unduly burdensome.

       F.      In the event you refuse to fully respond to a discovery request because it is overly

broad, you shall at least respond to that portion of the request that is unobjectionable and

specifically identify that portion of the request that is allegedly overly broad.

       G.      These discovery requests are deemed to be continuing in nature and, to the extent

required by the Ground Rules and the Commission’s Rules, the responding party is to
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 51 of 212




supplement its responses with information or documents that may become known or available to

it after the date of its initial response.

        H.      Your designees shall bring to this deposition all documents reviewed, relied upon,

or consulted in preparation for this deposition.




                                                   8
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 52 of 212




                                TOPICS FOR EXAMINATION

EXAMINATION TOPIC NO. 1:
       All Mobile Devices sold in the United States for which You have assembled or

manufactured part or all of the Mobile Device from 2007 to present.



EXAMINATION TOPIC NO. 2:
       All Mobile Device (existing or planned) to be sold in the United States for which you

have plans to assemble or manufacture part or all of the Mobile Device over the next five years.



EXAMINATION TOPIC NO. 3:
        Your current and projected capacity to assemble or manufacture each Mobile Device

encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 4:
       Your actual production volume for each Mobile Device encompassed in Examination

Topics 1 and 2.



EXAMINATION TOPIC NO. 5:
       The cost, time, and resources necessary to construct and launch a new assembly or

manufacturing process for each Mobile Device encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 6:
       Any known or projected delays in assembling or manufacturing each Mobile Device

encompassed in Examination Topics 1 and 2, including an identification of any known or

suspected causes, time of delay, and cost of delay.



                                                9
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 53 of 212




EXAMINATION TOPIC NO. 7:
       Any constraints or limits to Your ability to construct or launch a new assembly or

manufacturing process for each Mobile Device encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 8:
       Any known or perceived limits on Your ability to increase capacity to assemble or

manufacture each Mobile Device encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 9:
       The cost, time, and resources necessary to increase Your capacity to assemble or

manufacture for each Mobile Device encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 10:
       All primary and alternate suppliers of Components for each Mobile Device encompassed

in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 11:
       The price of each Component by You or on Your behalf for each Mobile Device
encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 12:
       Any pricing fluctuations of materials or other Components that were greater than 30%

over any 12 month period for each Mobile Device encompassed in Examination Topics 1 and 2.



EXAMINATION TOPIC NO. 13:
       Testimony relating to documents produced under the instant subpoena.

                                             10
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 54 of 212




EXAMINATION TOPIC NO. 14:
     Testimony authenticating documents produced under the instant subpoena.




                                          11
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 55 of 212




                           WRITTEN DEPOSITION QUESTIONS


   QUESTION 1:
       What is your name?

   QUESTION 2:
       Where do you live?

   QUESTION 3:
       Please briefly describe your educational background?

   QUESTION 4:
       Do you work for Flextronics?

   QUESTION 5:
       How long have you worked for Flextronics?

   QUESTION 6:
       Do you understand that you are here to give testimony of behalf of Flextronics?

   QUESTION 7:
       What is your job description at Flextronics?

   QUESTION 8:
       Please describe your duties at Flextronics.

   QUESTION 9:
       Please state all mobile devices sold in the United States for which Flextronics has

assembled part or all of the device from 2007 to present.

   QUESTION 10:
       Please state all mobile devices sold in the United States for which Flextronics has

manufactured part or all of the device from 2007 to present.

   QUESTION 11:
       For each year, please state your actual production volume for each mobile device you

identified in QUESTION 9 or 10.
                                               12
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 56 of 212




   QUESTION 12:
       For each mobile device you identified in QUESTION 9 or 10, please describe

Flextronics’ capacity concerning the device.

   QUESTION 13:
       For each mobile device you identified in QUESTION 9 or 10, please describe

Flextronics’ projected capacity concerning the device.

   QUESTION 14:
       For each mobile device you identified in QUESTION 9 or 10, please list all known or

perceived limits on Flextronics’ ability to increase capacity to assemble or manufacture that

mobile device.

   QUESTION 15:
       For each mobile device you identified in QUESTION 9 or 10, please identify the time,

cost, and resources to add capacity.

   QUESTION 16:
       What all is included in the cost to add capacity?

   QUESTION 17:
       Can Flextronics currently pay the costs to add that capacity?

   QUESTION 18:
       What factors can impact the time to add capacity?

   QUESTION 19:
       What is the cause of each of those factors?

   QUESTION 20:
       What is the effect of each of those factors?

   QUESTION 21:
       Please describe in detail each of the resources needed to add capacity.



                                                13
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 57 of 212




   QUESTION 22:
       Does Flextronics have access to those resources?

   QUESTION 23:
       How long would it take for Flextronics to obtain those resources?

   QUESTION 24:
       For each mobile device you identified in QUESTION 9 or 10, please list any constraints

or limitations on Flextronics’ ability to construct a new assembly or manufacturing process for

that mobile device.

   QUESTION 25:
       For each mobile device you identified in QUESTION 9 or 10, please identify the time,

cost, and resources to construct and launch a new assembly or manufacturing process.

   QUESTION 26:
       What factors can impact the time to launch a new assembly process?

   QUESTION 27:
       What is the cause of each of those factors?

   QUESTION 28:
       What is the effect of each of those factors?

   QUESTION 29:
       What factors can impact the time necessary to launch a new manufacturing process?

   QUESTION 30:
       What is the cause of each of those factors?

   QUESTION 31:
       What is the effect of each of those factors?

   QUESTION 32:
       Please describe in detail each of the resources needed to construct and launch a new

assembly or manufacturing process.

                                                14
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 58 of 212




   QUESTION 33:
       Does Flextronics have access to those resources?

   QUESTION 34:
       How long would it take for Flextronics to obtain those resources?

   QUESTION 35:
       For each mobile device you identified in QUESTION 9 or 10, please list any known or

projected delays in assembling or manufacturing.

   QUESTION 36:
       For each known or projected delay you have listed, please state the known or suspected

cause of the delay.

   QUESTION 37:
       For each known or projected delay you have listed, please state when the delay will occur

and how long the delay will last.

   QUESTION 38:
       How has Flextronics determined how long the delay is likely to last?

   QUESTION 39:
       For each known or projected delay you have listed, please state the cost of the delay.

   QUESTION 40:
       How has Flextronics determined the estimated cost of the delay?

   QUESTION 41:
       For each mobile device you identified in QUESTION 9 or 10, please list all of

Flextronics’ primary or alternate suppliers of components that Flextronics uses.

   QUESTION 42:
       Has Flextronics ever seen a pricing fluctuation of greater that thirty percent over a twelve

month period for the materials or components Flextronics uses?



                                                15
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 59 of 212




   QUESTION 43:
       If yes to QUESTION 42, please state the supplier and component associated with the

pricing fluctuation.

   QUESTION 44:
       If yes to QUESTION 42, please describe all known causes of the pricing fluctuation.

   QUESTION 45:
       If yes to QUESTION 42, please describe all known effect of the pricing fluctuation.

   QUESTION 46:
       Please state all mobile devices sold in the United States for which Flextronics currently

expects to assemble or manufacture part or all of the device in the future.

   QUESTION 47:
       Are you familiar with Flextronics’ record keeping practices?

   QUESTION 48:
       How are you familiar with Flextronics’ record keeping practices?

   QUESTION 49:
       How were the documents that were produced in response to this Letter of Request

compiled?

   QUESTION 50:
       Were the documents produced in response to the Letter of Request made at or near the

time of the act or event reflected in the documents?

   QUESTION 51:
       Were the documents produced in response to the Letter of Request made by someone

with knowledge, or transmitted by someone with knowledge, of the acts or events reflected in the

documents?




                                                16
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 60 of 212




   QUESTION 52:
       Were the documents produced in response to the Letter of Request kept in the course of

Flextronics’ regularly conducted activity?

   QUESTION 53:
       Was the making of the documents produced in response to the Letter of Request a regular

practice of Flextronics?




                                              17
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 61 of 212




        Attachment C
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 62 of 212




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                Washington, D.C.


 In the Matter of

 CERTAIN ELECTRONIC DEVICES,
 INCLUDING WIRELESS COMMUNICATION
                                                                    Inv. No. 337-TA-862
 DEVICES, TABLET COMPUTERS, MEDIA
 PLAYERS, AND TELEVISIONS, AND
 COMPONENTS THEREOF



                             Order No.1: PROTECTIVE ORDER

       wHEREAS, documents and information may be sought, produced or exhibited by and

among the parties to the above captioned proceeding, which materials relate to trade secrets or

other confidential research, development or commercial information, as such terms are used in

the Commission's Rules, 19 C.F.R. 210.5;

       IT IS HEREBY ORDERED THAT:

       1. Confidential business information is information which has not been made public and
                                                     /



which concerns or relates to the trade secrets, processes, operations, style of work, or apparatus,

or to the production, sales, shipments, purchases, transfers, identification of customers,

inventories, amount or source of any income, profits, losses, or expenditures of any person, firm,

partnership, corporation, or other organization, the disclosure of which information is likely to

have the effect of either (i) impairing the Commission's ability to obtain such information as is

necessary to perform its statutory functions; or (ii) causing substantial harm to the competitive

position of the person, firm, partnership, corporation, or other organization from which the

information was obtained, unless the Commission is required by law to disclose such

information.
          Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 63 of 212



          2. (a) Any information submitted, in prehearing discovery or in a pleading, motion, or

response to a motion either voluntarily or pursuant to order, in this investigation, which is

asserted by a supplier to contain or constitute confidential business information shall be so

designated by such supplier in writing, or orally at a deposition, conference or hearing, and shall

be segregated from other information being submitted. Documents shall be clearly and

prominently marked on their face with the legend: "[supplier's name] CONFIDENTIAL

BUSINESS INFORMATION, SUBJECT TO PROTECTIVE ORDER," or a comparable notice.

During the prehearing phase of this investigation, such information whether submitted in writing

or in oral testimony shall be disclosed only in camera before the Commission or the

administrative law judge.

          (b) The administrative law judge or the Commission may determine that information

alleged to be confidential is not confidential, or that its disclosure is necessary for the proper

disposition of the proceeding, before, during or after the close of a hearing herein. If such a

determination is made by the administrative law judge or the Commission, opportunity shall be

provided to the supplier of such information to argue its confidentiality prior to the tirrle of such

ruling.

          3. In the absence of written permission from the supplier or an order by the Commission

or the administrative law judge, any confidential documents or business information submitted in

accordance with the provisions of paragraph 2 above shall not be disclosed to any person other

than: (i) outside counsel for parties to this investigation, including necessary secretarial and

support personnel assisting such counsel; (ii) qualified persons taking testimony involving such

documents or information and necessary stenographic and clerical personnel thereof; (iii)

technical experts and their staff who are employed for the purposes of this litigation (unless they


                                                  2
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 64 of 212



are otherwise employed by, consultants to, or otherwise affiliated with a non-governmental

party, or are employees of any domestic or foreign manufacturer, wholesaler, retailer, or

distributor of certain electronic devices, including wireless communication devices, tablet

computers, media players, and televisions, and components thereof, which are the subject of this

investigation); (iv) the Commission, the administrative law judge, the Commission staff, and

personnel of any governmental agency as authorized by the Commission; and (v) the

Commission, its employees, and contract personnel who are acting in the capacity of

Commission employees, for developing or maintaining the records of this investigation or related

proceedings for which this information is submitted, or in internal audits and investigations

relating to the programs and operations ofthe Commission pursuant to 5 U.S.c. Appendix 3. 1

         4. Confidential business information submitted in accordance with the provisions of

paragraph 2 above shall not be made available to any person designated in paragraph 3(i) and

(iii) unless he or she shall have fIrst read this order and shall have agreed, by letter fIled with the

Secretary of this Commission: (i) to be bound by the terms thereof; (ii) not to reveal such

confidential business information to anyone other than another person designated in paragraph 3;

and (iii) to utilize such confidential business information solely for purposes of this investigation.

         5. If the Commission or the administrative law judge orders, or if the supplier and all

parties to the investigation agree, that access to, or dissemination of information submitted as

confidential business information shall be made to persons not included in paragraph 3 above,

such matter shall only be accessible to, or disseminated to, such persons based upon the

conditions pertaining to, and obligations arising from this order, and such persons shall be




1   See Commission Administrative Order 97-06 (Feb. 4, 1997).


                                                   3
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 65 of 212



considered subject to it, unless the Commission or the administrative
                                                          \
                                                                      law judge finds that
                                                                                      .
                                                                                           the

information is not confidential business information as defmed in paragraph 1 hereof.

       6. Any confidential business information submitted to the Commission or the

administrative law judge in connection with a motion or other proceeding within the purview of

this investigation shall be submitted under seal pursuant to paragraph 2 above. Any portion of a

transcript in connection with this investigation containing any confidential business information

submitted pursuant to paragraph 2 above shall be bound separately and filed under seal. When

any confidential business information submitted in accordance with paragraph 2 above is

included in an authorized transcript of a deposition or exhibits thereto, arrangements shall be

made with the court reporter taking the deposition to bind such confidential portions and

separately label them "[supplier's name] , CONFIDENTIAL BUSINESS INFORMATION,

SUBJECT TO PROTECTIVE ORDER." Before a court reporter receives any such information,

he or she shall have first read this order and shall have agreed in writing to be bound by the terms

thereof. Alternatively, he or she shall sign the agreement included as Attachment A hereto.

Copies of each such signed agreement shall be provided to the supplier of such confidential

business information and the Secretary of the Commission.

       7. The restrictions upon, and obligations accruing to, persons who become subject to this

order shall not apply to any information submitted in accordance with paragraph 2 above to

which the person asserting the confidential status thereof agrees in writing, or the Commission or

the administrative law judge rules, after an opportunity for hearing, was publicly known at the

time it was supplied to the receiving party or has since become publicly known through no fault

of the receiving party.




                                                 4
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 66 of 212



       8. The Commission, the administrative law judge, and the Commission investigative

attorney acknowledge that any document or information submitted as confidential business

information pursuant to paragraph 2 above is to be treated as such within the meaning of 5

U.S.C. § 552(b)(4) and 18 U.S.C. § 1905, subject to a contrary ruling, after hearing, by the

Commission or its Freedom of Information Act Officer, or the administrative law judge.

       9. Unless a designation of confidentiality has been withdrawn, or a determination has

been made by the Commission or the administrative law judge that information designated as

confidential, is no longer confidential, the Commission, the administrative law judge, and the

Commission investigative attorney shall take all necessary and proper steps to preserve the

confidentiality of, and to protect each ~upplier's rights with respect to, any confidential business

information designated by the supplier in accordance with paragraph 2 above, including, without

limitation: (a) notifying the supplier promptly of (i) any inquiry or request by anyone for the

substance of or access of such confidential business information, other than those authorized

pursuant to this order, under the Freedom of Information Act, as amended (5 U.S.C. § 552) and

(ii) any proposal to declassify or make public any such confidential business information; and (b)

providing the supplier at least seven days after receipt of such inquiry or request within which to

take action before the Commission, its Freedom of Information Act Officer, or the administrative

law judge, or otherwise to preserve the confidentiality of and to protect its rights in, and to, such

confidential business information.

        10. Ifwhile an investigation is before the administrative law judge, a party to this order

who is to be a recipient of any business information designated as confidential and submitted in

accordance with paragraph 2, disagrees with respect to such a designation, in full or in part, it

shall notify the supplier in writing, and they will thereupon confer as to the status of the subject


                                                 "5
          Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 67 of 212



information proffered within the context of this order. If prior to, or at the time of such a
                                                                         .
conference, the supplier withdraws its designation of such information as being subject to this

~rder,   but nonetheless submits such information for purposes of the investigation, such supplier

shall express the withdrawal, in writing, and serve such withdrawal upon all parties.and the

administrative law judge. If the recipient and supplier are unable to concur upon the status of the

subject information submitted as confidential business information within ten days from the date

of notification of such disagreement, any party to this order may raise the issue of the

designation of such a status to the administrative law judge who will rule upon the matter. The

administrative law judge may sua sponte question the designation of the confidential status of

any information and, after opportunity for hearing, may remove the confidentiality designation.

          11. No less than 10 days (or any other period of time designated by the administrative

law judge) prior to the initial disclosure to a proposed expert of any confidential information

submitted in accordance with paragraph 2, the party proposing to use such expert shall submit in

writing the name of such proposed expert and his or her educational and employment history to

the supplier. If the supplier objects to the disclosure of such confidential business information to

such proposed expert as inconsistent with the language or intent of this order or on other

grounds, it shall notify the recipient in writing of its objection and the grounds therefor prior to

the initial disclosure. If the dispute is not resolved on an informal basis within ten days of

receipt of such notice of objections, the supplier shall submit immediately each objection to the

administrative law judge for a ruling. If the investigation is before the Commission the matter

shall be submitted to the Commission for resolution. The submission of such confidential

business information to such proposed expert shall be withheld pending the ruling of the

Commission or the administrative law judge. The terms of this paragraph shall be inapplicable


                                                  6
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 68 of 212



to experts within the Commission or to experts from other governmental agencies who are

consulted with or used by the Commission.

        12. If confidential business information submitted in accordance with paragraph 2 is

disclosed to any person other than in the manner authorized by this protective order, the party

responsible for the disclosure must immediately bring all pertinent facts relating to such

disclosure to the attention of the supplier and the administrative law judge and, without prejudice

to other rights and remedies of the supplier, make every effort to prevent further disclosure by it

or by the person who was the recipient of such information.

        13. Nothing in this order shall abridge the right of any person to seek judicial review or

to pursue other appropriate judicial action with respect to any ruling made by the Commission,

its Freedom of Information Act Officer, or the administrative law judge concerning the issue of

the status of confidential business information.

       14. Upon fmal termination of this investigation, each party that is subject to this order

shall assemble and return to the supplier all items containing confidential business information

submitted in accordance with paragraph 2 above, including all copies of such matter which may

have been made. Alternatively, the parties subject to this order may, with the written consent of

the supplier, destroy all items containing confidential business information and certify to the

supplier (or his counsel) that such destruction has taken place. This paragraph shall not apply to

the Commission, including its investigative attorney, and the administrative law judge, which

shall retain such material pursuant to statutory requirements and for other recordkeeping

purposes, but may destroy those additional copies in its possession which it regards as

surplusage.




                                                   7
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 69 of 212



       Notwithstanding the above paragraph, confidential business information may be

transmitted to a district court pursuant to Commission Rule 2IO.S(c).

       15. If any confidential business information which is supplied in accordance with

paragraph 2 above is supplied by a nonparty to this investigation, such a nonparty shall be

considered a "supplier" as that term is used in the context of this order.

       16. Each nonparty supplier shall be provided a copy of this order by the party seeking

information from said supplier.

       17. The Secretary shall serve a copy of this order upon all parties.




                                                      David P. Shaw
                                                      Administrative Law Judge


Issued: January 9, 2013




                                                  8
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 70 of 212



                                        Attachment A


                       NONDISCLOSURE AGREEMENT FOR
                    REPORTERlSTENOGRAPHERlTRANSLATOR



        I, _ _ _ _ _ _ _-', do solemnly swear or affirm that I will not divulge any

information communicated to me in any confidential portion of the investigation or hearing

in Certain Electronic Devices, Including Wireless Communication Devices, Tablet

Computers, Media Players, and Televisions, and Components Thereof, 337-TA-862,

except as permitted in the protective order issued in this case. I will not directly or

indirectly use, or allow the use of such information for any purpose other than that directly

associated with my official duties in this case.

        Further, I will not by direct action, discussion, recommendation, or suggestion to

any person reveal the nature or content of any information communicated during any

confidential portion of the investigation or hearing in this case.

       I also affirm that I do not hold any position or official relationship with any of the

participants in said investigation.

       I am aware that the unauthorized use or conveyance of information as specified

above is a violation of the Federal Criminal Code and punishable by a fine of up to

$10,000, imprisonment of up to ten (10) years, or both.



Signed _ __ _ _ _ __ _ _ _ _ __ __ _ _ _ _ _ _ _ _ _ _ ___

Dated - - - - - - - - - - - - - - - - - - - - - - - - -- - - - - - -

Firm or affiliation - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 71 of 212
 CERTAIN ELECTRONIC DEVICES, INCLUDING WIRELESS COMMUNICATION
 DEVICES, TABLET COMPUTERS, MEDIA PLAYERS, AND TELEVISIONS, AND
 COMPONENTS THEREOF
                                                       INV. NO. 337-TA-862


                                PUBLIC CERTIFICATE OF SERVICE


. I, Lisa R Barton, hereby certify that the attached ORDER NO.1 has been served by hand'upon the
  Commission Investigative Attorney, Lisa Kattan, Esq., and the following parties as indicated, on
                JAN 10 2013



                                                ~~~ Lisa R. Barton, Acting Secretary
                                                    U.S. International Trade Commission
                                                    500 E Street SW, Room 112A
                                                    Washington, DC 20436


 FOR COMPLAINANTS ERICSSON INC., AND
 TELEFONAKTIEBOLAGET LM ERICSSON:

 Benjamin Levi                                                         ( ) Via Hand Delivery
 MCKOOK SMITH P.c.                                                     ( ) Via Overnight Mail
 1999 K Street, NW, Suite 600                                          ~) Via First Class Mail
 Washington, DC 20006                                                  ( ) Other: _ _ __

 FOR RESPONDENTS SAMSUNG ELECTRONICS
 AMERICA, INC., SAMSUNG TELECOMMUNICATIONS
 AMERICA LLC, AND SAMSUNG ELECTRONICS CO., LTD:

 Michael 1. McKeon                                                     ( ) Via Hand Delivery
 FISH & RICHARDSON P.C.                                                ( ) Via Overnight Mail
 1425 K Street, NW, 11th Floor                                         ('I!Via First Class Mail
 Washington, DC 20005                                                  ( ) Other: _ _ __


 Heather Hall                                                          ( ) Via Hand Delivery
 LEXIS-NEXIS                                                           ( ) Via Overnight Mail
 9443 Springboro Pike                                                  ( ~ Via First Class Mail
 Miamisburg, OH 45342                                                  ( ) Other:


 Kenneth Clair                                                         ( ) Via Hand Delivery
 Thomson West                                                          ( ) Via Overnight Mail
 1100 Thirteenth Street, NW, Suite 200                                 ~) Via First Class Mail
 Washington, D.C. 20005                                                ( ) Other: _ _ __
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 72 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 73 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 74 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 75 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 76 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 77 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 78 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 79 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 80 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 81 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 82 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 83 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 84 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 85 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 86 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 87 of 212
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 88 of 212




        Attachment D
          Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 89 of 212




               UNITED STATES INTERNATIONAL TRADE COMMISSION
                                Washington, D.C.


 In the Matter of

 CERTAIN ELECTRONIC DEVICES,
 INCLUDING WIRELESS COMMUNICATION
                                                                   Inv. No. 337-TA-862
 DEVICES, TABLET COMPUTERS, MEDIA
 PLAYERS, AND TELEVISIONS, AND
 COMPONENTS THEREOF


                              Order No.8: Amended Ground Rules

         The conduct of this investigation before the administrative law judge shall be governed

by the amended ground rules attached hereto. New Ground Rules 5.k, 5.1, and 5.m have been

added.

         So ordered.




                                                     David P. Shaw
                                                     Administrative Law Judge



Issued: February 12,2013
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 90 of 212




                              GROUND RULES FOR HEARING

       These ground rules supplement the Commission' s procedural rules contained in

19 C.F.R. Part 210.

1. Discovery

       a. To be entitled to receive confidential submissions, attorneys must file with the Office

of the Secretary to the Commission a letter or notice consenting to be bound by the provisions of

Order No.1 (Protective Order), and serve the same on the administrative law judge and on all

other parties. See 19 C.F.R. § 210.5.

       b. Unless otherwise ordered, any party desiring to take a deposition shall give notice in

writing to every other party of not less than 10 days if the deposition is to be taken of a person

located in the United States, or of not less than 15 business days if the deposition is to be taken

of a person located outside the United States. See 19 C.F.R. § 21 0.28(c).

       c. Unless otherwise ordered, the party upon whom interrogatories have been served

shall serve a copy of the answers, and any objections, within 10 days after the service of the

interrogatories. See 19 C.F.R. § 21O.29(b).

       d. With respect to a request for the production of documents or things, or to permit entry

upon land, unless otherwise ordered, the party upon whom a request has been served shall serve

a written response within 10 business days after the service of the request. See 19 C.F.R.

§ 210.30(b)(2).

       e. Unless otherwise ordered, a request for admission may be served at any time 20 days

after the date of service of the complaint and notice of investigation. See 19 C.F.R. § 210.31(a).

Unless otherwise ordered, a party upon whom a request for admission has been served shall
            Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 91 of 212




serve an answer or objection within 10 days after the service of the request, otherwise the matter

may be deemed admitted. See 19 C.F.R. § 210.31(b).

       f.    A party who has responded to a request for discovery with a response that was

complete when made is under a duty seasonably to supplement his or her response to include

information thereafter acquired. 19 C.F.R. § 210.27(c).

       g. If production of any document is withheld on the basis of a claim of privilege, each

withheld document must be separately identified via a privileged documents list (see Duplan

Corp. v. Deering Millikin, Inc. , 397 F. Supp. 1146, 184 U.S.P.Q. 775 (D.S.C. 1974)). The

privileged document list need not be supplied until 10 days after objections based on privilege to

the underlying document requests are due.

       h. The deposition testimony of a witness shall be continuous, except as provided in the

following paragraph. Once the testimony has begun, there shall be no consultation with the

witness concerning prior or subsequent testimony until the deposition is completed.

             With respect to witnesses designated by a company to testify on its behalf, such

individuals may consult with company counsel and other company employees during a

deposition for the limited purpose of securing additional information to respond more completely

to deposition questions.

       i.    Subpoenas under Rule 210.32 should follow form (attached, hereto) with a copy

served on other parties. Generally, subpoenas are necessary only to compel third parties to

testify or produce documents. Hearing subpoenas for witnesses within a party's control, e.g., an

employee, are generally not issued.




                                                 2
            Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 92 of 212




       J.    Any motion to limit or quash a subpoena shall be filed within 10 days after receipt

thereof, or within such other time as the administrative law judge may allow. See 19 c.P.R.

§ 210.32(d).

       k. No motion stops discovery, except a timely motion to quash a subpoena.

       1.    All parties shall make intensive good faith efforts to facilitate discovery and to

resolve discovery disputes without intervention from the administrative law judge.

       m. Por investigations that involve more than 4 utility patents or 40 patent claims,

complainant shall file biweekly declarations as set forth in the procedural schedule, detailing its

efforts to reduce the number of patent claims and patents at issue, as well as a list of the patents

and claims remaining at issue.

2. Notice of Prior Art

       Parties must file on or before the date set in the procedural schedule, notices of any prior

art consisting of the following information: country, number, date, and name of the patentee of

any patent; the title, date and page numbers of any publication to be relied upon as anticipation

of the patent in suit, or as showing the state of the art; and the name and address of any person

who may be relied upon as the prior inventor or as having prior knowledge of or as having

previously used or offered for sale the invention of the patent in suit.

       If a trademark is involved, the parties must file on or before the date set in the procedural

schedule, notices of any art on which a party will rely at the hearing regarding the functionality

or non-functionality of any trademarks at issue.

       In the absence of such notice, proof of the said matters may not be introduced into

evidence at the trial except upon a timely written motion showing good cause.




                                                   3
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 93 of 212




3. Settlement

        All parties, throughout the duration of the proceedings, shall explore reasonable

possibilities for settlement of all or any of the contested issues. The parties are required to have

at least two settlement conferences or may opt to go through a mediation procedure available

through the Commission.

        All parties shall certify in their prehearing statements that good faith efforts were

undertaken to settle the remaining issues. Additionally, for each of the required settlement

conferences provided for in the procedural schedule, the parties shall provide the administrative

law judge with one copy of a joint report signed by all the parties setting forth any stipulations on

which the parties have agreed. These reports are due by the time designated in the procedural

schedule or within such other time as the administrative law judge may allow. The reports shall

not be filed with the Secretary's Office.

4. Experts

        a. No later than the date ordered by the administrative law judge in the prehearing

schedule, parties who anticipate using an expert(s) at the hearing shall serve on all other parties a

written identification of their experts, which shall describe each expert's qualifications and

disclose the general nature of the subject matter on which the expert is expected to testify. The

identification shall be filed with the Secretary' s Office.

       b. Expert reports shall be filed in accordance with the due dates set in the prehearing

schedule. Expert reports shall be filed with the Secretary' s Office. Experts are to have [mal and

complete expert reports before them when they add their signatures. Thus, for example,

facsimile signature pages may not be added to expert reports. Additionally, the parties shall




                                                   4
           Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 94 of 212




provide a single hard drive or a single flash drive containing the expert reports in searchable PDF

format.

5. Filing of Documents

          a. All filings in the Secretary's Office shall be made in accordance with Commission

Rules 201.15 and 21 0.4(t) unless otherwise specifically provided for in these Ground Rules or by

order ofthe administrative law judge.

          b. In accordance with the requirements of Commission Rules 21 0.4(t) and (g), copies of

each submission shall be served on all other parties, including the Commission investigative

attorney. Also, on the same day that the document is filed, an electronic copy in PDF format,

excluding attachments such as exhibits, shall be sent to the administrative law judge' s attorney-

advisor at the following e-mail address: pyong.yoon@usitc.gov. In addition, one paper copy of

each filing shall be submitted to the administrative law judge the next business day after the

filing is made.

          c. For the copy served on the administrative law judge, all attachments must be

identified by tabs. A party may serve attachments that are more than 500 pages in PDF format

on a disc. In such a case, a table of contents file that lists the names of all files on the disc should

be created and included on each disc.

          d. All motions and responses are to refer to a motion docket number if one has been

assigned.

          e. All motions shall include a certification that the moving party has made reasonable,

good-faith efforts to contact and resolve the matter with the other parties at least two business

days prior to filing the motion, and shall state, ifknown, the position of the other parties on such

motion.



                                                   5
            Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 95 of 212




       f.    In the case of filing of motions or responses of five (5) pages or more (excluding

attachments), in addition to the paper copy, a version in MS Word for Windows shall be

submitted to the administrative law judge's attorney-advisor via e-mail by the next business day.

       g. Unopposed motions and joint motions shall contain a proposed order. On the same

day the motion is filed, a version of the motion including the proposed order in MS Word for

Windows shall be submitted to the administrative law judge's attorney-advisor via e-mail.

       h. All documents to be filed with the Secretary must be received on the date upon which

they are due.

       1.    Computation of time for responding to motions shall be in accordance with 19 C.F.R.

§ 201.14.

       J.    Documents are not to be sent by facsimile to the administrative law judge.

       k. Confidential business information ("CBI") is defmed in accordance with 19 C.F .R.

§ 201.6(a) and § 210.5(a). When redacting CBI or bracketing portions of document to indicate

CBI, a high level of care must be exercised in order to ensure that non-CBI portions are not

redacted or indicated. Other than in extremely rare circumstances, block-redaction and

block-bracketing are prohibited. In most cases, redaction or bracketing of only discrete CBI

words and phrases will be permitted.

       1.    All confidential motions and confidential responses to motions shall, when filed,

include red brackets, in accordance with Ground Rule 5.k, indicating the portions asserted to be

CBI, and must be accompanied by declarations, grounded in facts, explaining how each proposed

redaction is CBI. Exhibits attached to the confidential motions and confidential responses to

motions need not be bracketed.




                                                  6
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 96 of 212




       When filing public versions of motions to terminate (and the exhibits thereto) pursuant to

19 C.F.R. § 210.21, the parties shall make their redactions in accordance with Ground Rule S.k.

       m. In the event the administrative law judge issues a confidential order or initial

determination, within seven days of the date of the document, each party shall file with the

Commission Secretary a statement as to whether or not it seeks to have any portion of the

document redacted from the public version. Any party seeking to have a portion of the

document redacted from the public version must submit to the administrative law judge a copy of

the document with red brackets indicating the portion, or portions, asserted to contain CBI.

6. Claim Construction and Accused Products

       a. No later than the date set in the procedural schedule, the parties are to file:
           •   a joint list of disputed claim terms and the proposed constructions thereof; and
           •   a joint list of claim terms that must be construed but whose meanings are not
               disputed and the joint proposed constructions thereof.

       b. Unless otherwise ordered, there will be no Markman hearing in the investigation.

       c. No later than the date set in the procedural schedule:
           •   the parties are to file a joint statement regarding identification of accused
               products;
           •   complainant is to file a list of proposed representative accused products based on
               complainant's infringement contentions;
           •   respondent and Commission investigative staff are to file responses to
               complainant's proposed representative accused products assuming complainant' s
               infringement contentions; and
           •   the parties are to file a fmal joint stipulation regarding representative accused
               products.

7. Prehearing Statement and Brief

       Prehearing statements and briefs shall contain the following information:

       a. The names of all known witnesses, whether they are fact or expert witnesses (and

their area of expertise), and a brief outline of each witness' testimony. In the case of expert

witnesses, a copy of the expert' s curriculum vitae shall be included as an attachment.

                                                  7
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 97 of 212




       b. A list of all exhibits that the parties will seek to introduce at the hearing.

       c. A statement of the issues to be considered at the hearing that sets forth with

particularity a party's contentions on each ofthe proposed issues, including citations to

supporting facts and legal authorities, e.g., proposed exhibits. Incorporation by reference is not

allowed. Any contentions not set forth in detail as required therein shall be deemed abandoned

or withdrawn, except for contentions of which a party is not aware and could not be aware in the

exercise of reasonable diligence at the time of filing the prehearing statement. The prehearing

statement and the brief may be combined into one document.

8. Evidence

       a. All direct witness testimony, with the exception of adverse witnesses, shall be made

by witness statements in lieu oflive testimony. The Commission investigative staff may,

however, ask the witness supplemental direct testimony on the witness stand. Witness

statements shall be marked and offered into evidence as exhibits. Witnesses shall be available

for cross-examination on the witness stand unless waived. Witnesses will not read their prepared

testimony into the record. In view of the written rebuttal witness statements, no live rebuttal

testimony is permitted, unless ordered.

       Witness statements may not be amended. If witnesses desire to correct typographical or

clerical errors in their testimony, they should prepare errata sheets. Counsel should mark the

errata sheets as exhibits, and should give them as quickly as possible to the other parties and to

the administrative law judge. During the hearing, a motion may be made to have the errata

sheets accepted into the record.

       A witness statement shall be in the form of numbered questions from counsel, with each

question followed by the witness' own answer to that question, and with the fmal question from



                                                  8
           Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 98 of 212




counsel asking the witness whether or not the witness statement contains the witness' answers to

the questions from counsel, followed by the witness' answer to this question and the witness'

signature. The witness statement shall be assigned an exhibit number and each question shall be

numbered consecutively. For evidentiary support, witness statements shall cite to exhibit

numbers and brief descriptions of the exhibits (e.g. , JX-0002 ('123 Patent File History)) that will

be introduced at the hearing.

          A witness statement shall be in the language of the witness, and a foreign language

witness statement shall be accompanied by a certified translation thereof.

          On the date set forth in the procedural schedule, the parties shall provide one set of

witness statements in binders. Each binder shall be labeled on its spine to indicate the witness

and the party providing the binder. Additionally, the parties shall provide a single hard drive or a

single flash drive containing the witness statements in searchable PDF format. Each expert

witness statement shall include a detailed table of contents. The witness statements in PDF

format must include a file name with a brief description ofthe exhibit, e.g., CX-OOOSC (Smith

Witness Statement).pdf.

          b. Once the testimony has commenced, there shall be no consultation with the witness

concerning his or her testimony until it is completed.

          c. The rule of exclusion shall be followed. Fact witnesses shall be excluded from the

hearing until they are called to testify.

          d. Legal experts may only testify as to procedures of the U.S. Patent and Trademark

Office.




                                                    9
            Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 99 of 212




       e. Parties are permitted to make opening statements. Each party will generally be

limited to ten to fifteen minutes. A party's opening statement will be charged to its allocated

hearing time.

       f.    No tutorial will be held unless otherwise ordered.

9. Exhibits

       a. On the date set forth in the procedural schedule, the parties shall provide a single hard

drive or a single flash drive containing proposed exhibits and exhibit lists in PDF format. Each

of the exhibits must include a file name with a brief description of the exhibit, e.g., JX-0002

(' 123 Patent File History).pdf. The exhibits shall be organized alphanumerically. For exhibits

that cannot be submitted in PDF format, contact the administrative law judge' s attorney-advisor.

The title, number, and sponsoring witness for each proposed exhibit shall be listed in the

prehearing statement.

       b. On the date set forth in the procedural schedule, each party may file a document

listing and providing a narrative explanation of the objections to proposed exhibits which the

party believes to be of high priority for ruling at the prehearing conference. No party shall place

more than ten objections on the high priority list.

       c. On the same day the initial posthearing briefs are due, the parties shall serve on the

administrative law judge a set of all fmal exhibits (including those that are rejected, but not those

that are withdrawn) to be filed with the Commission on EDIS ("the original set"). The parties

are responsible for confirming that all admitted and rejected exhibits are included in the original

set. Any exhibit that is not identified on the fmal exhibit list and is not included in the original

set will not be considered as part of the record to be certified to the Commission when the Initial

Determination issues.



                                                  10
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 100 of 212




       The original set shall be submitted on electronic media pursuant to the procedure set forth

at the Internet address http://www.usitc.gov/docket services/documentslEDIS3UserGuide-

CDSubmission.pdfunless prior permission has been received pursuant to Commission Rule 19

C.F.R. § 2l0.4(t)(8) and The Handbook of Filing Procedures § II.C(3)(a). A table of contents

file that lists the names of all files on each disc should be created and included on each disc.

Each table of contents must match the exhibits that are on each disc. Each party is responsible

for verifying the accuracy of the exhibits and the table of contents. For example, if an exhibit is

labeled CX-0001 , verify that it is indeed CX-0001, and that it does not contain any confidential

designations.

       The original set must have a four-digit exhibit number, with leading zeroes as necessary

(e.g. , CX-OOOl , RX-0002C). Each type of exhibit (i.e., CX, CDX, CPX, RX, RDX, RPX, JX,

JDX, JPX, SX, SDX, SPX, CX-[four digit number]C, CDX-[four digit number]C, CPX-[four

digit number]C, RX-[four digit number]C, RDX-[four digit number]C, RPX-[four digit

number]C, JX-[four digit number]C, JDX-[four digit number]C, JPX-[four digit number]C, SX-

[four digit number]C, SDX-[four digit number]C, and SPX-[four digit number]C) must be

submitted on a different CD or set of CDs. Each CD must have a label with the investigation

name and number, and the range of exhibits contained thereon. The original set may not be

submitted on a hard drive or flash drive.

       Each party is to submit a duplicate of the original set on a single hard drive or a single

flash drive to the administrative law judge. For the duplicate set, the final exhibits are to be

organized alpha-numerically (e.g. , CDX-OOOI , CDX-0002C ... CPX-OOOIC, CPX-0002 ... CX-

OOOIC, CX-0002). Additionally, the confidential and public exhibits shall be combined and

organized alpha-numerically (e.g. , CX-OOOlC, CX-0002, CX-0003 , CX-0004C . .. ). Each of the



                                                 11
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 101 of 212




exhibits must include a file name with a brief description of the exhibit, e.g. , JX-0002 (' 123

Patent File History).pdf. A table of contents file in PDF and in MS Excel for Windows that lists

the names of all exhibit files must be included on the hard drive. For exhibits that cannot be

submitted in PDF format, contact the administrative law judge' s attorney-advisor.

        If the appropriate permission is received pursuant to Commission Rule 19 C.F .R. §

2l0.4(f)(8) and The Handbook of Filing Procedures § II.C(3)(a) to submit the original set on

paper, the following shall apply. In order to facilitate the optical scanning of the exhibits, the

exhibits in the original set shall consist of loose sheets (which may be clipped but not stapled) in

folders (file folders, accordion folders, etc.) that are provided in sequentially-numbered boxes.

Each folder must be labeled to reflect the number of the exhibit contained therein, e.g. , RX-

0014C. In each box of the original set, the folders containing the exhibits shall be placed in

numerical order. Confidential exhibits and public exhibits shall be placed in separate boxes

which are clearly marked as containing either confidential or public exhibits. Inasmuch as public

and confidential exhibits are to be placed in separate boxes, numerical gaps may appear in each

box, e.g., the public box may contain exhibits CX-OOOl , CX-0002 and CX-0004, while the

confidential box contains CX-0003C and CX-0005C.

        d. No later than thirty (30) days after the filing of posthearing reply briefs, each party

shall deliver one binder set of copies of all [mal exhibits (including those exhibits that are

rejected, but not those that are withdrawn) directly to the Office of General Counsel along with a

final exhibit list. Rejected exhibits shall be submitted under separate cover and so marked. The

parties may provide the General Counsel set on electronic media.

        e. On the same date that the initial posthearing briefs are due, each party must submit a

final exhibit list that reflects the status of all exhibits as "admitted," "withdrawn" or "rejected."



                                                  12
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 102 of 212




Additionally, the exhibit list in MS Excel for Windows shall be shall be sent to the

administrative law judge' s attorney-advisor via e-mail.

        f.   Written exhibits shall be marked serially commencing with the number "0001 " and

preceded by the prefix "CX" for complainant(s)' exhibits, "RX" for respondent(s) ' exhibits,

"SX" for the Commission investigative attorney' s exhibits, and "JX" for any joint exhibits. No

other prefixes are permitted. The parties shall not "reserve" numbers, but instead shall assign all

numbers in consecutive sequence.

        If an exhibit contains confidential business information, a "C" shall be placed after the

exhibit number. Furthermore, exhibits containing confidential business information shall be so

designated pursuant to the Protective Order. In addition, on any exhibit list, exhibits that contain

confidential business information shall be denoted by placing a "c" after the exhibit number in

the listing. No exhibit list shall contain confidential information; all exhibit lists shall be public

documents.

        Each exhibit shall be marked by placing a label bearing the exhibit' s number (e.g. , CX-

0003C or RX-0005) in the upper right portion of the exhibit's first page. Further, the pages of

each exhibit must be sequentially numbered in a consistent location on the pages.

        Respondent(s) shall coordinate their numbering to avoid duplication. Additionally, the

parties shall coordinate exhibits to avoid unnecessary duplication (e.g. , patents; file wrappers).

Further, all exhibits or copies of exhibits shall be clear and legible. Lastly, each exhibit may be

assigned no more than one number.

        Physical exhibits shall be numbered in a separate series commencing with "0001"

preceded by the prefixes "CPX", "RPX", "SPX" and "JPX", for complainant, respondent, the

Commission investigative attorney, and joint exhibits, respectively. No other prefixes are



                                                  13
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 103 of 212




permitted. Confidential exhibits shall be denoted with the letter "c" as in the case of

documentary exhibits.

       Demonstrative exhibits shall be numbered in a separate series commencing with "0001 "

preceded by the prefixes "CDX", "RDX", and "SDX", for complainant, respondent, and the

Commission investigative attorney, respectively. No other prefixes are permitted. Confidential

exhibits shall be denoted with the letter "C." Demonstrative exhibits shall on their face cite to

the supporting exhibits received into evidence, e.g., CX-0005C (Smith Witness Statement) at

55-60; JX-OOOI (' 123 Patent) at col. 7, Ins. 36-54). Additionally, the parties shall provide the

administrative law judge with two (2) copies of key over-sized demonstrative exhibits (e.g. ,

charts, drawings, etc.) reduced to 8 Y2 inches x 11 inches.

       g. If any portion of an exhibit contains confidential business information, the entire

exhibit shall be treated as confidential. For certain lengthy exhibits of which only portions are

confidential, the parties may be asked to submit a public version of the exhibit.

       h. In examining witnesses, counsel shall provide the administrative law judge and

opposing counsel, prior to the commencement of the examination of each witness, a binder

containing all exhibits to be used in the direct or cross-examination of the witness. The exhibits

in each binder shall be separated by tabs. Each binder shall be labeled on its spine to indicate the

witness and the party providing the binder. Only one set of witness binders shall be provided to

the administrative law judge.

       i.   No foreign language exhibits will be received into evidence unless a translation

thereof is provided.




                                                 14
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 104 of 212




        J.   All documents that appear to be regular on their face shall be deemed authentic,

unless it is shown by particularized evidence that the document is a forgery or is not what it

purports to be.

10. Order of Trial

        The order of trial is the following:
                  a.   Complainant's Case-in-Chief.
                  b.   Respondent' s Defense Case.
                  c.   Commission Investigative Attorney' s Case.
                  d.   Complainant's Rebuttal.

        In the event there is more than one respondent, the order of presentation will be

determined at the prehearing conference. Respondents where possible should avoid duplication

of effort.

11. Use of Translators

        If a translator will be used at hearing, the parties are responsible for obtaining a qualified,

neutral translator upon whom counsel can agree.

12. Posthearing

        a. On the same day the initial posthearing briefs are due, the parties shall file a

comprehensive joint outline of the issues to be decided in the final Initial Determination. The

outline shall refer to specific sections and pages of the posthearing briefs. Moreover, the claim

terms briefed by the parties must be identical. For example, if the construction of the claim term

"wireless device" is disputed, the parties must brief that exact claim term. If a party briefs only a

portion of the claim term such as "wireless" or "device," that section of the brief will be stricken.

        b. Prior art not briefed is waived.

        c. Posthearing briefs shall not cite to withdrawn or rejected exhibits.




                                                  15
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 105 of 212




       d. While demonstrative exhibits may be cited in posthearing briefs, the parties shall also

cite to the supporting exhibits received into evidence, e.g. , CDX-0002C (CX-0005C (Smith

Witness Statement) at 55-60; JX-OOOI ('123 Patent) at col. 7, Ins. 36-54).




                                                16
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 106 of 212




                  UNITED STATES INTERNATIONAL TRADE COMMISSION
                                 Washington, D.C.




 In the Matter of
                                                              Inv. No. 337-TA-




                                SUBPOENA DUCES TECUM



TO:



       TAKE NOTICE: By authority of section 337 ofthe Tariff Act of 1930, as amended (19

U.S.C. § 1337),5 U.S.C. § 556(c)(2), and pursuant to 19 C.F.R. § 210.32 ofthe Rules of Practice

and Procedure ofthe United States International Trade Commission, and upon an application for

subpoena made by ["complainant(s)" / "respondent(s)"/ etc., followed by name of company]



       YOU ARE HEREBY ORDERED to produce at _ _ _ _ _ _ _ _ _ _ _ _ _" on

_ _ _ _ _, or at another time and place agreed upon, all of the documents and things in your

possession, custody or control which are listed and described in Attachment A hereto. Such

production will be for the purpose of inspection and copying, as desired.

       If production of any document listed and described in Attachment A hereto is withheld on

the basis of a claim of privilege, each withheld document should be separately identified in a

privileged document list. The privileged document list must identify each document separately,
           Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 107 of 212




specifying for each document at least: (1) the date; (2) sender(s); (3) recipient(s); and (4) general

subject matter of the document. Ifthe sender or the recipient is an attorney or a foreign patent

agent, he or she should be so identified. The type of privilege claimed must also be stated,

together with a certification that all elements of the claimed privilege have been met and have

not been waived with respect to each document.

       If any of the documents or things listed and described in Attachment A hereto are

considered "confidential business information," as that term is defmed in Order No.1 attached

hereto (Protective Order), such documents or things should be produced subject to the terms and

provisions of Order No. 1.

       Any motion to limit or quash this subpoena shall be filed within 10 days after the receipt

thereof.

                IN WITNESS WHEREOF the undersigned of the United States International
                Trade Commission has hereunto set his hand and caused the seal of said United
                States International Trade Commission to be affixed at Washington, D.C. on this
                _ _ day of               , 20_ _.




                                       David P. Shaw
                                       Administrative Law Judge
                                       United States International Trade Commission




                                                  2
           Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 108 of 212




                 UNITED STATES INTERNATIONAL TRADE COMMISSION
                                  Washington, D.C.




 In the Matter of
                                                                Inv. No. 337-TA-




                                SUBPOENA AD TESTIFICANDUM



TO:



           TAKE NOTICE: By authority of section 337 of the Tariff Act of 1930, as amended (19

U.S.C. § 1337),5 U.S.C. § 556(c)(2), and pursuant to 19 C.F.R. § 210.32 of the Rules of Practice

and Procedure of the United States International Trade Commission, and upon an application for

subpoena made by ["complainant(s)" / "respondent(s)" / etc., followed by name of company]



           YOU ARE HEREBY ORDERED to present yourself for purposes of your deposition

upon oral examination on _ _ _ _ _ _ _ , at _ _ _ _ _ _ _ _ _ _ _, or at another

time and place agreed upon, concerning the subject matter set forth in Attachment A hereto.

           This deposition will be taken before a Notary Public or other person authorized to

administer oaths and will continue from day to day until completed.

       Any motion to limit or quash this subpoena shall be filed within 10 days after the receipt

thereof.
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 109 of 212




     IN WITNESS WHEREOF the undersigned of the United States International
     Trade Commission has hereunto set his hand and caused the seal of said United
     States International Trade Commission to be affixed at Washington, D.C. on this
     _ _ day of               , 20__ .




                           David P. Shaw
                           Administrative Law Judge
                           United States International Trade Commission




                                     2
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 110 of 212

CERTAIN ELECTRONIC DEVICES, INCLUDING WIRELESS COMMUNICATION
DEVICES, TABLET COMPUTERS, MEDIA PLAYERS, AND TELEVISIONS, AND
COMPONENTS THEREOF
                                                 INV. NO. 337-TA-862




                         PUBLIC CERTIFICATE OF SERVICE


I, Lisa R. Barton, hereby certify that the attached ORDER NO.8 has been served by hand upon
the Commission Investigative Attorney, Lisa Kattan, Esq., and the following parties as
indicated, on       FEB 1? 2013


                                              ~~~Lisa R. Barton, Acting Secretary
                                                 U.S. International Trade Commission
                                                 500 E Street SW, Room 112A
                                                 Washington, DC 20436



 FOR COMPLAINANTS ERICSSON INe., AND TELEFONAKTIEBOLAGET LM
 ERICSSON:          ..

 Benjamin Levi, Esq.                                   ( )     Via Hand Delivery
 MCKOOK SMITH P.e.                                     ( )     Via Overnight Mail
 1999 K Street, NW, Suite 600                          (y. )   Via First Class Mail
 Washington, DC 20006                                  ( )     Other:

 FOR RESPONDENTS SAMSUNG ELECTRONICS AMERICA, INC., SAMSUNG
 TELECOMMUNICATIONS AMERICA LLC, AND SAMSUNG ELECTRONICS CO.,
 LTD:

 Michael J. McKeon, Esq.                               ( ) Via Hand Delivery
 FISH & RICHARDSON P.e.
 1425 K Street, NW, 11th Floor
 Washington, DC 20005
                                                       r)
                                                       ( ) Via Overnight Mail
                                                           Via First Class Mail
                                                         ) Other:
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 111 of 212

CERTAIN ELECTRONIC DEVICES, INCLUDING WIRELESS COMMUNICATION
DEVICES, TABLET COMPUTERS, MEDIA PLAYERS, AND TELEVISIONS, AND
COMPONENTS THEREOF
                                                                  INV. NO. 337-TA-862


                                   PUBLIC MAILING LIST



Heather Hall                                       ( ) Via Hand Delivery
LEXIS-NEXIS                                        ( ) Via Overnight Mail
9443 Springboro Pike                               (P  Via First Class Mail
Miamisburg, OH 45342                               ( ) Other:


Kenneth Clair                                      ( ) Via Hand Delivery
Thomson West                                       ( ) Via Overnight Mail
1100 13 th Street, NW, Suite 200                   c{i> Via First Class Mail
Washington, DC 20005                               ( ) Other:
Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 112 of 212




        Attachment E
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 113 of 212




                                          McKoOL SMITH
 Benjamin Levi
 Direct Dial: (202) 370-8320                             1999 K Street NW                                )o:c
 blevi@mckoolsmith.com                                       Suite 600                            Tel~!?~e~:  (202) 370-8 00
                                                    Washington, D.C. 20006-1101                   Telecopier: (202) 370-8 44



CBI     f3-OtbS                                       November 30,2012


 VIA HAND DELIVERY                                                                                 Offic~ of the
                                                                                                     SecfE:lilry
                                                                                          Int'i   rrillj(.:   COfTHlllSsion
 The Honorable Lisa R. Barton
 Acting Secretary to the Commission
 U.S. International Trade Commission
 500 E Street, S.W., Room 112A
 Washington, D.C. 20436

               RE:          Certain Electronic Devices, Including Certain Wireless Communication
                            Devices, Tablet Computers, Media Players, and Televisions, and Components
                            Thereof, Investigation No. 337-TA-_ _

 Dear Acting Secretary Barton:

        Enclosed for filing on behalf of Ericsson Inc. and Telefonaktiebolaget LM Ericsson
 ("Ericsson") are the documents listed below in support of Ericsson's request that the
 Commission institute an investigation pwsuant to Section 337 of the Tariff Act of 1930, as
 amended, 19 U.S.C. § 1337. A request for confidential treatment of Confidential Exhibit Nos.
 4C, 5C, 59C, 61 C - 89C, 98C, and 116C - 119C is transmitted concurrently herewith.

         Complainants have requested, but have not yet received, (i) an original certified copy of
 the File History for U.S. Patent 6,278,888, (ii) an original certified copy of the File History for
 U.S. Patent 6,445,917, and (iii) original certified copies of the Patent, Patent Assignment, and
 File History for U.S. Patent 8,169,992. We will submit original certified copies as soon as the
 copies are received from the United States Patent and Trademark Office.

           Accordingly, Ericsson submits the following documents for filing:

           1. One (1) original and eight (8) copies of the verified non-confidential Complaint
              pursuant to 19C.F.R. §§ 201.6(a), 210.4(f)(2) and 210.8(a) (original and one copy
              unbound, without tabs pursuant to 19 C.F.R. § 201.8(d»;
           2. One (1) CD loaded with the accompanying Non-Confidential Exhibits to the
              Complaint for Commission use pursuant to 19 C.F.R. § 210.4(f)(2);



                                                         McKool Smith
                                                A Professional Corporation· Attorneys
      Austin   I   Dallas   I   Houston   I   Los Angeles I Marshall I New York I Silicon Valley        I     Washington, DC
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 114 of 212
The Honorable Lisa R. Barton
November 30,2012
Page 2

       3. One (1) CD loaded with the accompanying Confidential Exhibits to the Complaint
          for Commission use pursuant to 19 C.F.R. § 210.4(f)(2);
       4. Three (3) additional copies of the Complaint and three (3) set of CDs loaded with
          accompanying non-confidential exhibits for service upon the proposed respondent;
          and three (3) additional copies of the confidential exhibits for service upon counsel
          for the respondents once appropriate subscriptions to the protective order have been
          filed, pursuant to 19 C.F.R. §§ 210.8(a)(1)(iii) and 210.11 (a)(1»;
       5. One (1) additional copy of the non-confidential version of the Complaint for service
          upon the Embassy of Korea in Washington D.C. counsel pursuant to 19 C.F.R. §
          210.8 (a)(1)(iv);
       6. One (1) original and three (3) CDs loaded with the certified prosecution history of the
          '052 patent are included as Appendix A pursuant to 19 C.F.R. § 210.12(c)(1);
       7. One (1) original and three (3) CDs loaded with the certified prosecution history of the
          '359 patent are included as Appendix B pursuant to 19 C.F.R. § 210.12(c)(I);
       8. One (1) original and three (3) CDs loaded with the certified prosecution history ofthe
          '888 patent are included as Appendix C pursuant to 19 C.F.R. § 210.12(c)(1).
       9. One (1) original and three (3) CDs loaded with the certified prosecution history of the
          '556 patent are included as Appendix D pursuant to 19 C.F.R. § 210.12(c)(1);
       10. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '310 patent are included as Appendix E pursuant to 19 C.F.R. § 210.12(c)(1).
       11. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '917 patent are included as Appendix F pursuant to 19 C.F .R. § 210 .12(c)(1);
       12. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '506 patent are included as Appendix G pursuant to 19 C.F.R. § 210.12(c)(1);
       13. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '223 patent are included as Appendix H pursuant to 19 C.F.R. § 210.12(c)(1);
       14. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '832 patent are included as Appendix I pursuant to 19 C.F.R. § 210.12(c)(1);
       15. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '215 patent are included as Appendix J pursuant to 19 C.F.R. § 210.l2(c)(1);
       16. One (1) original and three (3) CDs loaded with the certified prosecution history of the
           '992 patent are included as Appendix Kpursuant to 19 C.F.R. § 210.12(c)(1);
       17. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '052 patent are included as Appendix L pursuant to 19 C.F.R. §
           210.12(c)(2);
       18. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '359 patent are included as Appendix M pursuant to 19 C.F.R. §
           21 0.12(c)(2);

                                                     McKool Smith
                                            A Professional Corporation· Attorneys
  Austin   I   Dallas   I   Houston   I   Los Angeles I Marshall I New York I Silicon Valley   I   Washington, DC
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 115 of 212
The Honorable Lisa R. Barton
November 30,2012
Page 3

       19. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '888 patent are included as Appendix N pursuant to 19 C.F.R. §
           21 O.12(c)(2);
       20. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '556 patent are included as Appendix 0 pursuant to 19 C.F.R. §
           21 0.12(c)(2);
       21. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '310 patent are included as Appendix P pursuant to 19 C.F .R. §
           210. 12(c)(2);
       22. Four (4) CDs loaded with each technical reference mentioned in the prosecution
           history of the '917 patent are included as Appendix Q pursuant to 19 C.F.R. §
           210.12(c)(2);
       23. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '506 patent are included as Appendix R pursuant to 19 C.F.R. §
           21 0.12( c)(2);
       24. Four (4) CDs loaded with each technical references mentioned in the prosecution
           history of the '223 patent are included as Appendix S pursuant to 19 C.F.R. §
           210.12(c)(2);
       25. Four (4) CDs loaded with each technical reference mentioned in the prosecution
           history of the '832 patent are included as Appendix T pursuant to 19 C.F.R. §
           21 0.12(c)(2);
       26. Four (4) CDs loaded with each technical reference mentioned in the prosecution
           history of the '215 patent are included as Appendix U pursuant to 19 C.F.R. §
           210.12(c)(2);
       27. Four (4) CDs loaded with each technical reference mentioned in the prosecution
           history of the '992 patent are included as Appendix V pursuant to 19 C.F.R. §
           21 O.12(c)(2);
       28. Eight (8) copies of the Statement of Public Interest pursuant to 19 C.F .R. § 21 0.8Cb);
       29. Physical Exhibit Nos. 1 - 12; and
       30. A letter pursuant to Commission Rule 201.6(b) requesting confidential treatment of
           Confidential Exhibit Nos. 4C, 5C, 59C, 61C - 89C, 98C, and 116C - 119C.

       Thank you for your attention to this matter.

                                                         Respectfully submitted,

                                                       ~~
                                                         Benjamin Levi
Enclosures


                                                     McKool Smith
                                            A Professional Corporation· Attorneys
  Austin   I   Dallas   I   Houston   I   Los Angeles I Marshall I New York I Silicon Valley   I   Washington, DC
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 116 of 212




                                             McKoOL SMITH
Benjamin Levi                                          1999 K Street NW
Direct Dial: (202) 370-8320                                Suite 600                          Telephone: (202) 370-8300
blevi@mckoolsmith.com                              Washington, DC 20006-1101                  Telecopier: (202) 370-8344


                                                      November 30, 2012




VIA HAND DELIVERY

The Honorable Lisa R. Barton
Acting Secretary to the Commission
U.S. International Trade Commission
500 E Street, S.W., Room 112A
Washington, D.C. 20436


           RE:             Certain Electronic Devices, Including Certain Wireless Communication
                           Devices, Tablet Computers, Media Players, and Televisions, and Components
                           Thereof, Inv. No. 337-TA-_ __

Dear Acting Secretary Barton:

        Complainants Ericsson Inc. and Telefonaktiebolaget LM Ericsson (collectively,
"Ericsson") by counsel, hereby requests, pursuantto 19 C.F.R. § 201.6, confidential treatment of
the confidential business information contained in-Confidential Exhibit Nos. 4C, 5C, 59C, 61C-
89C, 98C, and 116C - 119C to Ericsson's Section 337 Complaint transmitted herewith.
           Confidential treatment is sought for the following Confidential Exhibits:
       1.      Confidential Exhibit No. 4C, which discloses the identity of all licensees of the
    Asserted Patents;            .
         2.           Confidential Exhibit No. 5C which will be copies of license agreements;
        3.      Confidential Exhibit No. 59C which describes, among other things, facts and
    information supporting the domestic industry;
        4.      Confidential Exhibits No. 61 C - 89C and 116C - 119C identify patents which are
    covered by license agreements which should remain confidential until permission is given from
    the licensees; and
        5.      Confidential Exhibit No. 98C which describes, among other things, facts and
    information supporting the domestic industry.

       The information described above qualifies as confidential information pursuant to 19
C.F.R. § 201.6 because it is not available to the public; unauthorized disclosure of such
information could cause substantial harm to Ericsson's competitive position; and the disclosure


                                                        McKool Smith
                                               A Professional Corporation· Attorneys
  Austin      I   Dallas   I   Houston   I   Los Angeles I Marshall I New York I Silicon Valley   I   Washington, DC
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 117 of 212
The Honorable Lisa R. Barton
November 30,2012
Page 2

of the information for which Ericsson seeks confidential treatment could impair the
Commission's ability to obtain information necessary to perform its statutory functions.

                                                         Sincerely,
                                                             ..       ~'
                                                       t~
                                                         Benjamin Levi




                                                     McKool Smith
                                            A Professional Corporation • Attorneys
  Austin   I   Dallas   I   Houston   I   Los Angeles I Marshall I New York I Silicon Valley   I   Washington, DC
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 118 of 212




              UNITED STATES INTERNATIONAL TRADE COMMISSION
                              WASHINGTON, D.C.


In the Matter of

CERTAIN ELECTRONIC DEVICES,                              Investigation No. 337-TA-_ _
INCLUDING CERTAIN WIRELESS
COMMUNICATION DEVICES, TABLET
COMPUTERS, MEDIA PLAYERS, AND
TELEVISIONS, AND COMPONENTS
THEREOF



                        STATEMENT ON THE PUBLIC INTEREST

       Pursuant to Commission Rule 210.8(b), 19 C.F.R. § 210.8(b), Complainants Ericsson Inc.

and Telefonaktiebolaget LM Ericsson (collectively, "Ericsson") submit this Statement on the

Public Interest with respect to the remedial orders its seeks against Respondents Samsung

Electronics America, Inc., Samsung Telecommunications America LLC, and Samsung

electronics Co. Ltd. (collectively, "Samsung").     The products at issue in the Complaint are

consumer electronic devices. Ericsson seeks a limited exclusion order specifically directed to

Samsung excluding from entry into the United States certain consumer electronics, including

mobile phones, tablets, televisions, and media players that infringe one or more claims of United

States Patent No. 6,029,052 ("the '052 Patent"), United States Patent No. 6,058,359 ("the '359

Patent"), United States Patent No.6, 278,888 ("the '888 Patent"), United States Patent No.

6,301,556 ("the '556 Patent"), United States Patent No. 6,418,310 ("the '310 Patent"), United

States Patent No. 6,445,917 ("the '917 Patent"), United States Patent No. 6,473,506 ("the '506

Patent"), United States Patent No. 6,519,223 ("the '223 Patent"), United States Patent No.

6,624,832 ("the '832 Patent"), United States Patent No. 6,772,215 ("the '215 Patent"), and

United States Patent No. 8,169,992 ("the '992 Patent"). Ericsson also seeks a cease and desist


                                                1
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 119 of 212



order prohibiting Samsung from engaging in the unlawful importation and/or sale within the

United States after importation of certain consumer electronics, including mobile phones, tablets,

televisions, and media players, that infringe the '052 Patent, the '359 Patent, the '888 Patent, the

'556 Patent, the '310 Patent, the '917 Patent, the '506 Patent, the '223 Patent, the '832 Patent,

the '215 Patent, and/or the '992 Patent. If the Commission grants these remedial orders, the

public interest will be served.


I. THE REQUESTED REMEDIAL ORDERS ARE IN ACCORD WITH THE PUBLIC
INTEREST

         The public interest in protecting intellectual property rights is very strong.     Certain

Baseband Processor Chips and Chipsets, Transmitter and Receiveer (Radio) Chip, power

Control Chips, Inv. No. 337-TA-543, Comm'n Op., 2007 ITC LEXIS 621 at *240 (June 19,

2007).    In the few instances where the Commission found an inverse impact on the public

interest that was significant enough to deny relief, "the exclusion order was denied because

inadequate supply within the United States--by both the patentee and domestic licensees--meant

that an exclusion order would deprive the public of products necessary for some important health

or welfare need." Spansion, Inc. v. lTC, 629 F.3d 1331,1360 (Fed. Cir. 2010). Here, however,

the requested remedial orders would not be contrary to the public interest because: (1) the

accused devices are luxury devices that are not necessary to some important health or welfare

need; (2) Ericsson currently licenses the asserted patents to large companies that could easily fill

any void in the market created by the requested remedial order; and (3) Ericsson's licensees

already sell articles that directly compete with, and are substitutes for, Samsung's infringing

products in the United States. As such, the strong public interest in protecting Ericsson's valid

intellectual property rights outweighs any adverse impact on the public.




                                                 2
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 120 of 212




       A. Explanation of how the articles potentially subject to the orders are used in the
       United States.

       The accused devices at issue in this investigation are portable communication devices,

tablet computers, televisions, and media players. These devices, such as smartphones, tablet

computers, flat-panel televisions, and Blu-Ray disk players, are not necessary for any health or

welfare need. Instead, these are high-end luxury devices used in large degree for entertainment.

Smartphones and computers may incorporate portable media players, gaming devices, camera

phones with high-resolution touchscreens and video conferencing capability, web browsers, etc.

These products combine mobile communication technology with multiple luxury technologies

that were previously available separately, and which continue to be available separately in the

United States. Televisions and Blu-Ray disk players are also luxury items that are used by

consumers primarily for home entertainment purposes, such as watching over-the-air, cable,

and/or satellite programs, DVD or Blu-Ray disks, or home videos. The accused television and

media players also incorporate IEEE 802.11x ("Wi-Fi") components and software or firmware

that allow the devices to connect to the internet and stream videos, among other things.

       B. There are No public health, safety, or welfare concerns in the United States
       relating to the requested remedial orders.

       There are no health, safety, or welfare concerns implicated by this Investigation.

Excluding the accused products will not harm public health, safety, or welfare. Traditionally, the

Commission's public health, safety, or welfare concern has been limited to medical devices or

pharmaceutical drugs. See, e.g., Certain Toothbrushes and the Packaging Thereof, Inv. No. 337-

TA-391, Comm'n Op., 1997 WL 803475 at *2 (Oct. 15, 1997). Smartphones, tablets, flat-panel

televisions, and Blu-Ray disk players are consumer electronics devices, not medical devices,

pharmaceuticals, or vaccines. Rather, these products provide a combination of entertainment and

convenience of combined functionality found previously in separate devices.


                                                3
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 121 of 212



        C. Like or directly competitive articles are readily available through Ericsson, its
        licensees, and/or third parties.

       There are many like or directly competitive articles that could take the place of

Samsung's infringing devices after the issuance of exclusion orders. For example, as described

in detail in the domestic industry section of the complaint, there are products offered by licensed

competitors that use the technical implementation of the Asserted Patents and offer substantially

equivalent overall functionality to the public at a similar price point to the consumer.

        D. Ericsson, its licensees, or third parties have the capacity to replace the volume of
        articles subject to the requested remedial orders in a commercially reasonable time
        in the United States.

       It is well established that the presence of an adequate supply of substitute products is

sufficient to override any public interest concerns.          Certain Lens-Fitted Film Packages

("LFFPs"), Inv. No. 337-TA-406, Comm'n Op., 1991 ITC LEXIS 202 at *40 (June 28, 1999).

As described in detail in the domestic industry section of the complaint, Ericsson and its existing

licensees have substantial manufacturing, production, and shipping capabilities that are more

than enough to replace any excluded articles in a commercially reasonable amount of time.

       E. The requested remedial relief would have a minimal impact on customers.

       It is unlikely that an exclusion order would substantially impact customers. There would

be no shortage of competing goods because there are numerous substitute products, including

those from Ericsson and its licensees, which will be able to replace the volume of the excluded

articles. Even if the exclusion order results in a slight increase in the price of certain products, a

price increase alone is insufficient to warrant preclusion of a remedial order. LFFPs, 1999 ITC

LEXIS 202 at *40 (finding that some price increase does not 'justify a determination that the

public interest in protecting intellectual property rights is in any way outweighed.") Thus, any

impact to the public interest by the exclusion of Samsung's infringing products will be minimal.



                                                  4
     Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 122 of 212




II. CONCLUSION

       If the Commission grants the requested remedial orders, the public interest will be served.

The accused devices are not necessary to any health or welfare need, and an adequate supply of

substitute devices will be available through at least Ericsson and its current licensees. As such,

the strong public interest in protecting Ericsson's valid intellectual property rights outweighs any

potential adverse impact on the public.



Dated: NovemberS 0, 2012

                                                  Respectfully submitted,

                                                              f ..
                                                  McKoOL S~H~H, P

                                                      ~~
                                                  Mike McKool
                                                  Douglas A. Cawley
                                                  Theodore Stevenson III
                                                  300 Crescent Court, Suite 1500
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 978-4000
                                                  Facsimile: (214) 978-4044

                                                  Benjamin Levi
                                                  1999 K Street, N.W., Suite 600
                                                  Washington DC 20006
                                                  Telephone: (202) 370-8300
                                                  Telecopier: (202) 370-8344

                                                  Counsel for Complainants
                                                  Ericsson Inc. and Telefonaktiebolaget
                                                  LM Ericsson




                                                 5
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 123 of 212




                 UNITED STATES INTERNATIONAL TRADE COMMISSION
                                 WASHINGTON, D.C.


In the Matter of

CERTAIN ELECTRONIC DEVICES,                      Investigation No. 337-TA-_ _
INCLUDING WIRELESS
COMMUNICATION DEVICES, TABLET
COMPUTERS, MEDIA PLAYERS, AND
TELEVISIONS, AND COMPONENTS
THEREOF               .




COMPLAINT OF ERICSSON INC. AND TELEFONAKTIEBOLAGET LM ERICSSON
     UNDER SECTION 337 OF THE TARIFF ACT OF 1930, AS AMENDED

COMPLAINANTS                            PROPOSED RESPONDENTS
Ericsson Inc.
                                        Samsung Electronics America, Inc.
6300 Legacy Drive
                                        85 Challenger Road
Plano, Texas 75024
                                        Ridgefield Park, NJ 076660
Telephone No. (972) 583-0000
                                        Telephone No. (201) 229-4000
Telefonaktiebolaget LM Ericsson
                                        Samsung Telecommunications America LLC
Torshamsgatan 23, Kista
                                        1301 East Lookout Drive
164 83 Stockholm Sweden
                                        Richardson, Texas 75082
Telephone No. 011 4687100000
                                        Telephone No. (972) 761-7000
COUNSEL FOR COMPLAINANTS
                                        Samsung Electronics Co. Ltd.
Mike McKool, JI.                        Samsung Electronics Building
Douglas A. Cawley                       1320-10, Seocho 2-dong
Theodore Stevenson III                  Seocho-gu, Seoul 137-857
McKoOL SMITH, P.C.                      South Korea
300 Crescent Court, Suite 1500          Telephone No. 8227277114
Dallas, Texas 75201
Telephone: (214) 978-4000
Telecopier: (214) 978-4035
Benjamin Levi
McKoOL SMITH, P.C.
1999 K Street, N.W., Suite 600
Washington, D.C. 20006
Telephone: (202) 370-8300
Telecopier: (202) 370-8344



McKoo1320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 124 of 212




                                                 TABLE OF CONTENTS


I.      IN"TRODUCTION ............................................................................................................... 1

II.     THE PARTIES ..................................................................................................................... 2

        A.         Complainants ........................................................................................................... 2

        B.        Respondents ............................................................................................................. 3

III.    THE TECHNOLOGIES AND PRODUCTS AT ISSUE ................................................... .4

IV.     THE ASSERTED PATENTS .............................................................................................. 5

        A.        United States Patent No. 6,029,052 ......................................................................... 5

                   1.        Identification of the Patent and Ownership by
                             Ericsson ........................................................................................................ 5

                  2.         Nontechnical Description of the '052 Patent.. ............................................. 6

                  3.         Foreign Counterparts to the '052 Patent ...................................................... 6

                  4.         Licenses ........................................................................................................ 7

        B.        United States Patent No. 6,058,359 ........................................ ~ ................................ 7

                   1.        Identification of the Patent and Ownership by
                             Ericsson ........................................................................................................ 7

                  2.         Nontechnical Description of the '359 Patent.. ............................................. 8

                  3.         Foreign Counterparts to the '359 Patent ...................................................... 9

                  4.         Licenses ............................................. '" ........................................................ 9

        C.        United States Patent No. 6,278,888 ....................................................................... 10

                   1.        Identification of the Patent and Ownership by
                             Ericsson ...................................................................................................... 10

                  2.         Nontechnical Description ofthe '888 Patent.. ........................................... 11

                  3.         Foreign Counterparts to the '888 Patent.. .................................................. ll

                  4.         Licenses ...................................................................................................... 12


COMPLAINT OF ERICSSON                                            PAGE i

McKoo1320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 125 of 212




        D.        United States Patent No. 6,301,556 ....................................................................... 12

                  1.       Identification of the Patent and Ownership by
                           Ericsson ...................................................................................................... 12

                  2.       Nontechnical Description of the '556 Patent.. ........................................... 13

                  3.        Foreign Counterparts to the '556 Patent .................................................... 13

                  4.       Licenses ...................................................................................................... 14

        E.        United States Patent No. 6,418,310 ....................................................................... 15

                  1.       Identification of the Patent and Ownership by
                           Ericsson ...................................................................................................... 15

                  2.       Nontechnical Description of the '310 Patent.. .......................................... .15

                  3.       Foreign Counterparts to the' 310 Patent ................................................... .16

                  4.        Licenses ...................................................................................................... 16

        F.        United States Patent No. 6,445,917 ....................................................................... 16

                  1.       Identification of the Patent and Ownership by
                           Ericsson ...................................................................................................... 16

                  2.       Nontechnical Description of the '917 Patent.. ............ ;.............................. 17

                  3.        Foreign Counterparts to the '917 Patent .................................................... 17

                  4.        Licenses ...................................................................................................... 18

         G.       United States Patent No. 6,473,506 ....................................................................... 19

                  1.        Identification of the Patent and Ownership by
                            Ericsson ...................................................................................................... 19

                  2.       Nontechnical Description of the '506 Patent ............................................ .19

                  3.        Foreign Counterparts to the '506 Patent .................................................... 20

                  4.        Licenses ...................................................................................................... 20

        H.        United States Patent No. 6,519,223 ....................................................................... 21

                  1.        Identification of the Patent and Ownership by
                            Ericsson ....................................................................................................... 21


COMPLAINT OF ERICSSON                                           PAGE ii

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 126 of 212




                 2.       Nontechnical Description of the '223 Patent.. ........................................... 21

                 3.       Foreign Counterparts to the' 223 Patent .................................................... 22

                 4.       Licenses ...................................................................................................... 23

        1.       United States Patent No. 6,624,832 ...................................................................... .23

                 1.       Identification of the Patent and Ownership by
                          Ericsson ...................................................................................................... 23

                 2.       Nontechnical Description of the '832 Patent.. ........................................... 24

                 3.       Foreign Counterpmis to the '832 Patent.. .................................................. 24

                 4.       Licenses ...................................................................................................... 24

        J.       United States Patent No. 6,772,215 ....................................................................... 24

                 1.       Identification of the Patent and Ownership by
                          Ericsson ...................................................................................................... 24

                 2.       Nontechnical Description of the '215 Patent.. .......................................... .25

                 3.       Foreign Counterparts to the '215 Patent.. .................................................. 26

                 4.       Licenses ...................................................................................................... 26

        K.       United States Patent No. 8,169,992 ...................................................................... .27

                 1.       Identification of the Patent and Ownership by
                          Ericsson ...................................................................................................... 27

                 2.       Nontechnical Description of the' 992 Patent.. ........................................... 28

                 3.       Foreign Counterparts to the '992 Patent .................................................... 28

                 4.       Licenses ...................................................................................................... 28

V.      UNLA WFUL AND UNFAIR ACTS OF PROPOSED
        RESPONDENTS - PATENT INFRINGEMENT, AND SPECIFIC
        INSTANCES OF UNFAIR IMPORTATION AND SALE .............................................. 29

        A.       Infringement of United States Patent No. 6,029,052 ............................................. 29

        B.       Infringement of United States Patent No. 6,058,359 ............................................. 31

        C.       Infringement of United States Patent No. 6,278,888 ............................................. 33


COMPLAINT OF ERICSSON                                        PAGE   iii

McKool320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 127 of 212



         D.        Infringement of United States Patent No. 6,301,556 ............................................. 34

         E.        Infringement of United States Patent No. 6,418,31 0 ............................................. 36

         F.        Infringement of United States Patent No. 6,445,917 ............................................. 38

         G.        Infringement of United States Patent No. 6,4 73,506 ............................................ .41

         H.        Infringement of United States Patent No. 6,519,223 ............................................ .43

         I.        Infringement of United States Patent No. 6,624,832 ............................................ .47

         1.        Infringement of United States Patent No. 6,772,215 ............................................ .49

         K.        Infringement of United States Patent No. 8,169,992 ............................................. 53

VI.      TARIFF CLASSIFICATION UNDER THE HARMONIZED
         TARIFF SCHEDULE ........................................................................................................ 55

VII.     RELATED LITIGATION ................................................................................................. 56

VIII.    DOMESTIC INDUSTRY .................................................................................................. 57

         A.        Ericsson's Domestic Activities .............................................................................. 57

         B.        Ericsson's Domestic Licensing .............................................................................. 62

         C.        The Domestic Activities of Ericsson's Licensee Motorola ................................... 64

         D.        The Domestic Activities of Ericsson's Licensee Apple ........................................ 69

         E.        The Domestic Activities of Ericsson Licensee Research In
                   Motion (RIM) ......................................................................................................... 73

IX.      RELIEF REQUESTED ...................................................................................................... 75




COMPLAINT OF ERICSSON                                           PAGEiv

McKooI 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 128 of 212




                              TABLES OF SUPPORTING MATERIALS


                                         INDEX OF EXHIBITS

        Exhibit                                      Description
         No.
          1             Samsung Electronics America website showing entity is comprised of
                        the Consumer Business Division (CBD) and Enterprise Business
                        Division (EBD)
            2           Certified Copy of US. Patent No. 6,029,052
            3           Certified Copy of the Assignment for U.S. Patent 6,029,052
            4           Public version of Confidential Exhibit 4C
           4C           CONFIDENTIAL List of Licensees
            5           Public version of Confidential Exhibit 5C
           5C           CONFIDENTIAL Copies of License Agreements for the Asserted
                        Patents
                        (NOTE: THIS EXHIBIT TO BE PROVIDED AT A LATER DATE)
            6           Certified Copy of US. Patent No. 6,058,359
            7           Certified COEr of the Assignment for u.S. Patent No. 6,058,359
            8           Certified Copy of US. Patent No. 6,278,888
            9           Certified COPL of the Assignment for U.S. Patent No. 6,278,888
           10           Certified Copy of US. Patent No. 6,301,556
           11           Certified Copy of the Assign~ent for US. Patent No. 6,301,556
           12           Certified Copy of US. Patent No. 6,418,310
           13           Certified Copy of the Assignment for US. Patent No. 6,418,310
           14           Certified Copy of US. Patent No. 6,445,917
           15           Certified Copy of the Assignment for u.S. Patent No. 6,445,917
           16           Certified Copy of U.S. Patent No. 6,473,506
           17           Certified Copy of the Assignment for US. Patent No. 6,473,506
           18           Certified Copy of US. Patent No. 6,519,223
           19           Certified Copy of the Assignment for U.S. Patent No. 6,519,223
           20           Certified Copy of U.S. Patent No. 6,624,832
           21           Certified Copy of the Assignment for U.S. Patent No. 6,624,832
           22           Certified Copy of US. Patent No. 6,772,215
           23           Certified Copy of the Assignment for US. Patent No. 6,772,215
           24           Uncertified Copy of US. Patent No. 8,169,992
           25           Uncertified Copy of the Assignment for US. Patent No. 8,169,992
           26           Photo indicating Samsung Captivate Glide is Marked as "Made in China"
           27           Purchase Receipt for Samsung Captivate Glide Smartphone
           28           Infringement Chart for Claims 1 and 13 of US. Patent 6,029,052 for
                        Samsung Captivate Glide
           29           Photo indicating Samsung Galaxy S III is Marked as "Made in China"
           30           Purchase Receipt for SamsungGalaxy S III Smartphone
           31           Infringement Chart for Claims 28 and 40 of US. Patent 6,058,359 for
                        Samsung Galaxy S III

COMPLAINT OF ERICSSON                             PAGE V


McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 129 of 212



        Exhibit                                      Description
         No.
          32            Infringement Chart for Claim 30 of US. Patent 6,278,888 for Samsung
                        Galaxy SIll
           33           Infringement Chart for Claims 1,31,50, and 53 of US. Patent 6,301,556
                        for Samsung Galaxy S III
           34           Infringement Chart for Claims 1,4,6 and 13 of US. Patent 6,418,310 for
                        Samsung Galaxy_ S III
           35           Infringement Chart for Claims 1,24, and 25 of US. Patent 6,445,917 for
                        Samsung Galaxy S III
           36           Infringement Chart for Claims 1 and 17 of US. Patent 6,473,506 for
                        Samsung Galaxy_ S III
           37           Infringement Chart for Claims 1, 11, 19, and 30 of US. Patent 6,519,223
                        for Sa1Usung Galaxy S III
           38           Infringement Chart for Claim 1, 9 and 12 of US. Patent 6,624,832 for
                        Sa1Usung Galaxy S III
           39           Infringement Chart for Claim 1, 15,25, and 45 of US. Patent 6,772,215
                        for Sa1Usung Galaxy S III
           40           Infringement Chart for Claim 1 and 7 of US. Patent 8,169,992 for
                        Samsung Galaxy S III
           41           Photo indicating Samsung Galaxy Note is Marked as "Made in Korea"
           42           Purchase Receipt for Samsung Galaxy Note
           43           Infringement Chart for Claims 1,24-26, and 28 of US. Patent
                        6,445,917 for Samsung Galaxy Note
           44           Photographs of the Representative Samsung Evolved Node B Macrocell
           45           Infringement Chart for Claims 30 and 54 of US. Patent 6,445,917 for
                        Sa1Usung Evolved Node B Macrocell
           46           Infringement Chart for Claims 6 and 13 of US. Patent 8,169,992 for
                        Samsung Evolved Node B Macrocell
           47           Photo indicating Samsung UN55D8000 Television is Marked as "Made
                        in Tijuana Mexico"
           48           Purchase Receipt for Samsung UN55D8000 Television
           49           Infringement Chart for Claims 1, 11, 19,30 of US. Patent 6,519,223
                        for Samsung 8000 Series TV
           50           Infringement Chart for Claims 1, 15,25 and 45 of US. Patent
                        6,772,215 for Samsung 8000 Series TV
           51           Photo indicating Samsung BD-E5700 BIu-Ray Player is Marked as
                        "Assembled in China"
           52           Purchase Receipt for Samsung BD-E5700 Blu-Ray Player
           53           Infringement Chart for Claims 1, 11,19, and 30 of US. Patent
                        6,519,223 for Samsung BD-E5700 Blu-Ray player
           54           Infringement Chart for Claims 1, 15,25 and 45 of Patent 6,772,215 for
                        Samsung BD-E5700 BIu-Ray Player
           55           Photograph indicating Samsung Galaxy Tab (SCH-I815) is Marked as
                        "Made in Korea"
           56           Purchase receipt for Samsung Galaxy Tab (SCH-I815)

COMPLAINT OF ERICSSON                             PAGE vi


McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 130 of 212




        Exhibit                                          Description
         No.
             57           Infringement Chart for Claims 1, 11, 19, and 30 of US. Patent 6,519,223
                          for Samsung Galaxy Tab (SCH-I815)
             58           Infringement Chart for Clallus 1, 15,25, and 45 of US. Patent 6,772,215
                          for Samsung Galaxy Tab (SCH-I815)
             59           Public version of Confidential Exhibit 59C
            59C           CONFIDENTIAL Declaration Regarding Domestic Industry
             60           Press release stating that Sprint Nextel outsourced its United States
                          network operations and maintenance to Ericsson
             61           Public version of Confidential Exhibit 61 C
            61C           CONFIDENTIAL Chart comparing claim of Asserted Patent to Apple
                          iPhone 4
             62           Public version bf Confidential Exhibit 62C
            62C           CONFIDENTIAL Chart comparing clallu of Asserted Patent to Apple
                          iPhone 4
             63           Public version of Confidential Exhibit 63C
            63C           CONFIDENTIAL Chart comparing claim of Asserted Patent to Apple
                          iPhone 4
             64           Public version of Confidential Exhibit 64C
            64C           CONFIDENTIAL Chart comparing clallu of Asserted Patent to Apple
                          iPhone 4
             65           Public version of Confidential Exhibit 65C
            65C           CONFIDENTIAL Chart comparing claim of Asserted Patent to Apple
                          iPhone 4
             66           Public version of Confidential Exhibit 66C
            66C           CONFIDENTIAL Chart comparing clallu of Asserted Patent to
                          Motorola Atrix 2
             67           Public version of Confidential Exhibit 67C
            67C           CONFIDENTIAL Chart comparing claim of Asserted Patent to
                          Motorola Atrix 2
             68           Public version of Confidential Exhibit 68C
            68C           CONFIDENTIAL Chart comparing claim of Asserted Patent to
                          Motorola Atrix 2
             69           Public version of Confidential Exhibit 69C
            69C           CONFIDENTIAL Chart comparing clallu of Asserted Patent to
                          Motorola Atrix 2
             70           Public version of Confidential Exhibit 70C
            70C           CONFIDENTIAL Chart comparing clallu of Asserted Patent to
                          Motorola Atrix 2
             71           Public version of Confidential Exhibit 71C
            71C           CONFIDENTIAL Chart comparing claims of Asserted Patent to
                          Motorola Atrix 2
             72           Public version of Confidential Exhibit 72C
            72C           CONFIDENTIAL Chart comparing claim of Asserted Patent to
                          Motorola Atrix 2

COMPLAINT   OF ERICSSON                              PAGE vii


McKoo1320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 131 of 212



         Exhibit                                   Description
          No.                                                            ..




            73          Public version of Confidential Exhibit 73C
           73C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Cliq 2
            74          Public version of Confidential Exhibit 74C
           74C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        Bold 9900
            75          Public version of Confidential Exhibit 75C
           75C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        Bold 9900
            76          Public version of Confidential Exhibit 76C
           76C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        Bold 9900
            77          Public version of Confidential Exhibit 77C
           77C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        Bold 9900
            78          Public version of Confidential Exhibit 78C
           78C          CONFIDENTIAL Chart comparing claims of Asserted Patent to RIM
                        Bold 9900
            79          Public version of Confidential Exhibit 79C
           79C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        Bold 9900
            80          Public version of Confidential Exhibit 80C
           80C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Admiral
            81          Public version of Confidential Exhibit 81 C
           81C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Admiral
            82          Public version of Confidential Exhibit 82C
           82C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Droid RAZR M
            83          Public version of Confidential Exhibit 83C
           83C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Droid RAZR M
            84          Public version of Confidential Exhibit 84C
           84C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Droid RAZR M
            85          Public version of Confidential Exhibit 85C
           85C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        9860 Torch
            86          Public version of Confidential Exhibit 86C
           86C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        9860 Torch
            87          Public version of Confidential Exhibit 87C



COMPLAINT OF ERICSSON                          PAGE viii

McKooI 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 132 of 212




        Exhibit                                       Description
         No.
         87C            CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        9860 Torch
            88          Public version of Confidential Exhibit 88C
           88C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        9860 Torch
            89          Public version of Confidential Exhibit 89C
           89C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        9860 Torch
           90           Chart comparing Clalln 40 of u.s. Patent 6,058,359 to Ericsson Base
                        Stations and/or Media Gateways
           91           Chart comparing Claim 1 of U.S. Patent 6,301,556 to Ericsson Base
                        Stations and/or Media Gateways
           92           Chart comparing Clalln 1 of U.S. Patent 6,473,506 to Ericsson Base
                        Stations and/or Media Gateways
           93           Intentionally left blank
           94           Chart comparing Clalln 30 of U.S. Patent 6,519,223 to Ericsson Base
                        Stations and/or Media Gateways
           95           Chart comparing Clalln 1 of U.S. Patent 6,772,215 to Ericsson Base
                        Stations and/or Media Gateways
           96           Chart comparing Clalln 30 of U.S. Patent 6,445,917 to Ericsson Base
                        Stations and/or Media Gateways
           97           Chart comparing Claim 6 of U.S. Patent 8,169,992 to Ericsson Base
                        Stations and/or Media Gateways
           98           Public version of Confidential Exhibit 98C
          98C           CONFIDENTIAL Declaration Regarding Domestic InduShy
           99           Motorola Mobility Holdings Inc.'s 10-K dated Februaq 17, 2012 for fiscal
                        year ended December 31, 2011
           100          Motorola Mobility Job Postings
           101          Motorola Solutions Job Postings
           102          Motorola Technical Brief titled "5Ghz IEEE 802.11a for the
                        Interference Avoidance"
           103          Apple, Inc. 10-K dated October 31, 2012, for fiscal year ended September
                        29,2012
           104          Article from Silicon Valley San Jose Business Journal Reporting Apple,
                        Inc.'s Occupancy of Cupertino Work Space, dated F ebrualY 10, 2008
           105          Apple, Inc. Job Posting - iPod/iPhone Lab Test Engineer
           106          Apple, Inc. Job Posting - iPhone Wireless Certification EPM
           107          Apple, Inc. Job Posting - Regulatoq RF Systems Engineer
           108          Apple, Inc. Tob Posting - RF Systems Integration Engineer
           109          Apple, Inc. Job Posting - RF Systems Performance Engineer
           110          Apple, Inc. Job Posting - iPhone Cellular Software QA Engineer
           111          Apple, Inc. Job Posting - iOS Cellular Protocol Software Engineer
           112          Apple, Inc. Job Posting - iPhone Sr Modem DSP Engineer


COMPLAINT OF ERICSSON                              PAGEix

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 133 of 212



        Exhibit                                     Description
         No.
          113           Press releases dated December 17,2007 and December 31,2007 from
                        Reuter and Mobilewhack.com regarding the RIM facility in Irving
           114          Two RIM job announcements
           115          Research in Motion Form 40-F dated April 1,2010
           116          Public version of Confidential Exhibit 116C
          116C          CONFIDENTIAL Chart comparing claim of Asserted Patent to Apple
                        iPhone 4
           117          Public version of Confidential Exhibit 117C
          117C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        Bold 9900
           118          Public version of Confidential Exhibit 118C
          118C          CONFIDENTIAL Chart comparing claim of Asserted Patent to
                        Motorola Atrix 2
           119          Public version of Confidential Exhibit 119C
          119C          CONFIDENTIAL Chart comparing claim of Asserted Patent to RIM
                        9860 Torch

                                      TABLE OF APPENDICES

                                                        Description
                 A          Prosecution History of Patent 6,029,052 (CERTIFIED)
                 B          Prosecution History of Patent 6,058,359 (CERTIFIED)
                 C          Prosecution History of Patent 6,278,888 (UNCERTIFIED)
                 D          Prosecution History of Patent 6,301,556 (CERTIFIED)
                 E          Prosecution History of Patent 6,418,310 (CERTIFIED)
                 F          Prosecution History of Patent 6,445,917 (UNCERTIFIED)
                 G          Prosecution Hist01'Y of Patent 6,473,506 (CERTIFIED)
                 H          Prosecution Hist01'Y of Patent 6,519,223 (CERTIFIED)
                 I          Prosecution History of Patent 6,624,832 (CERTIFIED)
                 J          Prosecution History of Patent 6,772,215 (CERTIFIED)
                 K          Prosecution History of Patent 8,169,992 (UNCERTIFIED)
                 L          References from Prosecution History for US Patent 6,029,052
                 M          References from Prosecution History for US Patent 6,058,359
                 N          References from Prosecution History for US Patent 6,278,888
                 0          References from Prosecution History for US Patent 6,301,556
                 P          References from Prosecution History for US Patent 6,418,310
                 Q          References from Prosecution History for US Patent 6,445,917
                 R          References from Prosecution History for US Patent 6,473,506
                 S          References from Prosecution History for US Patent 6,519,223
                 T          References from Prosecution History for US Patent 6,624,832
                 U          References from Prosecution History for US patent 6,772,215
                 V          References from Prosecution History for US patent 8,169,992



COMPLAINT OF ERICSSON                             PAGE X


McKooI320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 134 of 212




                                     INDEX OF PHYSICAL EXHIBITS

         Exhibit                                   Description
          No.           ..      ..
            1           Physical Sample of Samsung Captivate Glide Smattphone
           2            Physical Sample of Samsung Galaxy S III Smattphone
           3            Physical Sample of Samsung Galaxy Note Smattphone
           4            Physical Sample of the Apple iPhone 4 Smattphone
            5           Physical Sample of Mototola Attix 2 Smattphone
            6           Physical Sample of RIM Bold 9900 Smattphone
           7            Physical Sample of Motorola Admiral Smattphone
            8           Physical Sample of RIM 9860 Totch Smattphone
           9            Physical Sample of Mototola Dtoid RAZR M Smattphone
           10           Physical Sample of Mototola Cliq 2 Smattphone
           11           Physical Sample of Samsung BD-E5700 blu-tay player
           12           Physical Sample of Samsung Galaxy Tab (SCH-I815)




COMPLAINT OF ERICSSON                           PAGE xi


McKooI320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 135 of 212




  I.         INTRODUCTION

        1.       Complainants Ericsson Inc. and Telefonaktiebolaget LM Ericsson (collectively

"Ericsson" or "Complainants") request that the United States International Trade Commission

("the Commission") commence an investigation pursuant to Section 337 of the Tariff Act of

1930, as amended, 19 U.S.C. § 1337 ("Section 337"), based upon the sale for importation, the

importation into the United States, and/or the sale within the United States after importation of

certain electronic devices, including wireless communication devices, tablet computers, media

players, and teleVisions, and components thereof ("the Accused Products"), including the

Samsung Galaxy S III, the Samsung Captivate Glide, and the Samsung Galaxy Note, that

directly or indirectly infringe any of the following claims: claims 1 - 3, 5, 8, 11, 13, 14, and 18 of

United States Patent No. 6,029,052 ("the '052 patent"); claims 28 - 33, 36, 37, 39, 40 - 43,46,

47,50, 51, and 54 of United States Patent No. 6,058,359 ("the '359 patent"); claim 30 of United

States Patent No. 6,278,888 ("the '888 patent"); claims 1 - 3, 8, 10, 19,20,23, 24, 26 - 33, 38,

40, 50, 53, 54,55, 57,62 - 67, and 68 of United States Patent No. 6,301,556 ("the '556 patent");

claims 1,4,6,9 - 13, 16 - 19, and 20 of United States Patent No. 6,418,310 (the '310 patent");

claims 1, 24 - 26, 28, 30, and 54 of United States Patent No. 6,445,917 ("the '917 patent");

claims 1, 4, 6, 7, 17, 20, 22, and 23 of United States Patent No. 6,473,506 ("the '506 patent");

claims 1-3, 11-14, 19, 21, 22, and 30-32 of United States Patent No. 6,519,223 ("the '223

patent"); claims 1, 4, 9, 10, and 12 of United States Patent No. 6,624,832 ("the '832 patent");

claims 1,2,4,6,8, 15,22,25,26,29,32,34,45,46,49,52, and 54 of United States Patent No.

6,772,215 ("the '215 patent"); and claims 1, 3, 5, 6, 7, 8, 10, 11, 12, 13, 14, and 15 of United

States Patent No. 8,169,992 ("the '992 patent") (collectively, "the Asserted Patents").




COMPLAINT OF ERICSSON                           PAGE 1


McKool320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 136 of 212




         2.      An industry as required by 19 US.c. §§ 1337(a)(2) and (3) exists in the United

States and is in the process of being established.

         3.      Complainants seek as relief a permanent limited exclusion order pursuant to 19

U.S.C. § 1337(d) barring from entry into the United States the Accused Products, including, inter

alia and without limitation, wireless communication devices (e.g., cellular phones and base

stations), tablet computers, IEEE 802.11-compliant televisions and blu-ray players, and

components thereof that infringe at least one claim of the Asserted Patents. Complainants seek

as further relief a permanent cease and desist order preventing Samsung, from all domestic

commercial activities concerning infringing impOlied goods.

  II.         THE PARTIES

         A.      Complainants

         4.      Complainant Telefonaktiebolaget LM Ericsson ("LM Ericsson") is a corporation

organized and existing under the laws of Sweden, having its principal place of business at

Torshamsgatan 23, Kista, 164 83 Stockholm Sweden. LM Ericsson wholly owns its subsidiary

Ericsson Holding II Inc., a Delaware corporation, which in turn wholly owns Complainant

Ericsson Inc.

         5.      Complainant Ericsson Inc. is a corporation organized and existing under the laws

of the State of Delaware, having its principal place of business at 6300 Legacy Drive, Plano,

Texas 75024.

         6.      Ericsson is the world's largest supplier of telecommunications network equipment

and related services to telecom operators. Ericsson has over 95,000 employees and customers in

more than 175 countries. Worldwide, more than forty percent of all mobile phone calls are made

through Ericsson networks. Ericsson employs more than 13,498 people in North America and

10,300 in the United States. Ericsson holds over 27,000 patents.
COMPLAINT OF ERICSSON                           PAGE 2

McKoo1320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 137 of 212



           B.    Respondents

           7.    Respondent Samsung Electronics Co., Ltd. ("Samsung Electronics") is a

corporation organized under the laws of the Country of Korea, having its principal place of

business at 250 Taepyeongo 2-ga, Jung-gu, Seoul 100-742, South Korea.

           8.    On information and belief, Samsung Electronics designs, develops, manufactures,

imports into the United States and/or and sells for importation into the United States the Accused

Products, including numerous wireless communication devices, including, without limitation,

cellular phones, tablet computers, base stations, media players, and televisions, and components

thereof.

           9.    Respondent Samsung Telecommunications America LLC ("STA")                    IS   a

corporation organized under the laws of the State of Delaware, having its principal place of

business at 1301 East Lookout Drive, Richardson, Texas 75082.

           10.   On information and belief, STA imports and/or sells in the United States after

importation the Accused Products, including numerous wireless communication devices,

including, without limitation, cellular phones, tablet computers, base stations, media players, and

components thereof manufactured by Samsung Electronics. On information and belief, STA is a

wholly-owned subsidiary of Samsung Electronics.

           11.   Respondent Samsung Electronics America, Inc. ("SEA") is a corporation

organized under the laws of the State of New York, having its principal place of business at 85

Challenger Road, Ridgefield Park, New Jersey 07660. On information and belief, SEA is a

wholly-owned subsidiary of Samsung Electronics.         According to Samsung's web site, SEA

"comprises" the Consumer Business Division ("CBD") and Enterprise Business Division

("EBD"). Exhibit 1. Because CBD and EBD is "comprised" of SEA, CBD and EBD are not

distinct from SEA.
COMPLAINT OF ERICSSON                          PAGE 3

McKool320288vl
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 138 of 212




          12.    On information and belief, SEA, through its CBD division, imports and/or sells in

the United States after importation the Accused Products, including numerous products having

wireless local area network functionality, including televisions and blu-ray players, and

components thereof manufactured by Samsung Electronics.

          13.    On infOlmation and belief, SEA, through its EBD division, imports and/or sells in

the United States after importation the Accused Products, including numerous products having

wireless local area network functionality, and components thereof manufactured by Samsung

Electronics.

          14.    On information and belief, SEA manages the North Americml operations of CBD

and EBD. On information and belief, SEA imports and/or sells after impOliation the Accused

Products.

          15.    Respondents Samsung Electronics, SEA (including CBD and EBD), and STA are

collectively referred to herein as "Samsung."

  III.      THE TECHNOLOGIES AND PRODUCTS AT ISSUE

          16.    The technologies at issue relate to electronic devices that allow for wireless

communications and data transfer over networks and include: (i) RF receiver technology; (ii)

hardware and software design of wireless communication devices; (iii) user interface technology;

(iv) modulation technology; and (v) in some cases, standardized communication protocols,

including the GSM, GPRS, EDGE, W-CDMA, LTE, and/or 802.11 standards (collectively,

"Standards").

          17.    The products at issue are Samsung's wireless communication devices, including

cellular phones, tablet computers, base stations, televisions and media players with wireless

networking capabilities, and components thereof.           These products incorporate Ericsson's

patented apparatuses or operate according to Ericsson's patented methods. On information and
COMPLAINT OF ERICSSON                           PAGE   4

McKoo1320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 139 of 212



belief, these products are sold for impOliation, imported into the United States, and/or sold after

importation as finished products, and/or components of finished products by Samsung.

         18.     Although the Ericsson patented technologies may be used in a variety of

applications, the Samsung products believed to infringe are wireless communication devices,

including cellular phones, tablet computers, base stations, televisions, and media players, and

components thereof. Discovery may reveal the use of Ericsson's patented technologies in other

products.

  IV.       THE ASSERTED PATENTS

        A.       United States Patent No. 6,029,052

                 1.     Identification of the Patent and Ownership by Ericsson

         19.     The '052 patent, entitled "Multiple Mode Direct Conversion Receiver," was

issued on February 22, 2000, based upon United States Patent Application No. 08/886,244, filed

on July 1, 1997. A certified copy of the '052 patent is attached as Exhibit 2.

        20.      Ericsson owns by assignment the entire right, title and interest in the '052 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '052 patent from

inventors Martin Isberg and Peter Jakobsson by assignment executed on April 28, 1997; from

inventors Bjorn Lindquist and Jan Celander by assignment executed on April 30, 1997; from

inventors Kjell Gustafsson and Torsten Carlsson by assignment executed on May 5, 1997; from

inventor Lars-Peter Kunkel by assignment executed on May 12, 1997; and from inventor Jacob

Mannerstrale by assignment executed on May 15, 1997. The assignments were recorded on July

1, 1997, at Reel/Frame 08668/0785.

        2l.      A certified copy of the assignment for the '052 patent is attached at Exhibit 3.




COMPLAINT OF ERICSSON                            PAGES

McKool320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 140 of 212




             22.                A certified copy of the prosecution history of the '052 patent is included as

Appendix A. The cited references identified in the prosecution history of the '052 patent are

included in Appendix L.

             23.                The '052patent will expire on July 1,2017.

             24.                Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, and/or sells after importation Accused Products that infringe claims 1 - 3,

5,8, 11, 13, 14, and 18 of the '052 patent.

                                2.               Nontechnical Description of the '052 Patent

             25.                The '052 patent discloses a communication device that uses direct conversion

(processing received signals using intermediate frequencies within the same frequency range as

the received signal bandwidth) to receive wireless signals at multiple frequency bands without

requiring significant hardware duplication. This allows the receiver to share a substantial

amount of hardware for different frequency bands. 1

                                3.                Foreign Counterparts to the '052 Patent

             26.                The following is a list of all foreign counterparts to the '052 patent:

    '\,' . c:·.i";;:;;~;;:]~';: . • , /,;-:~:~t:A~~':}~~~:!;~{: ::i~{£-,
                                                                ,",-,,,-."   ~


                                                                                 .{7'
                                                                                 {X~·>
                                                                                          ,.• '. . . . .•. .•' . .. . . . . ,. . •. ,. . .. . • ..' '. ,.... ·Yr • },>0,?
                                                                                         )·':lJ$~J>a,teItt6,029,052
                                                                                                                                                                             .••.•. ·X·;,\.'i·
                                                                                                                                                                       ...... .,"          . .,'. :.   .)···}<3·;')i';:'~
   Application                         Application                                                 Status                         Patent                           Patent                               Country
   Date                                Number                                                                                     Date                             Number
   6/30/1998                           980103169                                                   Granted                        6/30/2005                        016121                                    AR
   6/2311998                           81359/98                                                    Granted                        317/2002                         745063                                    AU
   6/23/1998                           PI9810376-8                                                 Filed                                                                                                     BR
   6/23/1998                           2295292                                                     Granted                         6110/2008                       2295292                                   CA
   6118/1998                           1399-98                                                     Granted                         9/26/2006                       42836                                     CL
   6/2311998                           988068311                                                   Granted                         1011/2003                       ZL98806831-1                              CN
   6/30/1998                           98-36793                                                    Inactive                                                                                                  CO
   6/23/1998                           98931173-3                                                  Granted                         1217/2005                       0995267                                   DE
   6/23/1998                           0615/99PC                                                   Inactive                                                                                                  EE
   6/23/1998                           98931173.3                                                  Granted                         1217 /2005                      0995267                                   EP

         No part of this Complaint, including any section herein or Exhibit hereto, construes, or is intended to
construe, the specification, file history, or claims of any Asserted Patent.

COMPLAINT OF ERICSSON                                                                                           PAGE 6


McKoo1320288vl
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 141 of 212




    IX':"f::';"',·;.",;{"··,·.·.'.·.··.,'.,'.... ",.>.·...U;S2Patent;(i;029,05Z., ',"".'   .....•............,. •.,.•. .'., . . . . .•.••.. . ••.. •. ;.;.....>
    .Application Application                            Status           Patent                 Patent                                   Country
     Date        Number                                                  Date                   Number
     6/23/1998   98931173-3                            Granted           1217/2005              0995267                                       FR
     6/23/1998   98931173-3                            Granted           1217/2005              0995267                                       GB
     6/23/1998   01100168-5                            Granted           7/9/2004               1029461                                       HK
     6/23/1998   W-20000189                            Filed                                                                                  ID
     6/26/1998   1801/DELl98                           Granted           7/2/2008   220165                                                    IN
     6/23/1998   11-507010                             Granted           1125/2008  407032                                                    lP
     6/23/1998   10-2000-7000010                       Granted           12/26/2005 540409                                                    KR
     6/24/1998   PI9802861                             Granted           11130/2005 120748                                                    MY
     6/23/1998   19996283                              Inactive                                                                               NO
     6/23/1998   2000102344                            Granted           4/20/2003              2202854                                       RU
     6/23/1998   1999/03304                            Granted           9/21/2000              199903304B                                    TR
     6/23/1998   PCT/SEI998/01219                      Inactive                                                                               WO
                                                       (NAT)

To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

'052 patent have been filed, abandoned, withdrawn, or rejected.

                     4.        Licenses

           27.       Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies oflicense agreements pursuant to 19 C.F.R. § 210. 12(a)(9)(iv) will be
                                                                          2
included as Confidential Exhibit 5C at a later date.                           To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '052 patent.

           B.        United States Patent No. 6,058,359

                     1.        Identification of the Patent and Ownership by Ericsson

           28.       The '359 patent, entitled "Speech Coding Including Soft Adaptability Feature,"

was issued on May 2, 2000, based upon United States Patent Application No. 09/034,590, filed

on March 4, 1998. A certified copy of the '359 patent is attached as Exhibit 6.



2
        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                          PAGE?

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 142 of 212




         29.      Ericsson owns by assignment the entire right, title and interest in the '359 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and intei·est in the '359 patent from

inventors Roar Hagen and Erik Ekudden by assignment executed on April 23, 1998.                      The

assignments were recorded on August 10, 1998, at Reel/Frame 00938010958.

         30.      A certified copy of the assignment for the '359 patent is attached at Exhibit 7.

         31.      A certified copy of the prosecution history of the '359 patent is included as

Appendix B. The cited references identified in the prosecution history of the '359 patent are

included in Appendix M.

         32.      The '359 patent will expire on March 4,2018.

         33.      Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, andlor sells after importation Accused Products that infringe claims 28 -

33,36,37,39,40 - 43, 46, 47,50,51, and 54 of the '359 patent.

                  2.     Nontechnical Description of the '359 Patent

         34.      The '359 patent discloses a technique that allows an original speech signal to be

adaptively coded using parameters from the coding process. Prior to the iiwention disclosed in

the '359 patent, most conventional speech coders chose from a limited number of coding

methods based on identification of each segment of speech that was being encoded. Incorrectly

identifying and coding segments could result in degradation of the coded speech signal. For

example, to achieve the most accurate representation of sound, background noise may need to be

coded differently than a speech signal itself. The '359 patent discloses enhancing the quality of

coded speech by changing or adapting the coding method for each segment of speech using

parameters already existing in the coder, allowing for an infinite number of modifications of the

coding method. This greatly reduced errors in speech coding and allowed for increased clarity of

mobile voice transmissions.
COMPLAINT OF ERICSSON                            PAGE 8

McKool 320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 143 of 212



                       3.           Foreign Counterparts to the '359 Patent

           35.         The following is a list of all foreign counterparts to the '359 patent:

    . . , <.,: . . •. . ;/..•.•.•. . . . .
                         . ...... ..... U.S.:patent6,058,359;'. :. .i::·!,•.. .•. . )'         ·······,i···. ....)
     Application Application             Status Patent        Patent Number            Country
     Date        Number                           Date
     3/2/1999    998036404              Granted 1/5/2005      ZL99803640-4             CN
     3/2/1999    200410069824- Granted 7/5/2006               ZL200410069824-0 CN
                 0
     3/2/1999    99908047/6             Granted 7/24/2002 1058927                      DE
     5/7/2002    02009385.2             Granted 5/25/2005 69925515-5-08                DE
     3/2/1999    99908047.6             Granted 7/24/2002 1058927                      EP
     5/7/2002    02009385.2             Granted 5/25/2005 1267329                      EP
     3/2/1999    99908047/6             Granted 7/24/2002 1058927                      FR
     5/7/2002    02009385.2             Granted   5/25/2005   1267329                  FR
     3/2/1999    99908047/6             Granted 7/24/2002 1058927                      GB
     5/7/2002    02009385.2             Granted 5/25/2005 1267329                      GB
     3/2/1999    2000-534999            Granted 12/6/2002 3378238                      JP
     3/2/1999    PCT/SE19991            Inactive                                       WO
                 00302                  (NAT)

To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

'359 patent have been filed, abandoned, withdrawn, or rejected.

                       4.           Licenses

           36.         Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. § 210.l2(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later date. 3               To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '359 patent.




        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                    PAGE   9

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 144 of 212




         C.       United States Patent No. 6,278,888

                  1.       Identification of the Patent and Ownership by Ericsson

         37.      The' 888 patent, entitled "Radiotelephones Having Contact-Sensitive User

Interfaces and Methods of Operating Same," was issued on August 21,2001, based upon United

States Patent Application No. 09/625,674, filed on July 25,2000. A Certified copy of the '888

patent is attached as Exhibit 8.

         38.      Ericsson owns by assignment the entire right, title and interest in the '888 patent.

Ericsson Inc. obtained all right, title and interest in the '888 patent from inventors John Joseph

Hays, Jr. and Curtis Wayne Thornton by assignments executed on December 19, 1997. The

assignments were recorded on December 30, 1997 at Reel/Frame 008951/0747.

         39.      Certified copies of the assignments for the '888 patent are attached as Exhibit 9.

         40.      An uncertified copy of the prosecution history of the '888 patent is included as

Appendix C. 4 The cited references identified in the prosecution history of the '888 patent are

included in Appendix N.

         41.      The '888 patent will expire on December 30,2017.

        42.      Ericsson asselis that Samsung sells for importation into the United States, impOlis

into the United States, and/or sells after importation mobile cellular devices that infringe claim

30 of the '888 patent.

        43.      The '888 patent is currently in reissue proceedings with the Patent and Trademark

Office, and a notice of allowance was issued on November 2, 2012. Upon reissue of the '888

patent, Ericsson will move to amend its complaint to reflect the reissued patent and claims.




4 Ericsson has requested a certified copy of the prosecution history for the '888 patent but was unable to obtain it
prior to filing.

COMPLAINT OF ERICSSON                                 PAGE 10

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 145 of 212




                     2.                 Nontechnical Description of the '888 Patent

         44.         The '888 patent discloses a mobile phone with a touch screen capable of scrolling

through pages or lists, and a touchscreen deactivation mode.                                            The concept of adding a

touchscreen to a mobile telephone has revolutionized the telecommunications industry, allowing

for much wider uses of mobile phones than as a voice communication device.                                                       However,

touchscreen phones are problematic because holding a touchscreen to a user's face when talking

has the effect of accidentally touching the screen.                                   The '888 patent solves the problem of

accidental data input during phone use by introducing a touchscreen deactivation mode. Under

certain circumstances, the touchscreen can be turned off so that accidental touchscreen input

does not occur.

                     3.                 Foreign Counterparts to the '888 Patent

         45.         The following is a list of all foreign counterparts to the '556 patent:

   tEL ;'~\r\~;~::\t,; .   >   .<....   .v.. .····IJ.i~l:.II~f~ilf';6SUJ; lPY~\X,:jf\/:'>?;/~;~i;;;Jr0;lKjt~,3~i\i~@r~~:lt;r"·H>;~r:f;a;,;;
                                               ;. '~,iC;.:;t':;';:;'(}.

     Application                 Application    Status                Patent                Patent                     Country
     Date                        Number                               Date                  Number
     12/1811998                  19311/99       GRANTED               4/412002              742268                     AU
     1211811998                  PI9814565-7    FILED                                                                  BR
     1211811998                  2317123        GRANTED               5/2912007 2317123                                CA
     12/1811998                  98812855-1     INACTIVE                                                               CN
     12118/1998                  P200000398     INACT(ABA)                                                             EE
     1211811998                  98964120.4     INACT(ABA)                                                             EP
     1211811998                  0110589910     INACTIVE                                                               HK
     1211811998                                 INACT(WIT)                                                             IN
     1211811998                  2000-527069    GRANTED               711512011 4783503                                JP
     1211811998                  2000-7007368 GRANTED                 8114/2007 0751195                                KR
     12118/1998                  P-341426       INACT(ABA)                                                             PL
     12118/1998                  2000101866     INACTIVE                                                               TR
                                 PCTlUS19981
     1211811998                  27042          INACT(NAT)                                                             WO

To the best of Ericsson's knowledge, information, and belief, there are no other foreign

counterparts to the '888 patent.


COMPLAINT OF ERICSSON                                                     PAGE   11

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 146 of 212




                  4.       Licenses

         Attached in Confidential Exhibit 4C is a list of licensees of one or more of the Asselied

Patents. Copies of license agreements pursuant to 19 C.F.R. § 21 0.12(a)(9)(iv) will be included

as Confidential Exhibit 5C at a later date. 5 To the best of Ericsson's knowledge, information,

and belief, there are no other licenses to or covenants-not-to-assert the '888 patent.

         D.       United States Patent No. 6,301,556

                  1.      Identification of the Patent and Ownership by Ericsson

         46.     The '556 patent, entitled "Reducing Sparseness in Coded Speech Signals," was

issued on October 9, 2001, based upon United States Patent Application No. 09/470,472, filed on

December 22,1999. A copy of the '556 patent is attached as Exhibit 10.

         47:     Ericsson owns by assignment the entire right, title and interest in the '556 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '556 patent from

inventors Roar Hagen, Bjorn Stig Erik Joharmson, Erik Ekudden and Willem Baastian Kleijn by

assignment executed on June 30, 1998. The assignments were recorded on August 6, 2001 at

Reel/Frame 012053/0237.

        48.      Certified copies of the assignments for the '556 patent are attached as Exhibit 11.

        49.      A celiified copy of the prosecution history of the '556 patent is included as

Appendix D. The cited references identified in the prosecution history of the '556 patent are

included in Appendix O.

         50.     The '556 patent will expire on December 22,2019.




        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGEl2

McKool320288vl
         Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 147 of 212




             51.              Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, andlor sells after importation mobile cellular devices that infringe claims

1 - 3,8,10,19,20,23,24,26 - 33, 38, 40,50,53,54,55,57,62 - 67, and 68 of the '556 patent.

                              2.      Nontechnical Description of the '556 Patent

             52.              The '556 patent discloses a technique that allows for the reduction of sparseness

of coded speech and the associated artifacts by operating on the output from a speech encoder to

produce a greater density of non-zero sample values. When coded speech is compressed, the

quality is generally degraded and annoying miifacts may be added to the compressed speech

signal. Further, some coders for cellular telecommunications prior to the invention described in

the' 556 patent resulted in sparseness (i. e., the situation wherein only a few of the samples of a

coded speech signal codebook entry have a non-zero sample value), especially when

compressing the speech signal. The invention described in the '556 patent created an anti-

sparseness operator for reducing the sparseness in a coded speech signal, allowing for increased

clarity in mobile telephone calls.

                              3.      Foreign Counterparts to the '556 Patent

             53.              The following is a list of all foreign counterparts to the' 556 patent:

    .•. . ••.•. •. . •• \>{   ", . . •. ·.~. . ·,,)···.~·..;(J.S.·P.~tenf§~Q~,$S{); . i···;:';·Y:';/<· .,' .:;"." •.•. '..<" ...
     Application                   Application           Status         Patent           Patent                   Country
     Date                          Number                               Date             Number
     8/2511998                     88952/98              Granted        2113/2003        753740                  AU
     8/2511998                     PI9811615-0           Filed                                                   BR
                                                                        10/23/200
      812511998                    2301886               Granted        7                2301886                  CA
                                                                        10/22/200
      812511998                    98808782/0            Granted        3                ZL98808782.0             CN
                                                                        10/23/200
      812511998                    98940752/3            Granted        2                69808936-7              DE
      8/2511998                    02013526.5            Granted        1119/2005        69828 709.6-08          DE
                                                                        10/23/200
      912/1997                     98940752.3            Granted        2                1008141                  EP

COMPLAINT OF ERICSSON                                              PAGE 13

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 148 of 212




     8/25/1998          02013526.5          Granted        1119/2005      1267330                 EP
     8/25/1998          20000449            Granted        5/14/2004      FI113595 B              FI
                                                           10/22/200
     8125/1998          98940752/3          Granted        2              1008141                 FR
     8/25/1998          02013526.5          Granted        1/19/2005      1267330                 FR
                                                           10/22/200
     8125/1998          98940752/3          Granted        2              1008141                 GB
     8/25/1998          02013526.5          Granted        1/19/2005      1267330                 GB
     8/25/1998          03103271-1          Granted        1/19/2005      03103271-1              HK
                                                           10/23/200
     8125/1998          98940752/3          Granted        2              1008141                 IT
     8/25/1998          02013526.5          Granted        1/19/2005      1267330                 IT
     8/25/1998          2000-509080         Granted        8/22/2003      3464450                 JP
     8/25/1998          20007002011         Granted        1/20/2004      0417351                 KR
     8/25/1998          2000001837          Granted        8/5/2004       221970                  MX
                                                           10/27/200
     8/25/1998          2000108437          Granted        4              2239239                 RU
     5/13/2004          2004114668          Granted        4/27/2010      2388069                 RU
     8/25/1998          200000714-6         Granted        4/11/2002      70917                   SG
                                                           10/16/200
     8/20/1998          87113740            Granted        0              116215                  TW
                        PCT/SE1998/0        Inact
     8/25/1998          1515                (NAT)                                                 WO

To the best of Ericsson's knowledge, information, and belief, there are no other foreign

counterparts to the '556 patent.

                  4.      Licenses

         54.      Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies oflicense agreements pursuant to 19 C.F.R. § 210.12(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later date. 6               To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '556 patent.




        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 14

McKool 320288v1
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 149 of 212




        E.        United States Patent No. 6,418,310

                  1.     Identification of the Patent and Ownership by Ericsson

        55.       The '310 patent, entitled "Wireless Subscriber Terminal Using Java Controller

Code," was issued on July 9, 2002, based upon United States Patent Application No. 09/368,663,

filed on August 5, 1999. A celiified copy of the '310 patent is attached as Exhibit 12.

        56.       Ericsson owns by assignment the entire right, title and interest in the ' 31 0 patent.

Ericsson Inc. obtained all right, title and interest in the '310 patent from inventor Paul W. Dent

by assignment executed on August 2, 1999. The assignments were recorded on August 5, 1999

at Reel/Frame 010160/0833.

        57.       A certified copy of the assignment for the '310 patent is attached as Exhibit 13.

        58.       A copy of the prosecution history of the '310 patent is included as Appendix E.

The cited references identified in the prosecution history of the ' 310 patent are included in

Appendix P.

        59.       The' 31 0 patent will expire on August 5, 2019.

        60.       Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, and/or sells after importation Accused Products that infringe claims 1,4,

6,9- 13, 16 - 19, and 20 ofthe '310 patent.

                  2.     Nontechnical Description of the '310 Patent

        61.       The' 310 patent discloses a wireless communication device controlled by a

control processor running a Java interpreter program which in turn runs a control program

written in Java. Both the control program and the Java interpreter program are stored in a ROM

accessible .. to the control processor.    Allowing Java to be used on a mobile device greatly

increases the functionality of the device, allowing for a wider variety of software and content to

be used and displayed.

COMPLAINT OF ERICSSON                             PAGElS

McKooI 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 150 of 212




                 3.       Foreign Counterparts to the '310 Patent

         62.      The following is a list of all foreign counterpmis to the' 31 0 patent:


     Application        Application        Status               Patent        Patent               Country
     Date               Number                                  Date          Number
                        PCTIUS20001
     7111/2000          40348              INACT(NAT)                                              WO

To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

, 31 0 patent have been filed, abandoned, withdrawn, or rej ected.

                 4.       Licenses

         63.     Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. § 210.12(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later date. 7 To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '310 patent.

        F.       United States Patent No. 6,445,917

                 1.       Identification of the Patent and Ownership by Ericsson

         64.     The '917 patent, entitled "Mobile Station Measurements With Event-Based

RepOliing," was issued on September 3, 2002, based upon United States Patent Application No.

09/314,019 filed on May 19, 1999. A copy of the '917 patent is attached as Exhibit 14.

        65.      Ericsson owns by assignment the entire right, title and interest in the '917 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '917 patent from

inventors GUllilar Bark and Joakim Bergstrom by assignment executed on May 26, 1999; and

from inventor Walter Muller by assignment executed on May 28, 1999. The assignments were

recorded on June 18, 1999, at ReellFrame 010038/0445.

        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 16

McKool320288v1
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 151 of 212




         66.      Certified copies of the assignments for the '917 patent are attached as Exhibit 15.

         67.      An uncertified copy of the prosecution history of the '917 patent is included as

Appendix F.8 The cited references identified in the prosecution history of the '917 patent are

included in Appendix Q.

         68.      The '917 patent will expire on May 19,2019.

         69.      Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, and/or sells after importation mobile cellular devices, including W-

CDMA handsets and LTE handsets and base stations that infringe claims 1,24 - 26, 28, 30, and

54 of the '917 patent.

                  2.      Nontechnical Description of the '917 Patent

         70.      The '917 patent relates to gathering information about a mobile network using

mobile stations. The patent discloses using mobile phones to continually measure the signal

strength and interference present in a network, but only send reports when queried or when

certain criteria are met. This sparse reporting reduces network traffic while also telling the

network where and on what channels interference and signal quality are worst. This helps the

network determine how to redistribute load to improve perfonnance.

                  3.      Foreign Counterparts to the '917 Patent

         71.      The following is a list of all foreign counterparts to the' 917 patent:


   Application         Application                                                                 Country
   Date                Number                              Date           Number
   5/19/2000           POO0102453         GRANTED          7111/2006      AR025840B1               AR
   5/9/2000            49635/00           GRANTED          5/9/2000       774570                   AU
   5/9/2000            00931815-5         GRANTED          8/27/2008      1179273                  BE
   5/9/2000            PI0010645-3        FILED                                                    BR

8 Ericsson has requested a certified copy of the prosecution history for the '917 patent but was unable to obtain it
prior to filing.

COMPLAINT OF ERICSSON                                 PAGE 17

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 152 of 212




    5/9/2000           00931815-5         GRANTED          8/27/2008      1179273                  CH
    5/9/2000           00810364-X         GRANTED          2/24/2010      ZL00810364.X             CN
    5/9/2000           00931815-5         GRANTED          8/27/2008      60040066.2               DE
    5/9/2000           00931815.5         GRANTED          8/27/2008      1179273                  EP
    5/9/2000           00931815-5         GRANTED          8/27/2008      1179273                  ES
    5/9/2000           00931815-5         GRANTED          8/2712008      1179273                  GB
                       W-OO 2001
    5/9/2000           02502              GRANTED          7112/2006      IDOOl7741                ID
                       IN/PCTI2001/       FILED
    5/9/2000           01411/MUM          (ALL)                                                    IN
                       00250/MUM          INACTIVA
    5/912000           NP/2005            TE                                                       IN
    5/9/2000           00931815-5         GRANTED          8/27/2008      1179273                  IT
    5/9/2000           2000-619224        GRANTED          8/13/2010      4567210                  JP
                                                           12111/200
    5/9/2000           2001-7014745       GRANTED          7              0786910                  KR
    5/1712000          PI20002164         GRANTED          5/31/2006      MY-123646,.A             MY
    5/9/2000           00931815-5         GRANTED          8/27/2008      1179273                  NL
    5/3/2000           89108397           GRANTED          1/212003       NI-162861                TW
                       PCT/SE2000/        INACT
    5/9/2000           00914              (NAT)                                                    WO
    5/9/2000           200119230          GRANTED          1/29/2003      200119230                ZA

To the best of Ericsson's knowledge, information, and belief, there are no other foreign

counterparts to the '917 patent.

                  4.      Licenses

         72.     Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. § 210.12(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later date. 9               To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '917 patent.




        Due to celiain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 18

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 153 of 212




        G.       United States Patent No. 6,473,506

                 1.     Identification of the Patent and Ownership by Ericsson

        73.      The '506 patent, entitled "Signaling Using Phase Rotation Techniques in a Digital

Communications System," was issued on October 29, 2002, based upon United States Patent

Application No. 091170,127, filed on October 13, 1998. A certified copy of the '506 patent is

attached as Exhibit 16.

        74.      Ericsson owns by assignment the entire right, title and interest in the '506 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '506 patent from

inventor Stefan Javerbring by assignment executed on January 13, 1999, and from inventor

Mikael Hook by assignment executed on January 14, 1999. The assignments were recorded on

January 27, 1999 at Reel/Frame 009744/0918.

        75.      A certified copy of the assignment for the ' 5 06 patent is attached as Exhibit 17.

        76.      A certified copy of the prosecution history of the '506 patent is included as

Appendix G. The cited references identified in the prosecution history of the '506 patent are

included in Appendix R.

        77.      The '506 patent will expire on October 13,2018.

        78.      Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, and/or sells after importation Accused Products that infringe claims 1, 4,

6, 7, 17,20,22, and 23 of the '506 patent.

                 2.     Nontechnical Description of the '506 Patent

        79.      The '506 patent describes a technique that allows a transmitter in a cellular

system to inform the receiver of the selected modulation format without increasing the

bandwidth required to transmit the information. The modulation format is efficiently conveyed

from the transmitter to the receiver without increasing the bandwidth requirements and without

COMPLAINT OF ERICSSON                            PAGE 19

McKoo1320288v1
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 154 of 212




introducing additional transmission delays by employing a data symbol phase rotation technique,

wherein a sequence of data symbols are uniquely phase-rotated so that the rotation corresponds

to the information being conveyed to the receiver.

                       3.          Foreign Counterparts to the '506 Patent

          80.          The following is a list of all foreign counterparts to the '506 patent:

    • j.).XS.·:\.·.S.U . 'iS~;~)<;'i••·'.'~:.:~';~.;~'j:f:.':S'Y.$~ .• p~i.   ·M4'l3;..;;nh;::./:~R~;;l;~.ii.·!:~;.}~;h{ •• ·)·;·X • ··.·o·r.·.·.;:.:b. ;.• . ,:\
     Application              Application                   Status            Patent                    Patent                              Country
     Date                     Number                                          Date                      Number
     8/11/1999                5644899                       Granted           12/1112003                764818                              AU
     8/11/1999                2306806                       Granted           10/3012007                2306806                             CA
     8/11/1999                998018155                     Granted           2/9/2005                  ZL998018155                         CN
     8/11/1999                99943179.4                    Granted           10/8/2008                 1021898                             DE
     8/11/1999                99943179.4                    Granted           10/8/2008                 1021898                             EP
     8/11/1999                99943179.4                    Granted           10/8/2008                 1021898                             GB
     8/11/1999                2000-565650                   Granted           7128/2006                 3832716                             JP
                              10-2000-
     8/11/1999                7003905                       Granted           12/18/2006                XX-XXXXXXX                          KR
                              PCT/IB199910                  Inact
     8/11/1999                1589                          (NAT)                                                                           WO

To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

'506 patent have been filed, abandoned, withdrawn, or rejected.

                       4.          Licenses

          81.          Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. § 210.12(a)(9)(iv) will be
                                                                                       IO
included as Confidential Exhibit 5C at a later date.                                          To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '506 patent.




10      Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                                     PAGE 20

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 155 of 212




        H.       United States Patent No. 6,519,223

                 1.     Identification of the Patent and Ownership by Ericsson

        82.      The '223 patent, entitled "System and Method for Implementing a Semi Reliable

Retransmission Protocol," was issued on February 11, 2003, based upon United States Patent

Application No. 09/287,392, filed on April 6, 1999. A certified copy of the '223 patent is

attached as Exhibit 18.

        83.      Ericsson owns by assignment the entire right, title and interest in the '223 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '223 patent from

inventors Stefan Hemik Andreas Wager and Reiner Ludwig by assignment executed on May 31,

1999, and November 9,1999, and recorded on March 27,2000, at Reel/Frame 010715/0167.

        84.      A certified copy of the assignment for the '223 patent is attached as Exhibit 19.

        85.      A certified copy of the prosecution history of the '223 patent is included as

Appendix H. The cited references identified in the prosecution history of the '223 patent are

included in Appendix S.

        86.      The '223 patent will expire on April 6, 2019.

        87.      Ericsson asserts that Samsung sells for importation into the United States, impolis

into the United States, and/or sells after importation Accused Products that infringe claims 1-3,

11-14,19,21,22, and 30-32 of the '223 patent.

                 2.     Nontechnical Description ofthe '223 Patent

        88.      When data is transferred between different nodes of a wireless network, portions

of the data, e.g., packets of data, may become corrupted or may not be received by the intended

recipient. In order to alleviate this problem, network components can transmit error control

feedback responses to request re-transmission of the lost data.          However, this process of

transmitting, re-requesting, and re-transmitting data may cause unacceptable delays for some

COMPLAINT OF ERICSSON                           PAGE2l

McKool320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 156 of 212




applications, e.g., applications that occur in real time such as telephone conversations and

streaming video. Thus, network devices may include various timers and protocols, which end

the feedback response process when the lost data is no longer needed. The '223 patent describes

a system for determining when to end the feedback response process by implementing a series of

timers for the sent data units.            The parameters of these timers may vary depending on the

particular application of the data being transmitted.

                  3.         Foreign Counterparts to the '223 Patent

         89.      The following is a list of all foreign counterparts to the '223 patent:

,~0'/     t<:l:,;;\.                       J.~~1'Piitt:niN6;,6,"51'~2i2~·•..• ··;.<i'.;.;:i{'·f·           .' . •. y/ t ";i ';i;~,{i
Y~~f{·:
·i;..
                 I Al1nl'i
      S .~·;i~l:~; I~-{~,~'i~;;-:
                             Hllur'
                                                  h   I~.~g~   ··?~~i<0sr;·,~G10~~I>i····l····
                                                            ;~.~s.                            .· . ·;.•
                                                                             :"':7.~.'f,.:\1.5'· ;I·.·u tJ?:,~te,:       Ct- "L\7.
                                                                                                                               CCJ

                                      .....i;. p,;\,,,;:.j.i it,~.;.~ ~··;··;>( ... \.·I. :i:~tl?f;; ....<j li~R.·.• ; .;- .. ,·.·.~·/.·.
                                            ;.;".
                                                  ':(                                                                ?

   4/412000          000101539                  GRANTED               AR023383B1                          8/29/2005        AR
   4/412000          39943/00                   GRANTED               764700                              12/11/2003       AU
   41412000          PIOO09590-7                FILED                                                                      BR
   4/412000          2368770                    FILED                                                                      CA
   4/4/2000          00808572.2                 GRANTED               ZL00808572.2                        1/7/2004         CN
   414/2000          200310118173.5             GRANTED               ZL200310118173.5                    10110/2007       CN
   4/412000          00919241.0                 GRANTED               60040847-7                          11119/2008       DE
   4/412000          00919241.0                 GRANTED               1166486                             11119/2008       EP
   4/412000          00919241.0                 GRANTED               1166486                             11119/2008       ES
   4/412000          00919241.0                 GRANTED               1166486                             11119/2008       FR
   4/412000          00919241.0                 GRANTED               1166486                             11119/2008       GB
   4/412000          2001/01323/MUM             GRANTED               207082                              6/4/2007         IN
   4/4/2000          977/MUMNP/2005             FILED                                                                      IN
   414/2000          00919241.0                 GRANTED              1166486                              11119/2008       IT
   4/412000          2000-610171                GRANTED              3763741                              1/5/2006         JP
   4/4/2000          10-2001-7012313            GRANTED              737724                               7/4/2007         KR
   4/4/2000          PI20001387                 GRANTED              MY127210-A                           11/30/2006       MY
   414/2000          00919241.0                 GRANTED              1166486                              11119/2008       NL
   3/30/2000         89105935                   GRANTED              NI-148594                            5/6/2002         TW
   4/4/2000          PCTISE200010064 7          Inact(NAT)                                                                 WO


To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

'223 patent have been filed, abandoned, withdrawn, or rejected.



COMPLAINT OF ERICSSON                                       PAGE 22

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 157 of 212



                  4.      Licenses

         90.      Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. §210.12(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later date. ll To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '223 patent.

        I.        United States Patent No. 6,624,832

                  1.      Identification of the Patent and Ownership by Ericsson

         91.      The '832 patent, entitled "Methods, Apparatus and Computer Program Products

for Providing User Input to an Application Using a Contact-Sensitive Surface," was issued on

September 23, 2003, based upon United States Patent Application No. 08/960,236, filed on

October 29, 1997. A certified copy of the '832 patent is attached as Exhibit 20.

         92.      Ericsson owns by assignment the entire right, title and interest in the' 832 patent.

Ericsson Inc. obtained all right, title and interest in the' 832 patent from inventor Eric Anthony

Thomas by assignment executed on October 27,1997. The assignment was recorded on October

29,1997 at Reel/Frame 008868/0218.

         93.      A certified copy of the assignment for the '832 patent is attached as Exhibit 21.

         94.      A copy of the prosecution history of the '832 patent is included as Appendix I.

The cited references identified in the prosecution history of the '832 patent are included in

Appendix T.

         95.      The term of the '832 patent is extended or adjusted under 35 U.S.C. 154(b) by

853 days and will expire on February 29, 2020.



11
        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 23

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 158 of 212




         96.      Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, and/or sells after importation Accused Products that infringe claims 1, 4,

9, 10, and 12 of the '832 patent.

                  2.       Nontechnical Description of the '832 Patent

         97.      The '832 patent discloses a technique for providing user input to a device with a

touch-sensitive surface that allows a user to provide input in different user input modes by using

different contact point configurations. Prior to the invention described in the '832 patent, touch-

screen mobile devices allowed only a single contact point for inputting information. The use of

multiple contact points greatly increases the usability of a touch-screen mobile device, allowing

for a wide variety of new instructions and commands from touch inputs.

                  3.       Foreign Counterparts to the '832 Patent

         98.      To the best of Ericsson's knowledge, information, and belief, no foreign

counterparts to the '832 patent have been filed, abandoned, withdrawn, or rejected.

                  4.      Licenses

         99.      Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies oflicense agreements pursuant to 19 C.F.R. § 210. 12(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later date. 12 To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '970 patent.

         J.       United States Patent No. 6,772,215

                  1.      Identification of the Patent and Ownership by Ericsson

         100.     The '215 patent, entitled "Method for Minimizing Feedback Responses in ARQ

Protocols," was issued on August 3, 2004, based upon United States Patent Application No.

12
        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 24

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 159 of 212




09/537,146, filed on March 29,2000. A certified copy of the '215 patent is attached as Exhibit

22.

        101.     Ericsson owns by assignment the entire right, title and interest in the '215 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '215 patent from

inventors Bela Rathonyi, Joachim Sachs, Michael Meyer, Per Berning, Mathias Johansson,

Christiaan Roobol, Erik Schon, and Kazuhiko Inoue by assignment executed on March 21-27,

2000, and recorded on July 3,2000, at Reel/Frame 010947/0046.

        102.     A certified copy of the assignment for the '215 patent is attached as Exhibit 23.

        103.     A celiified copy of the prosecution history of the '215 patent is included as

Appendix J. The cited references identified in the prosecution history of the '215 patent are

included in Appendix U.

        104.     The '215 patent will expire on April 9, 2019.

        105.     Ericsson asserts that Samsung sells for importation into the United States, imports

into the United States, and/or sells after importation Accused Products that infringe claims 1, 2,

4,6,8, 15,22,25,26,29,32,34,45,46,49,52, and 54 of the '215 patent.

                 2.     Nontechnical Description of the '215 Patent

        106.     When data is transferred between different nodes of a wireless network, portions

of the data may become corrupted or may not be received by the intended recipient. In order to

alleviate this problem, network components can transmit error control feedback responses to

request re-transmission of the lost data portions. The '215 patent describes multiple methods of

encoding feedback responses to accurately describe which portions have been lost. However, the

most appropriate method for encoding a feedback response may vary in practice (e.g., based on

the number and order of lost data packets). Accordingly, the '215 patented method allows for



COMPLAINT OF ERICSSON                           PAGE2S

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 160 of 212




switching between multiple encoding methods in a manner that can be understood by both

transmitters and receivers in a network.

                  3.       Foreign Counterparts to the '215 Patent

         107.     The following is a list of all foreign counterparts to the '215 patent:




4/712000         POO0101623          GRANTED    25836                                     12119/2005 AR
4/712000         43228/00            GRANTED    764613                                    12111/2003 AU
4/712000         PIOO09680-6         FILED                                                           BR
4/7/2000         2369642             FILED                                                           CA
4/7/2000         00808706-7          OPPOSITION ZL00808706.7                              1/2/2008   CN
                                     INACTIVE
4/712000         00923044.2          ABANDONED                                                            EP
4/7/2000         IN/200 1/0 1314/MUM GRANTED    235152                                    6/26/2009       IN
4/7/2000         2000-611424         GRANTED    4579421                                   9/3/2010        JP
                                     INACTIVE
4/712000         2001-7012783        ABANDONED                                                            KR
4/712000         PI20001435          GRANTED    MY-125271-A                               7/31/2006       MY
4/812000         89106547            GRANTED    NI-169947                                 5/15/2003       TW
                                     INACTIVE
                                     NATIONAL
4/712000         PCTISE2000100677    STAGE                                                                WO

To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

'215 patent have been filed, abandoned, withdrawn, or rejected.

                  4.      Licenses

         108.     Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. §210.12(a)(9)(iv) will be

included as Confidential Exhibit 5C at a later dateY To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '215 patent.


13
        Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent -Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 26

McKoo1320288vl
          Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 161 of 212




            K.       United States Patent No. 8,169,992

                     1.       Identification of the Patent and Ownership by Ericsson

            109.     The' 992 patent, entitled "Uplink Scrambling During Random Access," was

issued on May 1, 2012, based upon United States Patent Application No. 11/835,782, filed on

August 8, 2007. An uncertified copy of the '992 patent is attached as Exhibit 24.14

            110.     Ericsson owns by assignment the entire right, title and interest in the '992 patent.

Telefonaktiebolaget LM Ericsson obtained all right, title and interest in the '992 patent from

inventors Stefan Parkvall, Erik Dahlman, and Tobias Tynderfeldt by assignment executed on

August 27-29, 2007.              The assignments were recorded on October 22, 2007 at Reel/Frame
                                                                             (




020034/0200.

            111.     An uncertified copy of the assignment for the '992 patent is attached as Exhibit



            112.     An uncertified copy of the prosecution history of the '992 patent is included as

Appendix K.16 The cited references identified in the prosecution history of the '992 patent are

included in Appendix V.

            113.     The '992 patent will expire on February 20,2030.

            114.     Ericsson asserts that Samsung sells for impOliation into the United States, imports

into the United States, and/or sells after importation Accused Products that infringe claims 1, 3,

5,6, 7, 8, 10, 11, 12, 13, 14, and 15 of the '992 patent.




14   Ericsson has requested a certified copy of the '992 patent but was unable to obtain it prior to filing.

15 Ericsson has requested a certified copy of the assigmnent for the '992 patent but was unable to obtain it prior to
filing.

16 Ericsson has requested a certified copy of the prosecution history for the '992 patent but was unable to obtain it
prior to filing.

COMPLAINT OF ERICSSON                                      PAGE 27

McKoo1320288v1
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 162 of 212




                 2.       Nontechnical Description of the '992 Patent

        115.     The' 992 patent discloses an improved technique for a user terminal to gam

access to a radio base station in a cellular network. To gain access to a cellular network for data

transmission, a user terminal may request access over a random access channel. This invention

improves the operation of random access systems by providing techniques for better identifying

the user terminal requesting access, minimizing interference, estimating the channel conditions

between the user terminal and the base station, allocating resources for communication with the

user terminal,. and establishing timing and synchronization between the user terminal and the

base station.

                 3.       Foreign Counterparts to the '992 Patent

        116.     The following is a list of all foreign counterparts to the '992 patent:


     Application        Application    Status              Patent       Patent             Country
     Date               Number                             Date         Number
     7/312008           197/2010       FILED                                               EG
     7/3/2008           0879410.3      FILED                                               EP
                        0816/KOLNPI    FILED
     7/3/2008           2010                                                               IN
     8/16/2008          2010-519888    GRANTED             8/24/2012    5070339            JP
     8/16/2012          2012-180645    FILED                                               JP
     7/3/2008           2010108231     FILED                                               RU
     8/6/2008           0801004083     FILED                                               TH
                        PCT/SE20081    INACT
     7/3/2008           050832         (NAT)                                               WO

To the best of Ericsson's knowledge, information, and belief, no other foreign counterparts to the

'992 patent have been filed, abandoned, withdrawn, or rejected.

                 4.       Licenses

        117.     Attached in Confidential Exhibit 4C is a list of licensees of one or more of the

Asserted Patents. Copies of license agreements pursuant to 19 C.F.R. § 21O.l2(a)(9)(iv) will be


COMPLAINT OF ERICSSON                            PAGE 28

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 163 of 212




included as Confidential Exhibit 5C at a later date. I7 To the best of Ericsson's knowledge,

information, and belief, there are no other licenses to or covenants-not-to-assert the '992 patent.

  v.       UNLAWFUL AND UNFAIR ACTS OF PROPOSED RESPONDENTS -
           PATENT INFRINGEMENT, AND SPECIFIC INSTANCES OF UNFAIR
           IMPORTATION AND SALE

         118.    On information and belief, Samsung imports into the United States, sells for

importation into the United States, and/or sells after importation into the United States the

Accused Products, including cellular phones, tablet computers, base stations, televisions, and

media players, and components thereof that infringe one or more claims of the Asserted Patents.

        A.       Infringement of United States Patent No. 6,029,052

         119.    On information and belief, Samsung imports, sells for importation and/or sells

after impOliation into the United States, Accused Products that infringe the '052 patent.

         120.    On information and belief, Samsung directly and indirectly infringes the asserted

claims of the '052 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones and tablet computers.

         121.    Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.              Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '052 patent and did so with intent

to encourage infringement.           Confidential Exhibit 59C,         1 2.    Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '052 patent. Moreover,



17      Due to celiain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 29

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 164 of 212




the '052 patent, inter alia, was the subject of Ericsson's Section 337 complaint against Samsung

in Certain Wireless Communication Devices, Components Thereof, and Products Containing the

Same, ITC Inv. No. 337-TA-583. Moreover, on November 27,2012, a district comi action was

brought against Samsung alleging that it infringed the '052 patent.

        122.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless

communication devices that are components of machines, manufactures, combinations, and/or

compositions that infringe Ericsson's patent, and/or by providing wireless communication

devices that are materials or apparatus for use in practicing Ericsson's patented process and

constitute a material part of the invention. And, as discussed in the previous paragraph, Samsung

knew or was willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

        123.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Captivate Glide (SGH-I927). As representative, the

Samsung Captivate Glide is manufactured outside the United States. Exhibit 26. The Samsung

Captivate Glide is imported into the United States and sold after importation.       Exhibit 27.

Further discovery may reveal additional infringing products and/or models. Moreover, further

discovery may reveal additional claims of the '052 patent are infringed.

        124.     A physical sample of the Samsung Captivate Glide is attached as Physical Exhibit

No. 1. A claim chart demonstrating that the Samsung Captivate Glide infringes claims 1 and 13

of the '052 patent is attached as Exhibit 28.




COMPLAINT OF ERICSSON                           PAGE 30

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 165 of 212




         125.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Captivate Glide (SGH-I927).

        B.        Infringement of United States Patent No. 6,058,359

         126.     On information and belief, Samsung imports, sells for importation and/or sells

after importation into the United States, Accused Products that infringe the '359 patent.

         127.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the '359 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones.

         128.     Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encomage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.        Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '359 patent and did so with intent

to encomage infringement.        Confidential Exhibit 59C,    ~   2.   Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '359 patent. Moreover,

the '359 patent, inter alia, was at issue between the parties in Ericsson Inc. et al. v. Samsung

Electronics Co.) Ltd. et al., Case No. 2:06-cv-0063 (E.D. Tex.), which was filed in 2006.

Moreover, on November 27, 2012, a district comt action was brought against Samsung alleging

that it infringed the '359 patent.

         129.     Upon information and belief, Samsung fmther contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless

communication devices that are components of machines, manufactures, combinations, and/or

compositions that infringe Ericsson's patent, and/or by providing wireless communication

devices that are materials or apparatus for use in practicing Ericsson's patented process and
COMPLAINT OF ERICSSON                           PAGE3]

McKoo] 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 166 of 212




constitute a material part of the invention. And, as discussed in the previous paragraph, Samsung

kl1ew or was willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

        130.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy S III. As representative, the Samsung Galaxy

S III is manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is

imported into the United States and sold after importation. Exhibit 30. Further discovery may

reveal additional infringing products and/or models. Moreover, further discovery may reveal

additional claims of the '359 patent are infringed.

        131.     A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 28 and 40 of

the '359 patent is attached as Exhibit 31.

        132.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-I535, SCH-R680, SCH-R850, SCH-U810,

SCH-A137, SGH-A637, SGH-A657, SGH-A687, SGH-A697, SGH-A767, SGH-A777, SGH-

A797, SGH-A837, SGH-A867, SGH-A877, SGH-A887, SGH-A897, SGH-A927, SGH-I317,

SGH-I547, SGH-I577, SGH-I617, SGH-I627, SGH-I637, SGH-I667, SGH-I717, SGH-I727,

SGH-I747, SGH-I777, SGH-I827, SGH-I847, SGH-I857, SGH-I897, SGH-I907, SGH-I917,

SGH-I927, SGH-I937, SGH-I997, SGH-T119, SGH-T359, SGH-T469, SGH-T479, SGH-T499,

SGH-T559, SGH-T589, SGH-T659, SGH-T669, SGH-T679, SGH-T749, SGH-T759, SGH-

T769, SGH-T839, SGH-T879, SGH-T889, SGH-T919, SGH-T929, SGH-T939, SGH-T959,

SGH-T959V, SGH-T989, SGH-T999, and SPH-I350.


COMPLAINT OF ERICSSON                          PAGE 32

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 167 of 212




        c.        Infringement of United States Patent No. 6,278,888

         133.     On information and belief, Samsung impOlis, sells for importation or sells after

importation into the United States, Accused Products that infringe the '888 patent.

         134.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the' 888 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones and tablet computers.

         135.     Upon information and belief, Samsung further induces others, including users of

the accused mobile cellular devices, by providing directions, demonstrations, guides, and/or

manuals that encourage and facilitate others to perform actions known and intended by Samsung

to be acts of infringement. Upon information and belief, Samsung knew or should have known

their actions would cause direct infringement of the '888 patent and did so with intent to

encourage direct infringement. Confidential Exhibit 59C, , 2. Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '888 patent. Moreover,

on November 27, 2012, a district court action was brought against Samsung alleging that it

infringed the '888 patent.

         136.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused mobile cellular devices, by providing mobile cellular

devices that are components of Ericsson's patented machines, manufactures, combinations,

and/or compositions, and/or by providing mobile cellular devices that are materials or apparatus

for use in practicing Ericsson's patented process and constitute a material part of the invention,.

And, as discussed in the previous paragraph, Samsung knew or should have known the same to

be especially made or especially adapted for use in an infringement of such patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.



COMPLAINT OF ERICSSON                           PAGE 33

McKooI 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 168 of 212




        137.      The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy S III. As representative, the Samsung Galaxy

S III is manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is

imported into the United States and sold after importation. Exhibit 30. Fmiher discovery may

reveal additional infringing products and/or models. Moreover, further discovery may reveal

additional claims of the '888 patent are infringed.

        138.      A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claim 30 of the '888

patent is attached as Exhibit 32.

        139.      The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-IlOO, SCH-Il10, SCH-I200, SCH-I400,

SCH-I405,        SCH-I405U,    SCH-I500     "Mesmerize,"    SCH-I500     "Showcase,"    SCH-I500

"Fascinate," SCH-I510, SCH-I515, SCH-I535, SCH-I605, SCH-L710, SCH-M828C, SCH-

R530, SCH-R680, SCH-R720 "Admire," SCH-R720 "Vitality," SCH-R730, SCH-R760, SCH-

R880, SCH-R910, SCH-R915, SCH-R920, SCH-R930, SCH-R940, SCH-R950, SCH-S720C,

SCH-S950C, SGH-I317, SGH-I547, SGH-I577, SGH-I727, SGH-I827, SGH-I847, SGH-I857,

SGH-I897, SGH-I927, SGH-I997, SGH-S959G, SGH-T499, SGH-T589, SGH-T679, SGH-

T669, SGH-T759, SGH-T769, SGH-T839, SGH-T879, SGH-T889, SGH-T939, SGH-T959,

SGH-T959V, SGH-T989, SGH-T999, SPH-D600, SPH-D700, SPH-D710, SPH-D720, SPH-

L710, SPH-L900, SPH-M580, SPH-M820, SPH-M830, SPH-M900, SPH-M920, SPH-M930,

and SPH-M950.

        D.       Infringement of United States Patent No. 6,301,556

        140.      On information and belief, Samsung imports, sells for importation or sells after

importation into the United States, Accused Products that infringe the '556 patent.
COMPLAINT OF ERICSSON                          PAGE 34

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 169 of 212



        141.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the ' 556 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones.

        142.     Upon information and belief, Samsung further induces others, including users of

the accused mobile cellular devices, by providing directions, demonstrations, guides, and/or

manuals that encourage and facilitate others to perform actions known and intended by Samsung

to be acts of infringement. Upon information and belief, Samsung knew or should have known

their actions would cause direct infringement of the '556 patent and did so with intent to

encourage direct infringement. Confidential Exhibit 59C,      'II 2. Samsung was previously the
beneficiary of a license and/or a covenant not to sue with respect to the '556 patent. Moreover,

the '556 patent, inter alia, was at issue between the parties in Ericsson Inc. et al. v. Samsung

Electronics Co.) Ltd. et al., Case No. 2:06-cv-0063 (E.D. Tex.), which was filed in 2006.

Moreover, on November 27, 2012, a district court action was brought against Samsung alleging

that it infringed the '556 patent.

        143.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused mobile cellular devices, by providing mobile cellular

devices that are components of Ericsson's patented machines, manufactures, combinations,

and/or compositions, and/or by providing mobile cellular devices that are materials or apparatus

for use in practicing Ericsson's patented process and constitute a material part of the invention,.

And, as discussed in the previous paragraph, Samsung knew or should have known the same to

be especially made or especially adapted for use in an infringement of such patent, and not a

staple article or commodity of commerce suitable for substantial non-infringing use.




COMPLAINT OF ERICSSON                          PAGE 35

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 170 of 212




        144.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy S III. As representative, the Samsung Galaxy

S III is manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is

imported into the United States and sold after importation. Exhibit 30. Further discovery may

reveal additional infringing products and/or models. Moreover, fmiher discovery may reveal

additional claims of the '556 patent are infringed.

        145.     A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 1,31,50,

and 53 of the '556 patent is attached as Exhibit 33.

        146.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-I535, SCH-R680, SCH-R850, SCH-U810,

SCH-A137, SGH-A637, SGH-A657, SGH-A687, SGH-A697, SGH-A767, SGH-A777, SGH-

A797, SGH-A837, SGH-A867, SGH-A877, SGH-A887, SGH-A897, SGH-A927, SGH-I317,

SGH-I547, SGH-I577, SGH-I617, SGH-I627, SGH-I637, SGH-I667, SGH-I717, SGH-In7,

SGH-I747, SGH-I777, SGH-I827, SGH-I847, SGH-I857, SGH-I897, SGH-I907, SGH-I917,

SGH-I927, SGH-I937, SGH-I997, SGH-Tl19, SGH-T359, SGH-T469, SGH-T479, SGH-T499,

SGH-T559, SGH-T589, SGH-T659, SGH-T669, SGH-T679, SGH-T749, SGH-T759, SGH-

T769, SGH-T839, SGH-T879, SGH-T889, SGH-T919, SGH-T929, SGH-T939, SGH-T959,

SGH-T959V, SGH-T989, SGH-T999, and SPH-I350.

        E.       Infringement of United States Patent No. 6,418,310

        147.     On information and belief, Samsung imports, sells for importation and/or sells

after importation into the United States, Accused Products that infringe the '310 patent.




COMPLAINT OF ERICSSON                          PAGE 36

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 171 of 212



        148.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the '310 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones and tablet computers.

        149.     Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.        Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the' 310 patent and did so with intent

to encourage infringement.        Confidential Exhibit 59C,   ~   2.   Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '310 patent. Moreover,

on November 27, 2012, a district court action was brought against Samsung alleging that it

infringed the '310 patent.

        150.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless

communication devices that are components of Ericsson's patented machines, manufactures,

combinations, and/or compositions, and/or by providing wireless communication devices that are

materials or apparatus for use in practicing Ericsson's patented process and constitute a material

part of the invention.    And, as discussed in the previous paragraph, Samsung knew or was

willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple atiicle or commodity of commerce suitable for

substantial non-infringing use.

        151.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy S III. As representative, the Samsung Galaxy


COMPLAINT OF ERICSSON                          PAGE 37

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 172 of 212




S III is manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is

imported into the United States and sold after importation. Exhibit 30. Further discovery may

reveal additional infringing products and/or models. Moreover, fUliher discovery may reveal

                              °
additional claims of the' 31 patent are infringed.

        lS2.      A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 1,4, 6, and

13 of the '310 patent is attached as Exhibit 34.

        IS3.      The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-IlOO, SCH-IlI0, SCH-I200, SCH-I400,

SCH-I40S,        SCH-I40SU,    SCH-ISOO     "Mesmerize,"    SCH-ISOO     "Showcase,"    SCH-ISOO

"Fascinate," SCH-ISI0, SCH-I515, SCH-IS35, SCH-I60S, SCH-L710, SCH-M828C, SCH-

RS30, SCH-R680, SCH-R720 "Admire," SCH-R720 "Vitality," SCH-R730, SCH-R760, SCH-

R880, SCH-R910, SCH-R915, SCH-R920, SCH-R930, SCH-R940, SCH-R950, SCH-S720C,

SCH-S950C, SGH-1317, SGH-I547, SGH-IS77, SGH-In7, SGH-I827, SGH-I847, SGH-I857,

SGH-I897, SGH-I927, SGH-I997, SGH-S959G, SGH-T499, SGH-T589, SGH-T679, SGH-

T669, SGH-T7S9, SGH-T769, SGH-T839, SGH-T879, SGH-T889, SGH-T939, SGH-T959,

SGH-T9S9V, SGH-T989, SGH-T999, SPH-D600, SPH-D700, SPH-D710, SPH-DnO, SPH-

L710, SPH-L900, SPH-MS80, SPH-M820, SPH-M830, SPH-M900, SPH-M920, SPH-M930,

and SPH-M950.

        F.       Infringement of United States Patent No. 6,445,917

        154.     On information and belief, Samsung imports, sells for importation or sells after

importation into the United States, Accused Products that infringe the '917 patent.




COMPLAINT OF ERICSSON                          PAGE38

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 173 of 212




         155.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the '917 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including cellular telephones, tablet computers and base stations.

         156.     Upon information and belief, Samsung further induces others, including users of

the accused mobile cellular devices, by providing directions, demonstrations, guides, and/or

manuals that encourage and facilitate others to perform actions known and intended by Samsung

to be acts of infringement. Upon information and belief, Samsung knew or should have known

their actions would cause direct infringement of the '917 patent and did so with intent to

encourage direct infringement. Confidential Exhibit 59C, ,-r 2. Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '917 patent. Moreover,

on November 27, 2012, a district court action was brought against Samsung alleging that it

infringed the ' 91 7 patent.

         157.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused mobile cellular devices and base stations, by providing

mobile cellular devices and base stations that are components of Ericsson's patented machines,

manufactures, combinations, and/or compositions, and/or by providing mobile cellular devices

and base stations that are materials or apparatus for use in practicing Ericsson's patented process

and constitute a material pali of the invention,. And, as discussed in the previous paragraph,

Samsung knew or should have known the same to be especially made or especially adapted for

use in an infringement of such patent, and not a staple article or commodity of commerce

suitable for substantial non-infringing use.

         158.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy SIll, Samsung Galaxy Note, and the


COMPLAINT OF ERICSSON                           PAGE 39

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 174 of 212




Samsung Evolved Node B Macrocell.               As representative, the Samsung Galaxy       S III is
manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is imported into

the United States and sold after importation.          Exhibit 30.   Further discovery may reveal

additional infringing products and/or models. Moreover, further discovery may reveal additional

claims of the '917 patent are infringed.

         159.     A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 1,24, and 25

of the '917 patent is attached as Exhibit 35.

         160.     The Samsung Galaxy Note is manufactured outside the United States. Exhibit 41.

The Samsung Galaxy Note is      ~mported   into the United States and sold after importation. Exhibit

42. Further discovery may reveal additional infringing products and/or models. Moreover,

further discovery may reveal additional claims of the '917 patent are infringed.

         161.     A physical sample of the Samsung Galaxy Note is attached as Physical Exhibit

No.3. A claim chart demonstrating that the Samsung Galaxy Note infringes claims 1, 24, 25,

26, and 28 of the '917 patent is attached as Exhibit 43.

         162.     Upon information and belief, the Samsung Evolved Node B Macrocell, and/or

components thereof, is imported into the United States and/or sold' within the United States after

impOliation.      Photographs of the representative Samsung Evolved Node B Macrocell are

attached hereto as Exhibit 44. A claim chart demonstrating that the Samsung Evolved Node B

Macrocell infringes claims 30 and 54 of the '917 patent is attached as Exhibit 45.

         163.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-I200, SCH-I405, SCH-I405U, SCH-I510,

SCH-I515, SCH-I535, SCH-I605, SCH-L710, SCH-R530, SCH-R900, SCH-R910, SCH-R915,


COMPLAINT OF ERICSSON                            PAGE 40


McKool 320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 175 of 212




SCH-R920, SCH-R930, SCH-R940, SCH-R950, SGH-A157, SGH-A667, SGH-A687, SGH-

A797, SGH-I317, SGH-1547, SGH-1577, SGH-1667, SGH-1717, SGH-1727, SGH-I747, SGH-

1777, SGH-1897, SGH-1927, SGH-1997, SGH-T759, SGH-T839, SGH-T879, SGH-T889, SGH-

T959, SGH-T959V, SPH-L300, SPH-L710, SPH-L900, SGH-1957, SCH-1905, SCH-1815, and

the Samsung Evolved Node B Macrocell, Evolved Node B U-RAS Compact, Evolved Node B

Picocell, and Evolved Node B Femtocell.

        G.       Infringement of United States Patent No. 6,473,506

        164.     On information and belief, Samsung imports, sells for importation and/or sells

after importation into the United States, Accused Products that infringe the '506 patent.

        165.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the' 506 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones and tablet computers.

        166.     Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.       Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '506 patent and did so with intent

to encourage infringement.       Confidential Exhibit 59C,   ~   2.   Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '506 patent. Moreover,

the '506 patent, inter alia, was at issue between the parties in Ericsson Inc. et al. v. Samsung

Electronics Co.} Ltd. et al., Case No. 2:06-cv-0063 (E.D. Tex.), which was filed in 2006.

Moreover, on November 27, 2012, a district court action was brought against Samsung alleging

that it infringed the '506 patent.



COMPLAINT OF ERICSSON                          PAGE 41

McKoo1320288v1
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 176 of 212




        167.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless

communication devices that are components of Ericsson's patented machines, manufactures,

combinations, and/or compositions, and/or by providing wireless communication devices that are

materials or apparatus for use in practicing Ericsson's patented process and constitute a material

part of the invention.    And, as discussed in the previous paragraph, Samsung knew or was

willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

        168.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy S III. As representative, the Samsung Galaxy

S III is manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is

imported into the United States and sold after importation. Exhibit 30. Further discovery may

reveal additional infringing products and/or models. Moreover, further discovery may reveal

additional claims of the '506 patent are infringed.

        169.     A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 1 and 17 of

the '506 patent is attached as Exhibit 36.

        170.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-I535, SCH-R680, SCH-R850, SCH-U810,

SCH-A137, SGH-A637, SGH-A657, SGH-A687, SGH-A697, SGH-A767, SGH-A777, SGH-

A797, SGH-A837, SGH-A867, SGH-A877, SGH-A887, SGH-A897, SGH-A927, SGH-I317,

SGH-I547, SGH-I577, SGH-I617, SGH-I627, SGH-I637, SGH-I667, SGH-I717, SGH-I727,


COMPLAINT OF ERICSSON                          PAGE 42

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 177 of 212




SGH-I747, SGH-I777, SGH-I827, SGH-I847, SGH-I857, SGH-I897, SGH-I907, SGH-I917,

SGH-I927, SGH-I937, SGH-I997, SGH-T119, SGH-T359, SGH-T469, SGH-T479, SGH-T499,

SGH-T559, SGH-T589, SGH-T659, SGH-T669, SGH-T679, SGH-T749, SGH-T759, SGH-

T769, SGH-T839, SGH-T879, SGH-T889, SGH-T919, SGH-T929, SGH-T939, SGH-T959,

SGH-T959V, SGH-T989, SGH-T999, and SPH-I350.

        H.        Infringement of United States Patent No. 6,519,223

         171.     Samsung imports into the United States, sells for importation into the United

States and/or sells after importation into the United States, Accused Products that infringe the

, 223 patent.

         172.     Samsung directly and indirectly infringes the asserted claims of the '223 patent by

importing into the United States, selling for importation into the United States, and/or selling

after importation, the Accused Products including, but not limited to, certain televisions, blu-ray

players, cellular telephones, and tablet computers.

         173.     Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by
                                                                         ,

Samsung to be acts of infringement.         Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '223 patent and did so with intent

to encourage infringement.        Confidential Exhibit 59C, ,-r 2.    Samsung was previously the

beneficiary of a license and/or a covenant not to sue with respect to the '223 patent. Moreover,

on November 27, 2012, a district court action was brought against Samsung alleging that it

infringed the '223 patent.

         174.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless
COMPLAINT OF ERICSSON                            PAGE 43

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 178 of 212




communication devices that are components of Ericsson's patented machines, manufactures,

combinations, and/or compositions, and/or by providing wireless communication devices that are

materials or apparatus for use in practicing Ericsson's patented process and constitute a material

part of the invention.       And, as discussed in the previous paragraph, Samsung knew or was

willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

        175.      The accused Samsung 802.II-compliant wireless communication devices that

infringe the asserted claims specified herein include, but are not limited to, at least the Samsung

Galaxy S III. As representative, the Samsung Galaxy S III is manufactured outside the United

States. Exhibit 29. The Samsung Galaxy S III is imported into the United States and sold after

importation. Exhibit 30. Further discovery may reveal additional infringing products and/or

models. Moreover, further discovery may reveal that additional claims of the '223 patent are

infringed.

        176.      A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes independent claims

1, 11, 19, and 30 ofthe '223 patent is attached as Exhibit 37. Exhibit 37 is representative of the

infringement of all Samsung 802.1 I-compliant wireless communication products.

        177.      The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-I1IO "Illusion," SCH-I1IO "Proclaim,"

SCH-I200,        SCH-I400,    SCH-I405,      SCH-I405U,    SCH-I500     "Mesmerize,"    SCH-I500

"Showcase," and SCH-I500 "Fascinate," SCH-I5IO, SCH-I5I5, SCH-I535, SCH-I605, SCH-

L7IO, SCH-M828C, SCH-R390C "Comment 2," SCH-R390C "Freeform 4," SCH-R530, SCH-


COMPLAINT OF ERICSSON                          PAGE 44

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 179 of 212



R680, SCH-R730, SCH-R760, SCH-R910, SCH-R915, SCH-R930, SCH-R940, SCH-R950,

SCH-S720C, SCH-S950C, SGH-I317, SGH-I547, SGH-I557, SGH-I667, SGH-I677, SGH-I717,

SGH-I727, SGH-I747, SGH-I777, SGH-I827, SGH-I847, SGH-I857, SGH-I897, SGH-I917,

SGH-I927, SGH-I937, SGH-I997, SGH-S959G, SGH-T499, SGH-T589, SGH-T679, SGH-

T699, SGH-T759, SGH-T769, SGH-T839, SGH-T879, SGH-T889, SGH-T959, SGH-T959V,

SGH-T999, SPH-D600, SPH-D700, SPH-D710, SPH-D720, SPH-L300, SPH-L710, SPH-L900,

SPH-M580, SPH-M820, SPH-M830, SPH-M920, SPH-M930, SPH-M950, Galaxy Player 3.6

(TP-GS 1CB), Galaxy Player 4.0 (YP-G 1CWY), Galaxy Player 4.2 (YP-GIl CINA), and Galaxy

Player 5.0 (YP-G70CINAW).

        178.     The accused Samsung televisions that infringe the asserted claims specified herein

include, but are not limited to, at least Samsung's LED 8000 Series television.                 As

representative, the Samsung UN55D8000 television is manufactured outside the United States.

Exhibit 47. The Samsung UN55D8000 television is imported into the United States and sold

after importation.      Exhibit 48.   Further discovery may reveal additional infringing products

and/or models. Moreover, further discovery may reveal that additional claims of the '223 patent

are infringed.

        179.     A claim chart demonstrating that Samsung's LED 8000 Series television infringes

independent claims 1, 11, 19, and 30 of the '223 patent is attached as Exhibit 49. Exhibit 49 is

representative of the infringement of all Samsung 802.11-compliant television products.

        180.     The accused Samsung televisions that infringe the asserted claims specified herein

include, but are not limited to, at least Samsung's LED 8000 Series television, LED 7550 Series

television, LED 7500 Series television, LED 7150 Series television, LED 7100 Series television,

LED 6900 Series television, LED 6550 Series television, LED 6500 Series television, LED 6150


COMPLAINT OF ERICSSON                           PAGE 45

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 180 of 212




Series television, LED 6100 Series television, LED 6070 Series television, LED 5300 Series

television, Plasma 8000 Series television, Plasma 7000 Series television, Plasma 6500 Series

television, Plasma 550 Series television, and Plasma 490 Series television.

        181.     The accused Samsung blu-ray players that infringe the asserted claims specified

herein include, but are not limited to, at least Samsung's BD-E5700 Series. As representative,

the Samsung BD-E5700 Series blu-ray player is manufactured outside the United States. Exhibit

51. The Samsung BD-E5700 Series blu-ray player is impOlied into the United States and sold

after importation.      Exhibit 52.   Further discovery may reveal additional infringing products

and/or models. Moreover, further discovery may reveal that additional claims of the '223 patent

are infringed.

        182.     A physical sample of Samsung's BD-E5700 blu-ray player is attached as Physical

Exhibit No. 11. A claim chart demonstrating that Samsung's BD-E5700 blu-ray player infringes

independent claims 1, 11, 19, and 30 of the '223 patent is attached as Exhibit 53. Exhibit 53 is

representative of the infringement of all Samsung 802.11-compliant blu-ray products.

        183.     The accused Samsung blu-ray players that infringe the asserted claims specified

herein include, but are not limited to, at least Samsung's BD-C7900 Series, BD-C8000 Series,

BD-C7500 Series, BD-C6900 Series, BD-C6800 Series, BD-C6500 Series, BD-D7500 Series,

BD-D7000 Series, BD-D6700 Series, BD-D6500 Series, BD-D5700 Series, BD-E6500 Series,

BD-E5900 Series, BD-E5700 Series, BD-ES6000 Series, BD-EM59C, and BD-Em57C Series.

        184.     The accused Samsung tablet computer devices that infringe the asserted claims

specified herein include, but are not limited to, at least Samsung's Galaxy Tab (SCH-I815). As

representative, the Samsung Galaxy Tab (SCH-I815) is manufactured outside the United States.

Exhibit 55. The Samsung Galaxy Tab (SCH-I815) is imported into the United States and sold


COMPLAINT OF ERICSSON                           PAGE 46

McKoo1320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 181 of 212




after importation.      Exhibit 56.   Further discovery may reveal additional infringing products

and/or models. Moreover, fmiher discovery may reveal that additional claims of the '223 patent

are infringed.

        185.     A physical sample of Samsung's Galaxy Tab (SCH-I815) is attached as Physical

Exhibit No. 12. A claim chart demonstrating that Samsung's Galaxy Tab (SCH-I815) infringes

independent claims 1, 11, 19, and 30 of the '223 patent is attached as Exhibit 57. Exhibit 57 is

representative of the infringement of all Samsung 802 .11-compliant tablet computer products.

        186.     The accused Samsung tablet computer devices that infringe the asserted claims

specified herein include, but are not limited to, at least Samsung's Galaxy Tab Series (SCH-I815,

GT-P6210, SGH-T869, GT-P1010, SCH-I800, SGH-T849, SPH-P100, SGH-I987, SCH-I705,

GT-P3113, GT-P5113, SGH-I957, SCH-I905, GT-P7510, GT-P7310, and SGH-T859), Galaxy

Note Series (GT-N8013ZWYXAR and GT-N8013).

        I.       Infringement of United States Patent No. 6,624,832

        187.     On information and belief, Samsung imports, sells· for importation and/or sells

after importation into the United States, Accused Products that infringe the '832 patent.

        188.     On information and belief, Samsung directly and indirectly infringes the asserted

claims of the' 832 patent by importing, selling for importation, and/or selling after importation,

the Accused Products including, but not limited to, cellular telephones and tablet computers.

        189.     Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.         Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '832 patent and did so with intent

to encourage infringement.       Confidential Exhibit 59C,   ~   2.   Samsung was previously the
COMPLAINT OF ERICSSON                           PAGE 47

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 182 of 212




beneficiary of a license and/or a covenant not to sue with respect to the '832 patent. Moreover,

on November 27, 2012, a district court action was brought against Samsung alleging that it

infringed the '832 patent.

        190.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless

communication devices that are components of Ericsson's patented machines, manufactures,

combinations, and/or compositions, and/or by providing wireless communication devices that are

materials or apparatus for use in practicing Ericsson's patented process and constitute a material

part of the invention.    And, as discussed in the previous paragraph, Samsung knew or was

willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple miicle or commodity of commerce suitable for

substantial non-infringing use.

        191.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the Samsung Galaxy S III. As representative, the Samsung Galaxy

S III is manufactured outside the United States. Exhibit 29. The Smnsung Galaxy S III is

imported into the United States and sold after importation. Exhibit 30. Further discovery may

reveal additional infringing products and/or models. Moreover, further discovery may reveal

additional claims of the '832 patent are infringed.

        192.     A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 1, 9 and 12

of the '832 patent is attached as Exhibit 38.

        193.     The Accused Products that infringe the asserted claims specified herein include,

but are not limited to, at least the GT-I9020A, SCH-IlOO, SCH-Il10, SCH-I200, SCH-I400,


COMPLAINT OF EruCSSON                           PAGE 48

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 183 of 212




SCH-I405,        SCH-I405U,    SCH-I500      "Mesmerize,"     SCH-I500     "Showcase,"    SCH-I500

"Fascinate," SCH-I510, SCH-I515, SCH-I535, SCH-I605, SCH-L710, SCH-M828C, SCH-

R530, SCH-R680, SCH-RnO "Admire," SCH-RnO "Vitality," SCH-R730, SCH-R760, SCH-

R880, SCH-R910, SCH-R915, SCH-RnO, SCH-R930, SCH-R940, SCH-R950, SCH-S720C,

SCH-S950C, SGH-I317, SGH-I547, SGH-I577, SGH-In7, SGH-I827, SGH-I847, SGH-I857,

SGH-I897, SGH-In7, SGH-I997, SGH-S959G, SGH-T499, SGH-T589, SGH-T679, SGH-

T669, SGH-T759, SGH-T769, SGH-T839, SGH-T879, SGH-T889, SGH-T939, SGH-T959,

SGH-T959V, SGH-T989, SGH-T999, SPH-D600, SPH-D700, SPH-D710, SPH-DnO, SPH-

L710, SPH-L900, SPH-M580, SPH-M820, SPH-M830, SPH-M900, SPH-MnO, SPH-M930,

and SPH-M950.

        J.        Infringement of United States Patent No. 6,772,215

        194.      Samsung imports into the United States, sells for importation into the United

States and/or sells after importation into the United States, Accused Products that infringe the

'215 patent.

        195.      Samsung directly and indirectly infringes the asserted claims of the '215 patent by

importing into the United States, selling for importation, into the United States and/or selling

after importation, the Accused Products including, but not limited to, certain televisions, blu-ray

players, cellular telephones, and tablet computers.

        196.      Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.         Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '215 patent and did so with intent

to encourage infringement.        Confidential Exhibit 59C,   1 2.    Samsung was previously the
COMPLAINT OF ERICSSON                           PAGE 49

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 184 of 212




 beneficiary of a license and/or a covenant not to sue with respect to the '215 patent. Moreover,

 on November 27, 2012, a district court action was brought against Samsung alleging that it

 infringed the '215 patent.

         197.     Upon information and belief, Samsung further contributes to the infringement of

 others, including users of the accused wireless communication devices, by providing wireless

 communication devices that are components of Ericsson's patented machines, manufactures,

 combinations, and/or compositions, and/or by providing wireless communication devices that are

 materials or apparatus for use in practicing Ericsson's patented process and constitute a material

 part of the invention.    And, as discussed in the previous paragraph, Samsung knew or was

 willfully blind that the same was especially made or especially adapted for use in an

 infringement of such patent, and not a staple article or commodity of commerce suitable for

 substantial non-infringing use.

         198.     The accused 802.11-compliant wireless communication devices that infringe the

 asserted claims specified herein include, but are not limited to, at least the Samsung Galaxy S III.

 As representative, the Samsung Galaxy S III is manufactured outside the United States. Exhibit

 29. The Samsung Galaxy S III is imported into the United States and sold after importation.

 Exhibit 30.      Further discovery may reveal additional infringing products and/or models .

. Moreover, fuliher discovery may reveal that additional claims of the '215 patent are infringed.

         199.     A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes independent claims

 1, 15,25, and 45 of the '215 patent is attached as Exhibit 39. Exhibit 39 is representative of the

 infringement of all Samsung 802.11-compliant wireless communication products.




 COMPLAINT OF ERICSSON                          PAGE 50

 McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 185 of 212



        200.     The accused Samsung wireless communication devices that infringe the asserted

claims specified herein include, but are not limited to, at least the GT-19020A, SCH-IlI0

"Illusion," SCH-IlI0 "Proclaim," SCH-1200, SCH-1400, SCH-1405,             SCH-1405U, SCH-1500

"Mesmerize," SCH-1500 "Showcase," and SCH-1500 "Fascinate," SCH-1510, SCH-1515, SCH-

1535, SCH-1605, SCH-L710, SCH-M828C, SCH-R390C "Comment 2," SCH-R390C "Freeform

4," SCH-R530, SCH-R680, SCH-R730, SCH-R760, SCH-R910, SCH-R915, SCH-R930, SCH-

R940, SCH-R950, SCH-SnOC, SCH-S950C, SGH-I317, SGH-1547, SGH-1557, SGH-1667,

SGH-1677, SGH-I717, SGH-1727, SGH-I747, SGH-1777, SGH-1827, SGH-1847, SGH-1857,

SGH-1897, SGH-1917, SGH-1927, SGH-1937, SGH-1997, SGH-S959G, SGH-T499, SGH-T589,

SGH-T679, SGH-T699, SGH-T759, SGH-T769, SGH-T839, SGH-T879, SGH-T889, SGH-

T959, SGH-T959V, SGH-T999, SPH-D600, SPH-D700, SPH-D710, SPH-DnO, SPH-L300,

SPH-L710, SPH-L900, SPH-M580, SPH-M820, SPH-M830, SPH-M920, SPH-M930, SPH-

M950, Galaxy Player 3.6 (TP-GSICB), Galaxy Player 4.0 (YP-GICWY), Galaxy Player 4.2

(YP-GIl CINA) , and Galaxy Player 5.0 (YP-G70CINA W).

        201.     The accused Samsung televisions that infringe the asserted claims specified herein

include, but are not limited to, at least Samsung's LED 8000 Series television.                 As

representative, the Samsung UN55D8000 television is manufactured outside the United States.

Exhibit 47. The Samsung UN55D8000 television is imported into the United States and sold

after importation.      Exhibit 48.   Further discovery may reveal additional infringing products

and/or models. Moreover, further discovery may reveal that additional claims of the '215 patent

are infringed.




COMPLAINT OF ERICSSON                           PAGESl

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 186 of 212




        202.     A claim chart demonstrating that Samsung's 8000 Series television infringes

independent claims 1, 15,25, and 45 of the '215 patent is attached as Exhibit 50. Exhibit 50 is

representative of the infringement of all Samsung 802.11-compliant television products.

        203.     The accused Samsung televisions that infringe the asserted claims specified herein

include, but are not limited to, at least Samsung's LED 8000 Series television, LED 7550 Series

television, LED 7500 Series television, LED 7150 Series television, LED 7100 Series television,

LED 6900 Series television, LED 6550 Series television, LED 6500 Series television, LED 6150

Series television, LED 6100 Series television, LED 6070 Series television, LED 5300 Series

television, Plasma 8000 Series television, Plasma 7000 Series television, Plasma 6500 Series

television, Plasma 550 Series television, and Plasma 490 Series television.

        204.     The accused Samsung blu-ray players that infringe the asserted claims specified

herein include, but are not limited to, at least Samsung's BD-E5700 Series. As representative,

the Samsung BD-E5700 Series blu-ray player is manufactured outside the United States. Exhibit

51. The Samsung BD-E5700 Series blu-ray player is imported into the United States and sold

after importation.      Exhibit 52.   Further discovery may reveal additional infringing products

and/or models. Moreover, further discovery may reveal that additional claims of the '215 patent

are infringed.

        205.     A physical sample of Samsung's BD-E5700 blu-ray player is attached as Physical

Exhibit No. 11. A claim chart demonstrating that Samsung's BD-E5700 blu-ray player infringes

independent claims 1, 15,25, and 45 of the '215 patentis attached as Exhibit 54. Exhibit 54 is

representative of the infringement of all Samsung 802.11-compliant blu-ray products.

        206.     The accused Samsung blu-ray players that infringe the asserted claims specified

herein include, but are not limited to, at least Samsung's BD-C7900 Series, BD-C8000 Series,


COMPLAINT OF ERICSSON                           PAGE 52

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 187 of 212



BD-C7500 Series, BD-C6900 Series, BD-C6800 Series, BD-C6500 Series, BD-D7500 Series,

BD-D7000 Series, BD-D6700 Series, :BD-D6500 Series, BD-D5700 Series, BD-E6500 Series,

BD-E5900 Series, BD-E5700 Series, BD-ES6000 Series, BD-EM59C, and BD-Em57C.

        207.     The accused Samsung tablet computer devices that infringe the asselied claims

specified herein include, but are not limited to, at least Samsung's Galaxy Tab (SCH-I815). As

representative, the Sarnsung Galaxy Tab (SCH-I815) is manufactured outside the United States.

Exhibit 55. The Samsung Galaxy Tab (SCH-I815) is imported into the United States and sold

after importation.      Exhibit 56.   Fuliher discovery may reveal additional infringing products

and/or models. Moreover, further discovery may reveal that additional claims of the '215 patent

are infringed.

        208.     A physical sample of Samsung's Galaxy Tab (SCH-I815) is attached as Physical

Exhibit No. 12. A claim chali demonstrating that Samsung's Galaxy Tab (SCH-I815) infringes

independent claims 1', 15,25, and 45 of the '215 patent is attached as Exhibit 58. Exhibit 58 is

representative of the infringement of all Samsung 802.11-compliant tablet computer products.

        209.     The accused Samsung tablet computer devices that infringe the asselied claims

specified herein include, but are not limited to, at least Samsung's Galaxy Tab Series (SCH-I815,

GT-P6210, SGH-T869, GT-PI0I0, SCH-I800, SGH-T849, SPH-PI00, SGH-I987, SCH-I705,

GT-P3113, GT-P5113, SGH-I957, SCH-I905, GT-P7510, GT-P7310, and SGH-T859) and

Galaxy Note Series (GT-N8013ZWYXAR and GT-N8013).

        K.       Infringement of United States Patent No. 8,169,992

        210.     On information and belief, Samsung imports, sells for importation and/or sells

after importation into the United States, Accused Products that infringe the '992 patent.

        211.     On information and belief, Samsung directly and indirectly infringes the asselied

claims of the '992 patent by importing, selling for impoliation, and/or selling after importation,
COMPLAINT OF ERICSSON                           PAGE 53

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 188 of 212




the Accused Products including, but not limited to, cellular telephones, tablet computers, and

base stations.

        212.     Upon information and belief, Samsung further induces others, including users of

the accused wireless communication devices, by providing directions, demonstrations, guides,

and/or manuals that encourage and facilitate others to perform actions known and intended by

Samsung to be acts of infringement.       Upon information and belief, Samsung knew or was

willfully blind that its actions would cause infringement of the '992 patent and did so with intent

to encourage infringement. Confidential Exhibit 59C,     ~   2. On November 27, 2012, a district

court action was brought against Samsung alleging that it infringed the '474 patent.

        213.     Upon information and belief, Samsung further contributes to the infringement of

others, including users of the accused wireless communication devices, by providing wireless

communication devices that are components of Ericsson's patented machines, manufa9tures,

combinations, and/or compositions, and/or by providing wireless communication devices that are

materials or apparatus for use in practicing Ericsson's patented process and constitute a material

part of the invention.    And, as discussed in the previous paragraph, Samsung knew or was

willfully blind that the same was especially made or especially adapted for use in an

infringement of such patent, and not a staple article or commodity of commerce suitable for

substantial non-infringing use.

        214.     The accused wireless communication devices that infringe the asserted claims

specified herein include, but are not limited to, at least the Samsung Galaxy S III and the

Evolved Node B Macrocell base station.        As representative, the Samsung Galaxy S III is

manufactured outside the United States. Exhibit 29. The Samsung Galaxy S III is imported into

the United States and sold after importation.       Exhibit 30.    Further discovery may reveal


COMPLAINT OF ERICSSON                         PAGE 54

McKool320288vl
        Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 189 of 212




additional infringing products and/or models. Moreover, further discovery may reveal additional

claims of the '992 patent are infringed.

         21S.    A physical sample of the Samsung Galaxy S III is attached as Physical Exhibit

No.2. A claim chart demonstrating that the Samsung Galaxy S III infringes claims 1 and 7 of

the '992 patent is attached as Exhibit 40.

         216.    Upon information and belief, the Samsung Evolved Node B Macrocell, and/or

components thereof, is imported into the United States and/or sold within the United States after

imp Oliati on.   Photographs of the representative Samsung Evolved Node B Macrocell are

attached hereto as Exhibit 44. A claim chart demonstrating that the Samsung Evolved Node B

Macrocell infringes claims 6 and 13 of the '992 patent is attached as Exhibit 46.

         217.    The accused Samsung wireless communication devices that infringe the asserted

claims specified herein include, but are not limited to, at least the SCH-I200, SCH-I40S, SCH-

140SU, SCH-ISI0, SCH-ISlS, SCH-IS3S, SCH-I60S, SCH-L710, SCH-RS30, SCH-R900, SCH-

R910, SCH-R91S, SCH-R920, SCH-R930, SCH-R940, SCH-R9S0, SGH-I317, SGH-IS47,

SGH-IS77, SGH-I667, SGH-I717, SGH-I727, SGH-I747, SGH-I897, SGH-T879, SGH-T889,

SPH-L300, SPH-L710, SPH-L900, SGH-I9S7, SCH-I90S, SCH-I81S, and the Samsung Evolved

Node B Macrocell, Evolved Node B U-RAS Compact, Evolved Node B Picocell, and Evolved

Node B F emtocell.

  VI.     TARIFF CLASSIFICATION                UNDER       THE      HARMONIZED         TARIFF
          SCHEDULE

         218.    The products as to which Ericsson seeks exclusion include, without limitation,

cellular telephones classified under subheading 8S17.12.00, HTSUS, tablet computers classified

under subheading 8471.30.01, HTSUS, base stations classified under subheading 8S29.90.86,




COMPLAINT OF ERICSSON                         PAGE 55

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 190 of 212




HTSUS, televisions classified under subheading 8528.72.72, HTSUS, and Blu-ray players

classified under subheading 8521.90.00, HTSUS.

  VII.     RELATED LITIGATION

         219.     There is currently litigation against certain third parties pending in federal district

court concerning several of the Asserted Patents. Specifically, Complainants filed the action

styled Ericsson Inc. et al v. D-Link Corporation et al., Case No. 6:10-cv-473 (E.D. Tex.) on

September 14, 2010, concerning products practicing the IEEE 802.11 standards. There, Ericsson

asserts certain of the patents at issue here, i.e., the '223 patent and the '215 patent. That litigation

is pending.

         220.     In 2006, there were two district court actions filed by Ericsson against Samsung.

Those cases were Ericsson Inc. et al. v. Samsung Electronics Co., Ltd. et aI., Case No. 2:06-cv-

0063 (E.D. Tex.) which concerned United States Patent Nos. 4,905,234; 5,487,071; 5,757,813;

5,768,267; 5,930,241; 6,058,359; 6,029,125; 6,301,556; 6,473,506; 6,192,335; 6,275,798;

6,452,941; 6,424,938; 6,865,233; 6,502,063 and Ericsson Inc. et al. v. Samsung Electronics Co.,

Ltd. et al., Case No. 2:06-cv-0306 (E.D. Tex.), which concerned United States Patent Nos.

5,113,416; 5,758,295; 5,783,926; 5,864,765; 6,009,319; 6,029,052; 6,198,405; 6,387,027;

6,697,953; 6,839,549; 6,975,686. Both ofthese lawsuits settled.

         221.     In 2006, Ericsson filed a Section 337 complaint alleging unfair trade practices by

Samsung arising from the importation of certain infringing goods. That complaint was instituted

as Certain Wireless Communication Devices, Components Thereof, and Products Containing the

Same, ITC Investigation No. 337-TA-583. The patents at issue in that investigation were United

States Patent Nos. 5,758,295; 5,783,926; 5,864,765; 6,009,319; 6,029,052; 6,198,405; 6,387,027;

6,839,549; and 6,975,686. The investigation was terminated based on a settlement agreement.



COMPLAINT OF ERICSSON                             PAGE 56

McKool 320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 191 of 212




        222.     On November 27, 2012, Ericsson filed two infringement lawsuits against

Samsung in the United States District Court for the Eastern District of Texas. In the first lawsuit,

Ericsson alleges that Samsung infringes United States Patent Nos. 6,029,052, 6,058,359,

6,278,888, 6,301,556, 6,418,310, 6,445,917, 6,473,506, 6,519,223, 6,624,832, 6,772,215, and

8,169,992, all of which are the asserted patents in this case. In the second lawsuit, Ericsson

alleges that Samsung infringes United States Patent Nos. 6,259,724, 6,400,376, 6,466,568,

6,502,063, 6,597,787, 6,732,069, 6,865,233, 6,985,474, 7,660,417, 7,707,592, 7,769,078,

7,961,709, and 8,036,150.

        223.     No other related litigation in any court or agency is known.

 VIII. DOMESTIC INDUSTRY

        224.     With respect to the Asserted Patents, a domestic industry in the United States

exists as defined under Section 337(a)(2) and (a)(3)(A), (B), and/or (C) and is in the process of

being established under Section 337(a)(2) and (a)(3)(C).

        A.       Ericsson's Domestic Activities

        225.     Ericsson has made significant investments in plant and equipment and significant

employment of labor or capital with respect to articles protected by the Asserted Patents.

Ericsson base stations and media gateways protected by at least the '359, '506, '556, '917, '223,

'215, and '992 patents are configured, programmed, tested, customized, and maintained at

facilities across the United States for which Ericsson has made significant investments in plant

and equipment and significant employment of labor or capital. For example, Ericsson has made

significant investments in plant and equipment for its Mobile Broadband group in Plano, Texas,

Boulder, Colorado, Seattle, Washington, Pleasanton, California, and Atlanta, Georgia.           The

Mobile Broadband group customizes and redesigns base station products protected by at least the

'506, '917, '223, '215, and '992 patents. Ericsson has further invested in plant and equipment
COMPLAINT OF ERICSSON                           PAGE 57

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 192 of 212




for managing and servlcmg base station and media gateway products for its Radio Access

Network and Customer Network Support groups, located in Parsippany, New Jersey; Plano,

Texas; Atlanta, Georgia; Chicago, Illinois; Kansas City, Kansas; Pleasanton, California; Irvine,

California; and Seattle, Washington. Further details of Ericsson's investments are provided in

Confidential Exhibit No 98C.

        226.     Ericsson has made substantial investments in the exploitation of the Asserted

Patents through engineering and research and development at its research and engineering

facilities in Plano, Texas, Seattle, Washington, and Atlanta, Georgia related to the development

of base station and media gateway products protected by one or more of the Asselied Patents.

Further details of Ericsson's investments related to research and development are provided in

Confidential Exhibit 98C, ~~ 3-4 and 8-10.

        227.     Ericsson has made significant investments in plant and equipment with respect to

articles protected by the Asserted Patents. Ericsson has made substantial investments in the

exploitation of the Asserted Patents through engineering and research and development across

the United States and in particular in Overland, Kansas related to the operation and maintenance

of Sprint's national wireless network, which is a required step to bring the technology of the

Asserted Patents to market. As described in the press release attached as Exhibit 60, Sprint

Nextel outsourced its United States network operations and maintenance to Ericsson in a seven-

year deal valued at $4.5 billion to $5 billion in July 2009. As part of the deal, Sprint transferred

6,000 employees to Ericsson. Since completion of the deal in late 2009, Ericsson now handles

all of the day-to-day operations and maintenance.        Further details of Ericsson's investment

related to the operation and maintenance of Sprint's national wireless network are provided in




COMPLAINT OF ERICSSON                          PAGE 58

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 193 of 212




Confidential Exhibit 98C,   ~~   5-7. Sprint sells mobile cellular devices (e.g. Motorola Admiral),

licensed under some or all of the Asserted Patents, which are used on the Sprint network.

        228.     Ericsson has made significant employment of labor or capital with respect to

articles protected by the Asserted Patents. Ericsson employs thousands of people to redesign,

configure, program, test, maintain, and support its base station and media gateway products

protected by the Asserted Patents.          Further details of Ericsson's investment related to

employment oflabor or capital are provided in Confidential Exhibit 98C, ~~ 3-4 and 8-10.

        229.     Ericsson has made significant employment of labor or capital with respect to

articles protected by the Asserted Patents, and with respect to substantial investments in the

exploitation of the Asserted Patents, through engineering and research and development at its

research and engineering facility in San Jose, California. Engineering employees at this location

work in research and development of technologies and products related to the Asserted Patents.

Further details of Ericsson's investment are provided in Confidential Exhibit 98C,          ~~   8-10.

These investments are used to develop mobile cellular devices and Ericsson's base stations that

are used across the AT&T, Verizon, and T-Mobile networks and around the world, and which is

a required step to bring the technology of the Asserted Patents to market.

        230.     Infrastructure equipment, including GSM, EDGE, WCDMA and LTE-compliant

base stations, sold by Ericsson comprises a significant portion of these networks.           AT&T,

Verizon, and T-Mobile sell mobile cellular devices licensed under some or all of the Asserted

Patents (e.g. Apple iPhone 4, RIM Bold 9900, Motorola Droid RAZR M, and Motorola Atrix 2)

that are used on the AT&T, Verizon, and/or T-Mobile networks.

        231.     Exhibits 61 C-65C and 116C are claim charts demonstrating that each limitation of

celiain claims of certain Asserted Patents are met by the Apple iPhone 4 sold and used in


COMPLAINT OF ERICSSON                           PAGE 59

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 194 of 212




conjunction with the AT&T network. A physical sample of the Apple iPhone 4 is attached as

Physical Exhibit No.4.

         232.     Exhibits 66C-nC are claim charts demonstrating that each limitation of certain

claims of certain Asserted Patents is met by the Motorola Atrix 2 sold and used in conjunction

with the AT&T network. A physical sample of the Motorola Atrix 2 is attached as Physical

Exhibit No.5.

         233.     Exhibits 74C-79C and 117C are claim charts demonstrating that each limitation of

certain claims of certain Asserted Patents is met by the RIM Bold 9900 sold and used in

conjunction with the AT&T network. A physical sample of the RIM Bold 9900 is attached as

Physical Exhibit No.6.

         234.     Other products sold by AT&T that practice at least one claim of some or all of the

Asserted Patents under a license include at least the Apple iPhone 3GS, iPhone 4S, iPad, and

iPad 2, the Motorola Tundra, and the BlackBerry Curve, Pearl, and Torch. Moreover, further

discovery may reveal additional claims of these patents or other Asserted Patents are met by

licensed phones sold for use on the AT&T network.

         235.     Exhibits 73C-79C and 117C are claim charts demonstrating that each limitation of

celiain claims of certain Asserted Patents is met by the RIM Bold 9900 sold and used in

conjunction with the T-Mobile network,and that each limitation of a claim of an Asserted Patent

is met by the Motorola Cliq 2 smartphone sold and used in conjunction with the T-Mobile

network. A physical sample of the RIM Bold 9900 is attached as Physical Exhibit No.6, and a

physical sample of the Motorola Cliq 2 is attached as Physical Exhibit No. 10.

         236.     Other licensed products sold by T-Mobile that practice at least one claim of some

or all of these patents include at least the BlackBerry Curve and Bold 9780. Moreover, further


COMPLAINT OF ERICSSON                           PAGE 60

McKool 320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 195 of 212




discovery may reveal additional claims of these patents or other Asserted Patents are met by

licensed phones sold for use on the T-Mobile network.

         237.     Exhibits 80C and 81 C are claim charts demonstrating that each limitation of

certain claims of certain Asserted Patents is met by the Motorola Admiral smartphone sold and

used in conjunction with the Sprint network.         A physical sample of the Motorola Admiral

smartphone is attached as Physical Exhibit No.7.

         238.     Further discovery may reveal additional claims of these patents and other patents

are met by licensed phones sold for use on the Sprint network.

         239.     Exhibits 82C-84C are claim charts demonstrating that each limitation of certain

claims of certain Asserted Patents are met by the Motorola Droid RAZR M sold and used in

conjunction with the Verizon network. A physical sample of the Droid RAZR M is attached as

Physical Exhibit No.9.

         240.     Other licensed products sold by Verizon that practice at least one claim of some

or all of these patents include at least the Motorola Droid 4, Motorola Droid RAZR Maxx,

Motorola Droid RAZR, and BlackBerry Torch.                Moreover, further discovery may reveal

additional claims of these patents or other Asserted Patents are met by licensed phones sold for

use on the Verizon network.

         241.     Further discovery may reveal additional claims of these patents and other patents

are met by licensed phones sold for use on the Verizon network.

         242.     Exhibits 90C-92C and 94C-97C are claim charts demonstrating that each

limitation of certain claims of certain Asserted Patents are met by the Ericsson base stations

and/or media gateways developed, sold, and used in the United States. Further investigation may




COMPLAINT OF ERICSSON                           PAGE 61

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 196 of 212




reveal additional claims' of these patents are met by the Ericsson base stations and/or media

gateways developed, sold, and used in the United States.

         243.     There is a nexus between Ericsson's domestic investments and activities and the

articles protected by the Asserted Patents.

         244.     In view of at least the foregoing, and pursuant to 19 U.S.C. §§ 1337(a)(2) and

(a)(3)(A), (B), and/or (C), a domestic industry exists.

         B.       Ericsson's Domestic Licensing

                  1.     Licensing Activities

         245.     Pursuant to Section 337 (a)(2) and (a)(3)(C), a domestic industry exists or, in the

alternative, is in the process of being established by virtue of Ericsson taking the necessary

tangible steps to establish a licensing domestic industry in the United States and there being a

significant likelihood that the licensing domestic industry requirement will be satisfied in the

future by Ericsson's substantial investments in the exploitation of the Asserted Patents through

licensing.

         246.     As set fOlih in the attached Confidential Exhibit 59C, Ericsson Inc. has made and

continues to make a substantial domestic investment in licensing the Asselied Patents.

Ericsson's United States employees have negotiated royalty bearing license agreements to the

'052, '359, '888, '556, '310, '917, '506, '223, '832, '215, and '992 patents, each of which have

generated significant royalties in an amount set forth in Confidential Exhibit 59C, ,-r,-r 9 and 23.

Ericsson currently employs in the United States individuals on a full-time basis who devote all or

substantially all of their time to licensing Ericsson's patents, including the Asserted Patents.

Confidential Exhibit 59C, ,-r 5.

         247.     Ericsson's domestic licensing investments include, for example, their substantial

investments on overhead, such as employee salaries and benefits, office space, office
COMPLAINT OF ERICSSON                           PAGE 62

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 197 of 212




communication equipment, and office furnishings and supplies, as well as their substantial

investments for travel to meet with potential licensees. Confidential Exhibit 59C, ,,3-20.

        248.     Ericsson has made and continues to make a substantial investment in the

exploitation of the Asserted Patents through its licensing activities in the United States. Further

details of Ericsson's substantial investment in the exploitation of the Asserted Patents through its

licensing activities are provided in Confidential Exhibit No. 59C, ,,3-20.

        249.     Ericsson also has made substantial investments in exploiting its patent portfolio,

including the Asserted Patents, through litigation activities, which are related to its efforts to

license the Asserted Patents. Confidential Exhibit 59C, ,,21-23.

        250.     There is a nexus between Ericsson's substantial investments and (i) the Asselied

Patents, (ii) the licensing of those Asserted Patents, and (iii) the United States.

        251.     In the alternative, Ericsson is taking necessary tangible steps to establish a

domestic industry to exploit the Asserted Patents through its licensing efforts.       These steps

include licensing activities that resulted in numerous licenses to, for example, Apple, Research in

Motion, and Motorola. Ericsson continues licensing discussions with other companies. Ericsson

has licensed its patent portfolio, including the Asserted Patents, see Confidential Exhibit 4C, and

continues to make substantial investments in licensing its patent portfolio, including the licensing

of the Asserted Patents. See, e.g., Confidential Exhibit 59C, ,,3-20. Ericsson has a significant

likelihood of establishing a domestic industry to exploit the Asserted Patents through its

licensing efforts because there has been an increased level of investments to license Ericsson's

intellectual property. See Confidential Exhibit 59C, ,7.

        252.     There is a nexus between Ericsson's substantial investments and (i) the Asserted

Patents, (ii) the licensing of the Asserted Patents, and (iii) the United States.


COMPLAINT OF ERICSSON                           PAGE 63

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 198 of 212




         253.     In view of at least the foregoing, and pursuant to 19 US.C. § 1337(a)(3)(C), a

domestic industry exists or, in the alternative, is in the process of being established by virtue of

Ericsson's substantial investment in the exploitation of the Asserted Patents through licensing.

                  2.     Litigation Activities Related to Licensing

         254.     In connection with, and related to, its licensing efforts, Ericsson has filed

litigation asserting certain of the patents here at issue, including US. Patent Nos. 6,029,052,

6,058,359,6,473,506,6,519,223, and 6,772,215.

         255.     Information regarding Ericsson's litigation activities related to its licensing efforts

is set forth in Confidential Exhibit 59C, "21-22.

         256.     In connection with such litigation, Ericsson has expended substantial sums for

legal fees and costs as described in Co;nfidential Exhibit 59C, "21-22.                 These domestic

litigation activities, which occurred in connection with the efforts of Ericsson to license its patent

portfolio, including some of the Asserted Patents, separately satisfy the requirements of 19

US.C. § 1337 (a)(3)(C).

         257.     There is a nexus between Ericsson's substantial investments and (i) the Asserted

Patent, (ii) the licensing of those Asserted Patents, and (iii) the United States.

         258.     In view of at least the foregoing, and pursuant to 19 US.C. § 1337(a)(3)(C), a

domestic industry exists by virtue of Ericsson's substantial investments in litigation activities

related to its licensing efforts.

         C.       The Domestic Activities of Ericsson's Licensee Motorola

         259.     Pursuant to 19 US.C. § 1337(a)(3)(A), (B), and/or (C) a domestic industry exists

by virtue of the activities of Ericsson's licensee Motorola. Copies of the license agreement




COMPLAINT OF ERICSSON                             PACE   64

McKool 320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 199 of 212




pursuant to 19 C.F.R. § 210.12(a)(9)(iv) will be included as Confidential Exhibit 5C at a later

date. 18

           260.   Motorola filed an annual report with the Securities and Exchange Commission

dated February 17,2012. That report stated, in part, as follows: "Motorola Mobility'S principal

executive offices are currently located at 600 N. U.S. Highway 45, Libertyville, Illinois 60048.

This location also is cUlTently the headquarters of our Mobile Devices business. Our Home

business headqumiers is currently in Horsham, Pennsylvania. Motorola Mobility also operates

manufacturing facilities, research and development, administrative and sales offices in other U.S.

locations and in many other countries. . . . Motorola Mobility owns eight facilities

(manufacturing, sales, service and offices), five of which are located in the Americas Region

(U.S., Canada, Mexico, Central America and South America) and three of which are located in

other countries."       See Exhibit 99 at 34-35.         This report further stated, in part, that: "R&D

expenditures relating to new product development or product improvement were $1.5 billion in

2011, compared to $1.5 billion in 2010 and $1.6 billion in 2009. Total R&D expenditures

increased 3% in 2011 as compared to 2010, after decreasing 7% in 2010 as compared to 2009."

Id. at 11.

           261.   On information and belief, Motorola researches and implements cellular standards

in Libertyville, Illinois. See Exhibit 100 at 23. Motorola describes its activities there as follows:

"The Motorola Mobility Standards and Research Laboratory (SRL) team is responsible for

executing fundamental research related to advanced radio wireless systems, networks chip sets

and multimedia, and for with emphasis on supporting Motorola Mobility Mobile Devices"s



18      Due to certain confidentiality provisions in the agreement, Ericsson intends to provide a copy of that
agreement after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 65

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 200 of 212




[sic] engagement with International Standards Development Oorganizations [sic] (SDOs), such

as 3GPP, 3GPP2, IEEE etc. SRL [sic] The team is also responsible for suppOliing Motorola

Mobility Technology· Teams tasked with the implementation of standards developed by those

SDOs. As a core part of this mission,the team is also responsible for creatinges [sic] key

standards technologies and for transportingtransfers [sic] elements of this appropriate technology

into both the standards arena and to the internal implementation route. In addition, this team is

responsible for initiating and supporting the associated creative, offensive and defensive

intellectual property activities." ld. at 23, 26. Motorola's Libertyville operations also involve

GSM stack software development, including: "Software development and integration of 3GPP

UMTS mobile devices [and] integrating UMTS protocol stack in a new platform." Id. at 28.

        262.     On information and belief, Motorola's Product Development Team and Modem

Technology Team are also located in Libertyville, Illinois. Id. at 9, 14. Motorola describes that

its Product Development Team "designs, develops, and delivers iconic mobile products and

experiences by infusing the best of technology and design." Id. at 9. This team's activities

require "[ d]esign knowledge of Radio Frequency transmitters, receivers, synthesizers,

duplex/dip lex filters and related RF circuits/systems," and "[f]amiliarity with LTE, CDMA,

WCDMA, GSM, GPS, NFC, WiFi, and Bluetooth standards along with testing/compliance that

goes along. with those standards." ld. at 9. Motorola's Model Technology Team "is responsible

for designing, developing, testing and delivering a world class GSM/UMTS/CDMAlE-

HRDP/4G wireless Modem Solution." Id. at 14.

        263.     On information and belief, Motorola's CDMA/3G Cellular Phone Hardware

Design and Development team is also located in Illinois. The team's activities involve "Design

[of] CDMA, GSM/3G, and/or LTE mobile handsets using the latest technology and chipsets.


COMPLAINT OF ERICSSON                        PAGE 66

McKoo1320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 201 of 212




The team works on design, development, and validation of cellular phones stmiing from

requirements document all the way to shipping and supporting the product after shipping." Id. at

29.

         264.     On information and belief, Motorola also operates a "PDQ" group located in

Libertyville, Illinois "responsible for defining and authoring Software Test commands for

Development, Factory and Service needs .... [and] support[s] GSM, WCDMA, CDMA and LTE

RF technologies and various AP processors.           PDO works closely with manufacturing and

development engineering on products throughout their complete life cycle, from proto stages until

end oflife, to ensure accurate testing and quality products." Id. at 31.

         265.     On information and belief, Motorola's WLAN groups are located at least in its

San Jose, California facility. Exhibit 101 at 1-10. Engineers in San Jose are "responsible for

designing and developing 802.11 a/b/g/n/ac WLAN Radio products."             Id. at 2.   Motorola

describes the role of its Fusion WLAN group as follows: "Motorola Fusion WLAN team is

responsible for developing and maintaining software that makes 802.11 work on the Motorola

mobile computers. Software stack includes MAC layer firmware, NDIS device drivers,

diagnostic and configuration utilities, network security supplicants and high level applications /

tools." Id. at 4.       Similarly, Motorola describes its Wireless LAN Group as follows:    "The

Motorola Wireless LAN Group is a leading provider of IEEE 802.11 wireless networking

equipment. The WLAN team develops scalable and. distributed wireless platforms for small,

medium and large enterprise customers (including commercial, government, education, and

healthcare). WLAN products provide secure, managed wireless solutions for data, voice and

video. The organization further partners with other Motorola business units to develop

integrated, creative solutions to pressing market needs." Id. at 5-8, 10.



COMPLAINT OF ERICSSON                           PAGE 67

McKool 320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 202 of 212




        266.       Exhibits 66c-nc and 118C are claim charts demonstrating that each limitation of

certain claims of certain Asserted Patents is met by the Motorola Atrix 2 sold and used in

conjunction with the AT&T network. A physical sample of the Motorola Atrix 2 is attached as

Physical Exhibit No.5.

        267.       Exhibits 82C-84C are claim charts demonstrating that each limitation of certain

claims of certain Asselied Patents is met by the Motorola Droid RAZR M sold and used in

conjunction with the Verizon network. A physical sample of the Droid RAZR M is attached as

Phyiscal Exhibit No.9.

        268.       Exhibits 80C and 81 C are claim charts demonstrating that each limitation of

certain claims of certain Asserted Patents is met by the Motorola Admiral smartphone sold and

used in conjunction with the Sprint network.         A physical sample of the Motorola Admiral

smartphone is attached as Physical Exhibit No.7.

        269.       Exhibit 73C is a claim chart demonstrating that each limitation of a claim of an

Asserted Patent is met by the Motorola Cliq 2 smartphone sold and used in conjunction with the

T-Mobile network. A physical sample of the Motorola Cliq 2 smartphone is attached as Physical

Exhibit No. 10.

        270.      Other licensed products sold by Motorola that practice at least one claim of some

or all of the Asserted Patents include at least the Motorola Droid 4, Droid RAZR, Droid RAZR

MAXX, Droid 3, Droid X2, Photon 4G, and XPRT. Moreover, further discovery may reveal

additional claims of some or all of the Asserted Patents are met by licensed phones sold by

Motorola.

        271.      There is a nexus between Motorola's domestic investments and activities and its

licensed cellular telephones and tablet computers that practice the Asserted Patents.


COMPLAINT   Or ERICSSON                         PAGE 68

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 203 of 212




        272.     Motorola continues to invest significant resources in products covered by the

Asserted Patents. Exhibit 102.

        273.     In view of at least the foregoing, and pursuant to 19 U.S.C. § 1337(a)(3)(A), (B)

and/or (C), a domestic industry exists by virtue of the activities of Ericsson's licensee Motorola.

        D.       The Domestic Activities of Ericsson's Licensee Apple

        274.     Pursuant to 19 U.S.C. § 1337(a)(3)(A), (B) and/or (C), a domestic industry exists

by virtue of the activities of Ericsson's licensee Apple. Copies of the license agreement pursuant

to 19 C.F.R. § 21 0. 12(a)(9)(iv) will be included as Confidential Exhibit 5C at a later date. 19

        275.     Apple Inc. filed an annual report with the Securities and Exchange Commission

dated October 31, 2012, which is attached as Exhibit 103. That report stated, in part, as follows:

"The Company's headquarters are located in Cupertino, California. As of September 29, 2012,

the Company owned or leased approximately 17.3 million square feet of building space,

primarily in the U.S., and to a lesser extent, in Europe, Japan, Canada, and the Asia-Pacific

regions. Of that amount, approximately 10.9 million square feet was leased building space,

which includes approximately 4.1 million square feet related to retail store space.                        Of the

Company's owned building space, approximately 2.6 million square feet that is located in

Cupertino, California will be demolished to build a second corporate campus. Additionally, the

Company owns a total of 1,077 acres ofland in various locations." Id. at 20. The report further

stated that "[Apple, Inc.] owned facilities for research and development and corporate functions

in Cupertino, California, including land for the future development of the Company's second

corporate campus." Id. As of February 10, 2008, the Silicon Valley / San Jose Business Journal



19      Due to certain confidentiality provisions in the agreement, Ericsson intends to provide a copy of that
agreement after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 69

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 204 of 212




reported that Apple, Inc. "control[led] more than 3.3 million square feet of Cupertino work

space" as explained in Exhibit 104.

         276.     Apple, Inc's October 31, 2012 annual report also stated that "To remam

competitive, the Company believes that continual investment in research and development and

marketing and advertising is critical to the development and sale of innovative products and

technologies. The Company's research and development spending is focused on investing in

new hardware and software products, and in further developing its existing products, including

iPhone, iPad, Mac, and iPod hardware; iOS and OS X operating systems; and a variety of

application software and online services." Exhibit 103 at 26.        The report further described

Apple, Inc's research and development expenses as follows: "R&D expense increased $952

million or 39% in 2012 compared to 2011 and $647 million or 36% in 2011 compared to 2010.

This growth in R&D expense was driven by an increase in headcount and related expenses to

support expanded R&D activities." Id. at 36. The report further stated that "The Company

continues to develop new technologies to enhance existing products and to expand the range of

its product offerings through research and development, licensing of intellectual property and

acquisition of third-party businesses and technology. Total research and development expense

was $3.4 billion, $2.4 billion, and $1.8 billion in 2012,2011, and 2010, respectively." Id. at 7.

         277.     On information and belief, Apple, Inc.' s iPod/iPhone team is located in

Cupertino, California. See Exhibit 105 at 1. Apple, Inc. describes the responsibilities in this

team to include "working with cross-functional groups to continually push the envelope of

technology implemented in iPod/iPhone products." Id. at 1.

         278.     On information and belief, Apple Inc.'s Wireless Certification EPM (Enterprise

Process Management) group is located in Cupertino, California. See Exhibit 106 at 1. Apple


COMPLAINT OF ERICSSON                         PAGE 70

McKooI 320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 205 of 212



describes the role of the group as follows: "The Wireless Ce1iification EPM is responsible for

the technical management and coordination of regulatory, conformance and carrier certification ..

. . The Wireless Certification EPM provides the key interface to external and carrier test labs to

Apple's internal test and development teams." Id.        Individuals in the group are believed to

"appl[y] his/her detailed tec1mical knowledge of wireless standards (GSM, EDGE, WCDMA,

Bluetooth, Wifi) to understand, prioritize and resolve issues found during certification test. ...

[and] support the product definition process with regard to network features." Id.

        279.     On information and belief, Apple Inc.'s Regulatory RF Systems group (iPhone) is

located in Cupertino, California. See Exhibit 107 at 1. Individuals in the group are believed to

"design and implement in-house test systems, debug and resolve compliance issues, and manage

the process to ensure [Apple's] products conform to all applicable regulatory standards." Id.

Individuals in the group are "tasked with understanding all applicable industry standards (such as

3GPP, WiFi Alliance, IEEE, and Bluetooth SIG) in relation to [Apple's] products." Id. (noting

that group members "should have a solid understanding of at least one of the wireless

communication systems and standards on the iPhone (GSM, CDMA, UMTS, Bluetooth, 802.11

b/g/n).").

        280.     On information and belief, Apple Inc.'s RF System Integration group is located in

Cupertino, California. See Exhibit 108 at 1. On information and belief, persons in this group are

tasked with "develop[ing] and optimiz[ing] RF automation systems used on Apple's newest

products including iPhones, iPods, iPads and others .... [and] interpret[ing] wireless standards

documents to write automated software to exercise wireless devices." Id.

        281.     On information and belief, Apple, Inc. is involved in RF Systems Performance at

its Cupertino, California campus. See Exhibit 109 at 1. Persons involved in this area "work with


COMPLAINT OF ERICSSON                          PAGE 71

McKoo1320288v1
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 206 of 212




 various technologies like GSM/GPRS/EDGE/WCDMA/HSDP AlCDMA EVDO and other data

 communications systems .... [and] work with Antenna designers and RF engineers to make

 design recommendations that involve[] significant understanding of baseband algorithms and

 RF/Antelma systems." Id. Members who work in this group are required to have "[fJamiliarity

 with RF characteristics (at a system level), antenna design and requirements for modern wireless

 communication systems such as GSM/CDMA2000/WCDMAlHSP A, 802.11, Bluetooth etc." Id.

         282.     On information and belief, Apple, Inc. is also involved with wireless technologies

 engineering at its Cupertino, California, campus. See Exhibit 110 at 1. Apple, Inc. notes that the

 team is "responsible for qualifying the latest iOS products with focus on the cellular telephony

 software."Id.     at    1   (noting   the   requisite     "excellent   understanding   of   protocols

 GSM/UMTS/CDMA(lxIEVDO).").

         283.     On information and belief, Apple, Inc. also employs iPhone Cellular Protocol

 Software Engineers at its Cupertino, California location as a part of its iPhone team. See Exhibit

 111 at 1. Apple describes the duties of these engineers as being tasked to: "Integrate, customize

 and optimize CDMA2000lEVDO/GSM/UMTS/LTe protocol stacks," "Find innovative solutions

to complicated wireless problems," "Troubleshoot cellular stack and network issues and drive

 continuous performance improvement," "Assist with interoperability and type approval testing,"

. and "Investigate future cellular technologies." Id. On information and belief, Apple's iPhone

team also employs Modem DSP Firmware Engineers "to help develop our next generation of

 iPhone products." Exhibit 112. These engineers are tasked with "Integration, customization,

 enhancement and maintenance of GSM/UMTS modem DSP firmware; Debug[ging] real-time

 DSP code and propose optimum solutions for better performance; Assist[ing] with




 COMPLAINT OF ERICSSON                           PAGE 72

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 207 of 212



interoperability and type approval testing;           Investigat[ing] future cellular technologies; [and]

Develop[ing] next generation cellular modem." ld.

        284.     Exhibits 61 C-65C and 116C are claim charts demonstrating that each limitation of

certain claims of certain Asselied Patents is met by the Apple iPhone 4 smartphone sold and used

in conjunction with the AT&T network. A physical sample of the Apple iPhone 4 smartphone is

attached as Physical Exhibit No.4.

        285.     Other licensed products sold by Apple that practice at least one claim of some or

all of these patents include at least the iPhone 3GS, iPhone 4S, iPhone 5, iPad, and iPad 2.

Moreover, further discovery may reveal additional claims of these patents are met by licensed

phones sold by Apple.

        286.     There is a nexus between Apple's domestic investments and activities and its

licensed cellular telephones and tablet computers that practice the Asserted Patents.

        287.     In view of at least the foregoing, and pursuant to 19 U.S.C. § 1337(a)(3)(A), (B)

and/or (C), a domestic industry exists by virtue of the activities of Ericsson's licensee Apple.

        E.       The Domestic Activities of Ericsson Licensee Research In Motion (RIM)

        288.     Pursuant to 19 U.S.C. § 1337(a)(3)(A), (B), and/or (C) a domestic industry exists

by virtue of the activities of Ericsson's licensee RIM. Copies of license agreements pursuant to

19 C.F.R. §210.12(a)(9)(iv) will be included as Confidential Exhibit 5C at a later date?O

         289.    RIM has made a significant investment in plant and equipment and/or in the

employment of labor or capital, and/or has made a substantial investment in the exploitation of




20      Due to certain confidentiality provisions in the agreements, Ericsson intends to provide copies of those
agreements after issuance of an appropriate Order or receipt of the consent of the licensees, which consent Ericsson
has sought.

COMPLAINT OF ERICSSON                                 PAGE 73

McKoo1320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 208 of 212




the Asserted Patents through engineering and research and development at its research and

engineering facility in Irving, Texas. See Exhibits 113 and 114.

        290.     RIM filed an annual report with the Securities and Exchange Commission dated

April 9, 2012.     That report stated, in part, as follows: "The U.S. headquarters of RIM are

composed of a campus style complex of five buildings totaling 252,582 square feet outside

Dallas, Texas, housing certain sales, marketing, legal, research and development, customer

serVice operations and administrative activities. Operations in Raleigh, North Carolina have

increased to a total of 94,354 mainly located within the CentreGreen campus. RIM leases an

additional 571,519 square feet throughout the United States, primarily for research and

development." See Exhibit 115 at 34.

        291.     On information and belief, RIM's Product Development Center is located at

RIM's Irving, Texas facility. Exhibit 114 at 3. RIM describes the Center as being: "comprised

of a team of world class engineers that are focused on solving the world's toughest wireless

challenges." Id. Individuals in this Center "work on integrating the radio protocol stack software

for standardized wireless technologies, particularly LTE/UMTS/GSM/GPRS/EDGE." Id. Other

individuals in the development organization in Irving "perform[] and analyzE e] protocol and

interoperability (lOT) on mobiles across multiple air interfaces such as LTE, CDMA, HRPD,

eHRPD protocols."       Id. at 1.   Also located at the Irving, Texas facility is the Hardware

Development Team. Id. at 5, 7. Individuals in this team have "cell phone or portable audio

device experience ranging from component selection to DSP (Digital Signal Processing) tuning,"

with roles of "implementing hardware and acoustic devices as well as optimizing the DSP

parameters to yield world class audio performance." Id. Essential skills for individuals in this

Team include "Detailed knowledge of certification and 3GPP specifications." Id. at 6.


COMPLAINT OF ERICSSON                         PAGE 74

McKool320288vl
           Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 209 of 212



           292.    Exhibits 85C-89C and 119C are claim charts demonstrating that each limitation of

certain claims of certain Asserted Patents is met by the Rim Torch 9860 Series mobile device. A

physical sample of the RIM Torch 9860 Series mobile device is attached as Physical Exhibit No.

8.

            293.   Exhibits 74C-79C are claim charts demonstrating that each limitation of certain

claims of certain Asserted Patents is met by the RIM Bold 9900 sold and used in conjunction

with the T-Mobile network. A physical sample of the RIM Bold 9900 is attached as Physical

Exhibit No.6.

            294.   In view of at least the foregoing, there is a nexus between RIM's domestic

investments and expenditures and its licensed wireless devices that practice at least one claim of

the Asserted Patents.

            295.   In view of at least the foregoing, and pursuant to 19 U.S.C. § 1337(a)(3)(A), (B),

and/or (C) a domestic industry exists by virtue of the activities of Ericsson's licensee RIM.

     IX.     RELIEF REQUESTED

            Wherefore, by reason of the foregoing, Ericsson requests that the Commission:

            296.   Institute an investigation pursuant to Section 337 of the Tariff Act of 1930, as

amended, 19 U.S.C. § 1337, with respect to Respondents' violations of Section 337 based on the

importation into the United States, the sale for importation into the United States, and the sale

within the United States after importation of certain electronic devices, including wireless

communication devices, tablet computers, media players, and televisions, and components

thereof that infringe one or more of the asserted claims of the Asserted Patents;

            297.   Determine that there has been a violation of Section 337 based on said unlawful

acts;



COMPLAINT OF ERICSSON                            PAGE 75

McKool320288vl
      Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 210 of 212




        298.     Issue a permanent exclusion order pursuant to 19 U.S.C. § 1337(d) excluding

from entry into the United States all infringing articles that are manufactured, imported, or sold

by or on behalf of proposed Respondents, their affiliates, subsidiaries, successors, or assigns that

infringe at least one claim of the Asserted Patents;

        299.     Issue permanent cease and desist orders pursuant to 19 U.S.C. § 1337(f)

prohibiting each Respondent from engaging in unlawful importation, sale within the United

States after importation, and other commercial activities relating to certain electronic devices,

including wireless communication devices, tablet computers, media players, and televisions, and

components thereof that infringe at least one claim of the Asserted Patents;

        300.     Impose a bond upon Respondents who continue to import infringing atiicles

during the 60-day-Presidential review period Pursuant to 19 U.S.C. § 1337G); and,

        301.     Issue such other and further relief as the Commission deems just and proper.



Dated: November 30,2012

                                                  Respectfully submitted,

                                                  McKoOL SMITH, P.C.
                                                           ~   - . L·
                                                  Mike~
                                                  Douglas A. Cawley
                                                  Theodore Stevenson III
                                                  300 Crescent Court, Suite 1500
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 978-4000
                                                  Facsimile: (214) 978-4044

                                                  Benjamin Levi
                                                  1999 K Street, N.W., Suite 600
                                                  Washington DC 20006
                                                  Telephone: (202) 370-8300
                                                  Telecopier: (202) 370-8344

COMPLAINT OF ERICSSON                          PAGE   76

McKool320288vl
       Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 211 of 212




                                       Counsel for Complainants
                                       Ericsson Inc. and Telefonaktiebolaget
                                       LM Ericsson




COMPLAINT OF ERICSSON                PAGEn

McKool 320288vl
           Case 1:13-mc-00412-JDB Document 1 Filed 04/25/13 Page 212 of 212



                             VERIFICATION BY COMPLAINANTS

         I, Frank Vecella, am employed by Ericsson Inc.           I am duly authorized to sign the

foregoing Complaint of Ericsson Inc. and Telefonaktiebolaget LM Ericsson under Section 337 of

the Tariff Act of 1930, as Amended ("Complaint") on behalf of Complainants Ericsson Inc. and

Telefonaktiebolaget LM Ericsson.         I have read the Complaint and am familiar with the

allegations and statements contained therein. In accordance with the provisions of 19 C.F.R §§

210.4(c) and 210.12(a), I hereby declare that, to the best of my knowledge, information, and

belief, formed after an inquiry reasonable under the circumstances:

         1. The Complaint is not being filed for any improper purpose, such as to harass or to

cause unnecessary delay or needless increase in the cost of litigation;

         2. The claims and other legal contentions set forth in the Complaint are warranted by

existing law or by a good faith, non-frivolous argument for extension, modification, or reversal

of existing law, or by the establishment of new law; and

         3. The allegations and other factual contentions have evidentiary support, or where

specifically identified, are likely to have evidentiary support after a reasonable opportunity for

further investigation or discovery.

         I declare under the penalty of perjury that the foregoing is true and correct.



Executed on November 29,2012.




McKool 320288v 1
